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INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES




                      In the arbitration proceeding between

            NEXTERA ENERGY GLOBAL HOLDINGS B.V. AND
              NEXTERA ENERGY SPAIN HOLDINGS B.V.
                                    Claimants


                                       and


                             KINGDOM OF SPAIN
                                   Respondent


                        ICSID Case No. ARB/14/11




                                 AWARD


                           Members of the Tribunal
          Professor Donald M. McRae, C.C., President of the Tribunal
        The Honourable L. Yves Fortier, P.C., C.C., O.Q., Q.C., Arbitrator
             Professor Laurence Boisson de Chazournes, Arbitrator

                           Secretary of the Tribunal
                           Ms. Luisa Fernanda Torres


                  Date of dispatch to the Parties: 31 May 2019
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                             REPRESENTATION OF THE PARTIES


Representing Claimants:                          Representing Respondent:

Ms. Karyl Nairn QC                               Mr. José Manuel Gutiérrez Delgado
Mr. George Zimmerman                             Mr. Javier Castro López
Mr. David Herlihy                                Mr. Pablo Elena Abad
Ms. Teresa Queirós                               Mr. Antolín Fernández Antuña
Ms. Sara Nadeau-Séguin                           Mr. Roberto Fernández Castilla
Mr. Jacob Lefkowitz                              Ms. Patricia Fröhlingsdorf Nicolás
Ms. Carla Alves                                  Ms. Mónica Moraleda Saceda
Skadden, Arps, Slate, Meagher & Flom (UK) LLP    Ms. Elena Oñoro Sainz
40 Bank Street                                   Ms. Almudena Pérez-Zurita Gutiérrez
London E14 5DS                                   Ms. Amaia Rivas Kortazar
United Kingdom                                   Ms. María José Ruíz Sánchez
                                                 Mr. Diego Santacruz Descartín
and                                              Mr. José María Alonso

Mr. Alberto Fortún                               Abogacía General del Estado
Mr. Luis Pérez de Ayala                          Ministry of Justice of the Government of
Cuatrecasas, Gonçalves Pereira                   Spain
Calle de Almagro 9                               Calle Ayala 5
28010, Madrid                                    28001, Madrid
Spain                                            Spain




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                          TABLE OF SELECTED ABBREVIATIONS


Arbitration Rules                             ICSID Rules of Procedure for Arbitration
                                              Proceedings 2006

C-[#]                                         Claimants’ Exhibit

CL-[#]                                        Claimants’ Legal Authority

Cl. Bif.                                      Claimants’ Observations on the Request for
                                              Bifurcation dated 2 October 2015

Cl. Costs                                     Claimants’ Statement of Costs dated 28
                                              September 2018

Cl. Costs Update                              Claimants’ Updated Statement of Costs dated
                                              11 April 2019

Cl. C-Mem. Jur.                               Claimants’ Counter-Memorial on Preliminary
                                              Objections dated 8 August 2016

Cl. Mem. Merits                               Claimants’ Memorial on the Merits dated 22
                                              May 2015

Cl. Rej. Jur.                                 Claimants’ Rejoinder on Preliminary
                                              Objections dated 14 November 2016

Cl. Reply Merits                              Claimants’ Reply on the Merits dated 10
                                              August 2016

Cl. Skeleton                                  Claimants’ Skeleton Argument dated 9
                                              December 2016

Cl. PH Mem.                                   Claimants’ Response to Tribunal’s Post-
                                              Hearing Question dated 27 February 2017

Cl. PH Reply                                  Claimants’ Reply to Spain’s Submission of 27
                                              February 2017, dated 7 March 2017

ECT                                           Energy Charter Treaty

ICSID Convention                              Convention on the Settlement of Investment
                                              Disputes Between States and Nationals of
                                              Other States dated 18 March 1965

ICSID or the Centre                           International Centre for Settlement of
                                              Investment Disputes

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R-[#]                                              Respondent’s Exhibit

RL-[#]                                             Respondent’s Legal Authority

Resp. Costs                                        Respondent’s Statement of Costs dated 28
                                                   September 2018

Resp. C-Mem. Merits                                Respondent’s Counter-Memorial on the Merits
                                                   dated 4 March 2016

Resp. Mem. Jur.                                    Respondent’s Memorial on Preliminary
                                                   Objections and Request for Bifurcation dated 9
                                                   September 2015

Resp. Rej. Merits                                  Respondent’s Rejoinder on the Merits dated 20
                                                   October 2016

Resp. Reply Jur.                                   Respondent’s Reply on Preliminary Objections
                                                   dated 14 October 2016

Resp. Skeleton                                     Respondent’s Skeleton Argument dated 9
                                                   December 2016

Resp. PH Mem.                                      Respondent’s Response to Tribunal’s Post-
                                                   Hearing Question dated 27 February 2017

Resp. PH Reply                                     Respondent’s Reply to Claimants’ Submission
                                                   of 27 February 2017, dated 7 March 2017

Request for Arbitration                            Request for Arbitration dated 12 May 2014

Tr. Day [#] [Speaker(s)] [page:line]               Transcript of the Hearing (English) (as revised
                                                   by the Parties in February 2017)

Tribunal                                           Arbitral Tribunal constituted on 23 January
                                                   2015




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                    “The Tribunal decides:

                         (i) That it has jurisdiction over this dispute.

                         (ii) That Respondent did not comply with its obligation under Article
                              10(1) of the ECT to provide fair and equitable treatment in that it
                              failed to protect Claimants’ legitimate expectations.

                         (iii)That Claimants are entitled to damages based on a return on the
                              capitalized value of their assets as of 30 June 2016 on the basis of
                              the WACC of the Termosol Plants plus a premium of 200bps,
                              together with pre-judgment interest on the basis of 5-year Spanish
                              sovereign bonds as at the date of the Award, compounded monthly.

                         (iv) That Claimants are to recalculate their damages claim of EUR
                              398.4 million in the light of a premium of WACC plus 200 bps and
                              advise the Tribunal and Respondent of this recalculated amount
                              within 10 days of the receipt of this Decision.

                         (v) That Claimants are entitled to post-judgment interest from the date
                             of the Award on the basis of 5-year Spanish sovereign bonds as at
                             the date of the Award, compounded monthly, until payment.” 2

7.         On 19 March 2019, Respondent filed an application asking that its quantum experts be
           “allowed by the Arbitral Tribunal to revise the calculations requested in the Tribunal's
           decision, paragraph 682.”

8.         On 21 March 2019, the Tribunal wrote to the Parties noting: “[t]he Decision […]
           provided that the Claimants’ recalculation be forwarded to the Respondent and the
           Tribunal. If on receipt of the Claimants’ recalculated damages the Respondent discovers
           that there has been an error in calculation then it is free to draw that to the Tribunal’s
           attention.”

9.         Thereafter, on 21 March 2019, Claimants submitted the calculation requested at
           paragraphs 680 and 682(iv) of the Decision on Jurisdiction, Liability and Quantum
           Principles, and made submissions concerning the interest rate.



2
    Decision on Jurisdiction, Liability and Quantum, 12 March 2019, ¶ 682. See also, id., ¶ 680.

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20.        In their statement of Costs dated 28 September 2018, Claimants reiterated that should
           their claims succeed, Respondent should bear the total arbitration costs incurred by
           Claimants. 12

21.        As updated on 11 April 2019, Claimants submit the following claim for legal costs and
           other expenses (excluding the advances made to ICSID to cover the costs of the
           proceeding): 13




22.        In addition, Claimants have also submitted the following claim for the advances made to
           ICSID to cover the costs of the proceeding: 14



12
     Cl. Costs, ¶ 1.
13
     Cl. Costs Update, Annex A, Section I.

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25.      Respondent submits the following claim for its legal costs and other expenses (excluding
         the advances made to ICSID to cover the costs of the proceeding): 17


                                        Description                         Amount
                 Courier                                                    EUR 6,870.15
                 Editing Services                                          EUR 61,267.43
                 Expert Reports                                          EUR 367,688.86
                 Hearing                                                             N/A
                 Other Costs (services from public notaries)                EUR 3,632.50
                 Translations                                              EUR 54,561.53
                 Travel Expenses                                           EUR 16,216.33
                 Legal Fees                                            EUR 2,592,390.00
                 Total (excluding advances on costs to ICSID)          EUR 3,102,626.80


26.      In addition, Respondent submits the following claim for the advances made to ICSID to
         cover the costs of the proceeding: EUR 439,422.13. 18

27.      According to Respondent, “the costs incurred by the Respondent should be paid by the
         Claimants in the case that the Tribunal decides not to uphold the Claimants’ claim.”19
         While recognizing that under Article 61(2) of the ICSID Convention the Tribunal has
         discretion to allocate costs, Respondent submits that the Tribunal’s decision must be well
         grounded and not be arbitrary, and it should consider the complexity of the proceeding
         and the Parties’ conduct. 20

28.      In that regard, Respondent contends that its conduct has been serious, professional, and in
         good faith, and that Spain has shown willingness to cooperate. 21 According to Spain, the
         Tribunal should consider (i) that Respondent submitted its pleadings in a timely manner,
         in contrast with Claimants’ actions in connection with the timing for submission of the

17
   Resp. Costs, ¶¶ 11-18.
18
   Resp. Costs, ¶ 10.
19
   Resp. Costs, ¶ 23.
20
   Resp. Costs, ¶ 22.
21
   Resp. Costs, ¶ 24.

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                            ANNEX A
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INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES




                      In the arbitration proceeding between

            NEXTERA ENERGY GLOBAL HOLDINGS B.V. AND
              NEXTERA ENERGY SPAIN HOLDINGS B.V.
                                    Claimants


                                       and


                             KINGDOM OF SPAIN
                                   Respondent


                        ICSID Case No. ARB/14/11



DECISION ON JURISDICTION, LIABILITY AND
         QUANTUM PRINCIPLES


                           Members of the Tribunal
          Professor Donald M. McRae, C.C., President of the Tribunal
        The Honourable L. Yves Fortier, P.C., C.C., O.Q., Q.C., Arbitrator
             Professor Laurence Boisson de Chazournes, Arbitrator

                           Secretary of the Tribunal
                           Ms. Luisa Fernanda Torres


                 Date of dispatch to the Parties: 12 March 2019
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                             REPRESENTATION OF THE PARTIES


Representing Claimants:                          Representing Respondent:

Ms. Karyl Nairn QC                               Mr. José Manuel Gutiérrez Delgado
Mr. George Zimmerman                             Mr. Javier Castro López
Mr. David Herlihy                                Mr. Pablo Elena Abad
Ms. Teresa Queirós                               Mr. Antolín Fernández Antuña
Ms. Sara Nadeau-Séguin                           Mr. Roberto Fernández Castilla
Mr. Jacob Lefkowitz                              Ms. Patricia Fröhlingsdorf Nicolás
Ms. Carla Alves                                  Ms. Mónica Moraleda Saceda
Skadden, Arps, Slate, Meagher & Flom (UK) LLP    Ms. Elena Oñoro Sainz
40 Bank Street                                   Ms. Almudena Pérez-Zurita Gutiérrez
London E14 5DS                                   Ms. Amaia Rivas Kortazar
United Kingdom                                   Ms. María José Ruíz Sánchez
                                                 Mr. Diego Santacruz Descartín
and                                              Mr. José María Alonso

Mr. Alberto Fortún                               Abogacía General del Estado
Mr. Luis Pérez de Ayala                          Ministry of Justice of the Government of
Cuatrecasas, Gonçalves Pereira                   Spain
Calle de Almagro 9                               Calle Ayala 5
28010, Madrid                                    28001, Madrid
Spain                                            Spain




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                       TABLE OF SELECTED ABBREVIATIONS


Arbitration Rules                       ICSID Rules of Procedure for Arbitration
                                        Proceedings 2006

C-[#]                                   Claimants’ Exhibit

CL-[#]                                  Claimants’ Legal Authority

Cl. Bif.                                Claimants’ Observations on the Request for
                                        Bifurcation dated 2 October 2015

Cl. C-Mem. Jur.                         Claimants’ Counter-Memorial on Preliminary
                                        Objections dated 8 August 2016

Cl. Mem. Merits                         Claimants’ Memorial on the Merits dated 22
                                        May 2015

Cl. Rej. Jur.                           Claimants’ Rejoinder on Preliminary
                                        Objections dated 14 November 2016

Cl. Reply Merits                        Claimants’ Reply on the Merits dated 10
                                        August 2016

Cl. Skeleton                            Claimants’ Skeleton Argument dated 9
                                        December 2016

Cl. PH Mem.                             Claimants’ Response to Tribunal’s Post-
                                        Hearing Question dated 27 February 2017

Cl. PH Reply                            Claimants’ Reply to Spain’s Submission of 27
                                        February 2017, dated 7 March 2017

Cl. Obs. Eiser                          Claimants’ Observations on the Eiser Award
                                        dated 22 June 2017

Cl. Reply Eiser                         Claimants’ Reply Observations on the Eiser
                                        Award dated 18 July 2017

Cl. Obs. EC Decision                    Claimants’ Observations on the EC Decision
                                        of 10 November 2017 in Case SA.40348
                                        (20155/NN) dated 8 January 2018

Cl. Obs. Achmea                         Claimants’ Observations on the Achmea
                                        Judgment, the Novenergía II Award, and the
                                        Blusum Award dated 9 April 2018


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CER-                                   Claimants’ Expert Report

CER-Compass Lexecon First              First Expert Report of Professor Pablo T.
                                       Spiller and Dr. Manuel A. Abdala of Compass
                                       Lexecon dated 4 March 2015

CER-Compass Lexecon Second             Second Expert Report of Professor Pablo T.
                                       Spiller and Dr. Manuel A. Abdala of Compass
                                       Lexecon dated 9 August 2016

CER-Compass Lexecon Third              Addendum to Second Expert Report of
                                       Professor Pablo T. Spiller and Dr. Manuel A.
                                       Abdala of Compass Lexecon dated 19 August
                                       2016

CER-Price                              Expert Report of Mr. Henry Price dated 9
                                       August 2016

CWS-                                   Claimants’ Witness Statement

CWS-Arechabala First                   First Witness Statement of Mr. Miguel Ignacio
                                       Arechabala dated 19 May 2015

CWS-Arechabala Second                  Second Witness Statement of Mr. Miguel
                                       Ignacio Arechabala dated 8 August 2016

CWS-Arechabala Third                   Third Witness Statement of Mr. Miguel
                                       Ignacio Arechabala dated 21 November 2016

CWS-Davidson First                     First Witness Statement of Mr. F. Mitchell
                                       Davidson dated 21 May 2015

CWS-Davidson Second                    Second Witness Statement of Mr. F. Mitchell
                                       Davidson dated 2 August 2016

CWS- Kujawa First                      First Witness Statement of Ms. Rebecca
                                       Kujawa dated 19 May 2015

CWS- Kujawa Second                     Second Witness Statement of Ms. Rebecca
                                       Kujawa dated 10 August 2016

CWS- Nicolaï First                     First Witness Statement of Mr. George Nicolaï
                                       dated 8 August 2016

CWS- Nicolaï Second                    Second Witness Statement of Mr. George
                                       Nicolaï dated 14 November 2016

CWS-Sorensen                           Witness Statement of Mr. Mark Sorensen

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                                            dated 10 November 2016

ECT                                         Energy Charter Treaty

EC First Application                        European Commission’s Application for Leave
                                            to Intervene as a Non-Disputing Party dated 12
                                            November 2014

EC Written Submission                       European Commission’s Written Submission
                                            dated 5 September 2016

Hearing                                     Hearing on Jurisdiction and Merits held 12-19
                                            December 2016

ICSID Convention                            Convention on the Settlement of Investment
                                            Disputes Between States and Nationals of
                                            Other States dated 18 March 1965

ICSID or the Centre                         International Centre for Settlement of
                                            Investment Disputes

R-[#]                                       Respondent’s Exhibit

RL-[#]                                      Respondent’s Legal Authority

Resp. C-Mem. Merits                         Respondent’s Counter-Memorial on the Merits
                                            dated 4 March 2016

Resp. Mem. Jur.                             Respondent’s Memorial on Preliminary
                                            Objections and Request for Bifurcation dated 9
                                            September 2015

Resp. Rej. Merits                           Respondent’s Rejoinder on the Merits dated 20
                                            October 2016

Resp. Reply Jur.                            Respondent’s Reply on Preliminary Objections
                                            dated 14 October 2016

Resp. Skeleton                              Respondent’s Skeleton Argument dated 9
                                            December 2016

Resp. PH Mem.                               Respondent’s Response to Tribunal’s Post-
                                            Hearing Question dated 27 February 2017

Resp. PH Reply                              Respondent’s Reply to Claimants’ Submission
                                            of 27 February 2017 dated 7 March 2017

Resp. Obs. Eiser                            Respondent’s Observations on the Eiser Award

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                                               dated 11 July 2017

Resp. Reply Eiser                              Respondent’s Reply Observations on the Eiser
                                               Award dated 25 July 2017

Resp. Obs. EC Decision                         Respondent’s Observations on the EC
                                               Decision of 10 November 2017 in Case
                                               SA.40348 (20155/NN) dated 8 January 2018

Resp. Obs. Achmea                              Respondent’s Observations on the Achmea
                                               Judgment, the Novenergía II Award, and the
                                               Blusum Award dated 9 April 2018

RER-                                           Respondent’s Expert Report

RER-Accuracy First Economic                    First Expert “Economic Report on the
                                               Plaintiffs and their Claim” of Mr. Eduard
                                               Saura, Mr. Christophe Schmit and Mr.
                                               Stéphane Perrotto of Accuracy dated 2 March
                                               2016

RER-Accuracy Second Economic                   Second Expert “Report on Claims of the
                                               Claimants” of Mr. Eduard Saura, Mr.
                                               Christophe Schmit and Mr. Stéphane Perrotto
                                               of Accuracy dated 20 October 2016

RER-Accuracy on Lack of Activity               Expert “Economic Report on the Lack of
                                               Economic Activity of the Plaintiffs in the
                                               Netherlands” of Mr. Eduard Saura and Mr.
                                               Christophe Schmit dated 14 October 2016

RER-Casanova                                   Expert Report of Mr. Jesús Casanova dated 19
                                               October 2016

RER-Servert First                              First Expert Report of Mr. Jorge Servert dated
                                               14 October 2016

RER-Servert Second                             Supplementary Expert Report of Mr. Jorge
                                               Servert submitted 13 December 2016

RWS-                                           Respondent’s Witness Statement

RWS-Montoya First                              First Witness Statement of Mr. Carlos
                                               Montoya dated 3 March 2016

RWS-Montoya Second                             Second Witness Statement of Mr. Carlos
                                               Montoya dated 19 October 2016


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Request for Arbitration                             Request for Arbitration dated 12 May 2014

Tr. Day [#] [Speaker(s)] [page:line]                Transcript of the Hearing (English) (as revised
                                                    by the Parties in February 2017)

Tribunal                                            Arbitral Tribunal constituted on 23 January
                                                    2015




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18.     On 2 October 2015, Claimants filed their Observations on Respondent’s Request for
        Bifurcation (“Response on Bifurcation”); accompanied by legal authorities CL-086 to
        CL-133. 2

19.     On 28 October 2015, the Tribunal issued Procedural Order No. 2, dismissing
        Respondent’s Request for Bifurcation.

20.     On 6 January 2016, the Tribunal decided not to issue the order requested in Claimants’
        application of 28 September 2015, but encouraged Respondent to make its best efforts to
        make the PV Investors Award on Jurisdiction available to the Tribunal. On 18 February
        2016, Respondent submitted the PV Investors Award on Jurisdiction to the record
        (without a designated legal authority number), together with evidence of consent of the
        claimants in the PV Investors proceeding. 3

21.     On 4 March 2016, Respondent filed its Counter-Memorial on the Merits (“Counter-
        Memorial on the Merits”), accompanied by exhibits R-030 to R-231; legal authorities
        RL-020 to RL-098; one (1) witness statement by Mr. Carlos Montoya; and one (1) expert
        report by Mr. Eduard Saura, Mr. Christophe Schmit and Mr. Stéphane Perrotto of
        Accuracy, with exhibits ACQ-001 to ACQ-039.

22.     On 22 March 2016, Claimants informed the Centre and the Tribunal that the Spanish law
        firm Cuatrecasas Gonçalves Pereira had been retained as co-counsel in this matter, and on
        20 May 2016 provided the corresponding power of attorney.

23.     On 13 May 2016, following exchanges between the Parties, the Parties submitted for
        decision by the Tribunal their respective Redfern Schedules including their Requests,
        Objections and Replies on Document Production.

24.     On 3 June 2016, the Tribunal issued Procedural Order No. 4 on Document Production.




2
 The legal authorities were submitted electronically on 5 October 2015.
3
 On 8 August 2016, Claimants resubmitted a copy of this Award with their Counter-Memorial on Jurisdiction, as
CL-134.

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25.        On 8 August 2016, Claimants filed their Counter-Memorial on Preliminary Objections
           (“Counter-Memorial on Jurisdiction”) accompanied by exhibits C-126 to C-167; legal
           authorities CL-134 to CL-144; and one (1) witness statement, by Mr. George Nicolaï. 4

26.        On 8 and 9 August 2016, the Parties informed the Tribunal of an agreed extension of the
           deadline for the Claimants’ Reply on the Merits until 10 August 2016, Respondent’s
           agreement being conditioned upon Claimants’ submission of certain evidence of the
           circumstances causing the delay together with the Reply on the Merits.

27.        On 11 August 2016, Claimants filed their Reply on the Merits (“Reply on the Merits”)
           accompanied by exhibits C-168 to C-271; legal authorities CL-145 to CL-175; three (3)
           witness statements by: Mr. F. Mitchell Davidson, Mr. Miguel Ignacio Arechabala, and
           Ms. Rebecca Kujawa, respectively; two (2) expert reports: one by Dr. Manuel Abdala and
           Prof. Pablo Spiller of Compass Lexecon, with exhibits CLEX-107 to CLEX-282, an
           another by Mr. Henry Price, with exhibits SD-001 to SD-024.

28.        On 11 August 2016, Claimants also filed a communication explaining the circumstances
           underlying the extension for the submission of the Reply on the Merits, and announcing
           that “[u]nless the Tribunal otherwise direct[ed], Dr Abdala and Professor Spiller w[ould]
           supplement their evidence with a brief further report” to take account of those
           circumstances, approximately within two weeks.                     In addition, alleging delays in
           Respondent’s document production, Claimants requested a further opportunity to analyze
           the materials received during document production and to introduce them into the record
           at a later time, by consent or with leave from the Tribunal.                  On 11 August 2016,
           Respondent filed a response objecting to the delay in the filing of the Reply on the Merits
           and opposing to Claimants’ requests of 11 August 2016. On 12 August 2016, Claimants
           submitted reply observations.

29.        On 17 August 2016, the Tribunal (i) informed the Parties that the consequences of the
           delay in the filing of the Reply on the Merits could be considered in the determination of
           costs but did not affect the admissibility of the submission, and it invited Respondent to


4
    The exhibits and legal authorities were submitted electronically on 9 August 2016.

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       provide comments concerning the subsequent Procedural Calendar; and (ii) indicated that
       it would rule on the issue of admissibility of any further reports or documents if and when
       an application for leave to file them was made. On 18 August 2016, Respondent filed
       observations on the subsequent Procedural Calendar, and Claimants filed a reply on the
       same day.

30.    On 19 August 2016, Claimants submitted an Addendum to the Second Expert Report of
       Dr. Abdala and Prof. Spiller, with exhibits CLEX-283 to CLEX-286. On 22 August
       2016, the Tribunal invited Respondent to make observations on the admissibility of this
       report, and it informed the Parties that the report would not be transmitted to the Tribunal
       Members until a ruling on its admissibility had been made.           On 29 August 2016,
       Respondent filed a response, opposing the admissibility the report, and requesting an
       extension for the filing of its Rejoinder on the Merits. On 30 August 2016, Claimants
       submitted observations on the requested extension.

31.    On 15 September 2016, the Tribunal (i) admitted into the record the Addendum to the
       Second Expert Report of Dr. Abdala and Prof. Spiller dated 19 August 2016; and (ii)
       granted Respondent an extension for the filing of the Rejoinder on the Merits
       (“Procedural Calendar – Amendment No. 2”).

32.    On 14 October 2016, Respondent filed its Reply on Preliminary Objections (“Reply on
       Jurisdiction”), accompanied by exhibits R-232 to R-276; legal authorities RL-099 to
       RL-110; and one (1) expert report by Mr. Eduard Saura and Mr. Christophe Schmit of
       Accuracy, with exhibits ACQ-040 to ACQ-042.

33.    On 20 October 2016, Respondent filed its Rejoinder on the Merits (“Rejoinder on the
       Merits”), accompanied by exhibits R-277 to R-424; legal authorities RL-111 to RL-120;
       one (1) witness statement by Mr. Carlos Montoya, with exhibits R-225_CMR to R-
       266_CMR; three (3) expert reports by: Mr. Eduard Saura, Mr. Christophe Schmit and Mr.
       Stéphane Perrotto of Accuracy with exhibits ACQ-043 to ACQ-090, Mr. Jesús Casanova




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        with five unnumbered exhibits, and Prof. Jorge Servert with exhibits JSR-001 to JSR-010
        +1- (*)'9$$% 62 (*)'9$&%" 4.53.,6/7.08# 5

34.     On 27 October 2016, Respondent filed an application requesting authorization from the
        Tribunal to submit an additional exhibit (R-424) and certain corrected exhibits (JSR-05
        and JSR-10). On the same day, Claimants consented to the request. On 28 October
        2016, the Tribunal granted Respondent’s application, and on 3 November 2016 the
        documents were submitted by Respondent.

35.     On 8 November 2016, the Tribunal held a pre-hearing organizational conference with the
        Parties by telephone.

36.     On 11 November 2016, the Tribunal issued Procedural Order No. 5 embodying the
        Parties’ agreements on procedural matters pertaining to the organization of the Hearing
        and the Tribunal’s decisions on the disputed issues.

37.     On 7 November 2016, Claimants filed an application asking the Tribunal (i) to order
        Respondent to produce certain documents not produced and to provide a complete copy
        of an exhibit already on record (R-078); and (ii) to grant Claimants leave to introduce the
        materials into the record if they elected to do so upon review. On 8 November 2016,
        Respondent (i) filed observations on Claimants’ application of 7 November 2016; (ii)
        filed its own application asking the Tribunal to order Claimants to produce a number of
        documents not produced; and (iii) communicated to the Tribunal its willingness to
        introduce into the record a new legal authority, namely Isolux Infrastructure Netherlands
        BV v. Kingdom of Spain, SCC Case V2013/153, Award (12 July 2016) (“Isolux Award”)
        subject to a guarantee of confidentiality by the present Tribunal. On 15 November 2016,
        Claimants provided observations on Respondent’s application of 8 November 2016. 6



5
 Exhibits R-424, JSR-005 and JSR-010 were submitted electronically on 3 November 2016. See infra, ¶ 34.
6
  On 21 and 22 November 2016, the Parties filed further communications relating to one of the matters at issue in
Respondent’s application (Respondent’s Request for Document Production No. 52), further discussed infra, ¶ 42. In
addition, in the communication of 22 November 2016, Respondent reiterated its request to the Tribunal to order the
confidentiality of the Isolux Award, and asked for the same order with respect to another legal authority filed by
Claimants, namely CSP Equity Investment S.à.r.l v. Kingdom of Spain, SCC Case 2013/094, Award on Jurisdiction
(13 May 2016) (CL-176).

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38.    On 14 November 2016, Claimants filed their Rejoinder on Preliminary Objections
       (“Rejoinder on Jurisdiction”), accompanied by exhibits C-272 to C-282; legal
       authorities CL-176 to CL-192; and two (2) witness statements by: Mr. George Nicolaï,
       and Mr. Mark Sorensen, respectively. 7

39.    On 16 November 2016, Respondent filed a request for clarification of Procedural Order
       No. 5. The Tribunal responded on the same day.

40.    On 18 November 2016, the Parties notified the witnesses and experts called for
       examination at the Hearing.

41.    On 23 November 2016, the Tribunal issued Procedural Order No. 6 concerning the
       Parties’ applications of 7 and 8 November 2016 (supra, ¶ 37). The Tribunal (i) ruled on
       the Parties’ respective requests for document production, ordering production of some
       documents and dismissing some requests; (ii) deferred the decision relating to one of the
       matters at issue (Respondent’s Request for Document Production No. 52); (iii) invited the
       Parties to liaise directly concerning another of the matters at issue (Respondent’s Request
       for Document Production No. 55); (iv) authorized the introduction of the Isolux Award
       into the record granting confidentiality with respect to that award, and to “any other
       award provided to the Tribunal where confidentiality is required.” On 25 November
       2016, following the Tribunal’s authorization, Respondent submitted the Isolux Award to
       the record (RL-121) in Spanish.

42.    From 21 November 2016 to 30 November 2016, the Parties filed a number of additional
       procedural applications and communications in response to them, as follows:

       "       On 21 November 2016: (i) Respondent submitted an application for leave from
               the Tribunal to add new documents to the record; 8 (ii) Claimants filed
               observations concerning the production of documents relating to Respondent’s
               Request for Document Production No. 52, and applied to introduce those
               documents into the record; and (iii) Claimants submitted a second application to
               add new documents to the record, 9 to file a supplementary witness statement by
7
  One of the exhibits (C-282) was submitted electronically on 15 November 2016.
8
  These documents were provisionally identified as R-425 to R-442, RL-122 to RL-123.   See Respondent’s
communication of 25 November 2016.
9
  These documents were provisionally identified as C-283 to C-293.

                                                  8
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                   Mr. Miguel Ignacio Arechabala, and to supplement certain legal authorities
                   already on the record. 10 On 22 November 2016, Respondent filed a response to
                   Claimants’ applications of 21 November 2016, and Claimants filed a
                   communication on this matter on the same day. On 25 November 2016, the
                   Parties filed further submissions concerning these pending applications to add
                   new materials to the record.

           "       On 24 November 2016, in connection with Procedural Order No. 6, Respondent
                   submitted a communication regarding Respondent’s Request for Document
                   Production No. 55, asking the Tribunal to order Claimants to produce complete
                   documents. On 25 November 2016, Claimants filed a response. On 26
                   November 2016, Respondent filed reply observations. On 28 November 2016,
                   Claimants filed rejoinder observations. And, on 29 November 2016, Respondent
                   submitted a further communication addressing inter alia Claimants’
                   communication of 28 November 2016 in connection with this issue.

           "       On 24 November 2016, the Parties submitted a communication to the Tribunal,
                   indicating that they had not been able to reach an agreement on the Hearing
                   Agenda, highlighting two specific areas of disagreement among them.

           "       On 26 November 2016, Claimants submitted a request that Respondent be ordered
                   to provide an English translation of the Isolux Award by a certain date. On 28
                   November 2016, Respondent submitted observations regarding this request,
                   together with an update on the document production ordered in Procedural Order
                   No. 6. On 28 November 2016, Claimants submitted a communication addressing,
                   inter alia, the timing for the production of the Isolux Award and the documents
                   ordered by Procedural Order No. 6. On 29 November 2016, Respondent made
                   further submissions concerning these matters. On 30 November 2016, Claimants
                   filed a response.

           "       On 26 November 2016, Respondent made an additional application to add further
                   documents to the record. 11 On 28 November 2016, Claimants filed observations
                   in response. On 29 November 2016, Respondent submitted a communication
                   replying, inter alia, to Claimants’ observations of 28 November 2016 relating to
                   this application.

43.        On 1 December 2016, the Tribunal issued Procedural Order No. 7, concerning the
           above referenced applications (supra ¶ 42) (i) authorizing the Parties to introduce into the
           record the documents referred to in their respective applications of 21 November 2016;
           (ii) authorizing the filing of the new witness statement from Mr. Arechabala and
           affording Respondent additional time at the Hearing (over its already allotted time) to


10
     The legal authorities referred to were CLEX-006, CLEX-052, CLEX-117, CLEX-174, CL-005, RL-115.
11
     These documents were provisionally identified as R-443 to R-446.

                                                      9
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        address this witness statement through direct examination of Prof. Servert and Mr.
        Montoya; (iii) inviting Claimants to use their best efforts to produce more responsive data
        with regard to Respondent’s Request for Document Production No. 55; (iv) ruling on the
        Parties’ disagreements concerning the Hearing Agenda; (v) asking Respondent to provide
        a translation of the Isolux Award; and (vi) instructing the Parties to file Skeleton
        Arguments by 9 December 2016.

44.     On 2 December 2016, the Parties submitted a joint application to add a number of
        additional documents into the record, 12 observing that Respondent’s exhibits referred in
        this application were the same at issue Respondent’s application of 26 November 2016
        (supra, ¶ 42, last bullet). On 2 December 2016, in light of the Parties’ agreement, the
        Tribunal authorized the introduction of these exhibits to the record.

45.     From 5 to 9 December 2016, pursuant to Procedural Order No. 7 and the Tribunal’s
        ruling of 2 December 2016, the Parties introduced into the record the following materials:

        Claimants

        "        On 5 December 2016, a third witness statement by Mr. Miguel Ignacio
                 Arechabala dated 21 November 2016.

        "        On 6 December 2016, exhibits C-283 to C-302.

        "        On 9 December 2016, exhibits C-303, and legal authorities CL-193 to CL-194.

        Respondent

        "        On 5 December 2016, exhibits R-425 to R-458, 13 and legal authorities RL-122 to
                 RL-123.

        "        On 5 December 2016, an English translation of the Isolux Award (RL-121), and
                 an additional translation of exhibit C-027.

46.     On 5 December 2016, the Parties submitted their proposed Hearing Agenda.

12
   These documents were provisionally identified as exhibits C-294 to C-299, R-443 to R-446, and supplements to
CLEX-056 and CLEX-124.
13
   The number designations do not correspond to those initially proposed by Respondent in its applications of 21 and
26 November 2016, and 2 December 2016. Respondent submitted the documents related to Procedural Order No. 7
as R-425 to R-454, and those relating to the Tribunal’s letter of 2 December 2016 as R-455 to R-458.

                                                        10
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47.     On 6 December 2016, Respondent filed an application requesting leave from the Tribunal
        to introduce additional documents to the record. 14 On 7 December 2016, Claimants filed
        a response. On 8 December 2016, Respondent filed reply observations, and requested
        leave from the Tribunal to submit a supplementary report by Prof. Jorge Servert. On 8
        December 2016, the Tribunal ruled on this application, authorizing the submission of
        Prof. Servert’s supplementary report and additional exhibits. Thus, on 13 December
        2016, Respondent filed a Supplementary Expert Report by Prof. Jorge Servert,
        accompanied by exhibits JSR-011 to JSR-018, JSR-020 to JSR-030, JSRN-002, JSRN-
        003, JSRN-009 to JSRN-015 and JSRN-37 to JSRN-38.

48.     On 9 December 2016, the Parties submitted their respective Skeleton Arguments.

49.     On 11 December 2016, Claimants submitted corrected versions of two previously filed
        exhibits (C-151 and C-152). On 12 December 2016, the Tribunal heard both Parties
        orally on this matter during Day 1 of the Hearing, and took note that Respondent did not
        object. 15 Accordingly, the revised versions of exhibits C-151 and C-152 were admitted.

50.     On 13 December 2016, during Day 2 of the Hearing, Claimants submitted a corrected
        version of Mr. Nicolaï Witness Statement. The Tribunal heard both Parties orally on this
        matter that day, and the corrections were introduced into the record. 16

51.     On 13 December 2016, Claimants submitted corrected versions of Mr. Arechabala’s three
        witness statements. On 14 December 2016, the Tribunal heard both Parties orally on this
        matter during Day 3 of the Hearing. Respondent did not object. 17

52.     On 16 December 2016, Claimants filed an application to add a new document to the
        record (namely, a draft Renewables Energies Directive published on 30 November 2016
        by the European Union). The application attached a previous exchange between the
        Parties on that same day, including a communication from Respondent objecting to the
        introduction of this document with its reasons. On 17 December 2016, the Tribunal ruled

14
   These documents were provisionally identified as exhibits JSR-011 to JSR-027, and JSRN-037 to JSRN-038.
15
   Tr. Day 1 (ENG), 10:18–12:1 (President, Mr. Santacruz, Ms. Nairn).
16
   Tr. Day 2 (ENG), 425:17–427:12; 428:6–429:6 (Mr. Santacruz, President, Ms. Nairn).
17
   Tr. Day 3 (ENG), 488:2–490:14 (President, Ms. Nairn, Mr. Santacruz).

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57.        On 22 September 2015, the Parties filed their respective Observations on the EC First
           Application. Claimants’ observations were accompanied with legal authorities CL-065 to
           CL-085. 19

58.        On 2 October 2015, Respondent filed a Reply to Claimants’ Observations on the EC First
           Application.

59.        On 5 October 2015, Claimants filed a Reply to Respondent’s Observations on the EC
           First Application, accompanied by exhibit C-125.

60.        On 6 January 2016, the Tribunal issued Procedural Order No. 3 ruling on the EC First
           Application. The Tribunal (i) authorized the EC to file a written submission on the issue
           of the application of the ECT to intra-EU disputes; (ii) granted the Parties an opportunity
           to file observations on the EC’s written submission; (iii) granted the EC access to certain
           portions of the Parties’ written pleadings relating to the issue on which the EC would
           make its submission, with redactions of commercially sensitive information; (iv) denied
           the EC’s request to attend the Hearing to present oral argument, but it invited the Parties
           to inform the Tribunal after receipt of the EC’s written submission whether they would
           agree to attendance of the EC to a limited portion of the Hearing for the exclusive
           purpose of answering any questions that the Tribunal and/or the Parties might have
           concerning such written submission; and (v) rejected Claimants’ request that the
           intervention by the EC be conditioned on an undertaking to pay Claimants’ costs in
           dealing with the EC’s intervention.

61.        On 13 January 2016, the Parties communicated to the Tribunal their agreed schedule for
           various of the procedural steps ordered in Procedural Order No. 3. On 28 January 2016,
           the Tribunal approved the Parties’ agreement and established additional deadlines in
           connection with this matter. That same day, the Tribunal communicated to the EC the
           calendar for its written submission and the other steps pertaining to the EC.

62.        On 15 August 2016, the Parties informed the Tribunal that the relevant excerpts of the
           pleadings could be transmitted to the EC without redactions. In addition, on 17 August

19
     The legal authorities were submitted electronically on 23 September 2015.

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 ICSID Secretariat:

 Ms. Luisa Fernanda Torres                    Secretary of the Tribunal

 For Claimants:

 Counsel
 Ms. Karyl Nairn QC                           Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Mr. David Herlihy                            Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Mr. George Zimmerman                         Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Ms. Sara Nadeau-Séguin                       Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Ms. Teresa Queirós                           Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Mr. Jacob Lefkowitz                          Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Ms. Paula Henin                              Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Mr. Aaron Shorr                              Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Ms. Carla Alves                              Skadden, Arps, Slate, Meagher & Flom (UK) LLP
 Ms. Mónica Lasquibar                         Cuatrecasas Gonçalves Pereira
 Mr. Luis Perez de Ayala                      Cuatrecasas Gonçalves Pereira

 Party Representatives
 Mr. Mitchell S. Ross                         Party Representative
 Mr. Robert B. Sendler                        Party Representative
 Mr. Fernando Bergón                          Party Representative
 Mr. Charlie Sieving                          Party Representative
 Mr. Mark Sorensen                            Party Representative
 Mr. George Nicolaï                           Party Representative

 Witnesses (*)
 Mr. F. Mitchell Davidson                     NextEra Energy Resources, LLC (Retired)
 Mr. Miguel Ignacio Arechabala                NextEra Energy Resources, LLC
 Ms. Rebecca Kujawa                           NextEra Energy Resources, LLC
 Mr. George Nicolaï                           NextEra Energy Global Holdings Coöperatieve U.A.
 Mr. Mark Sorensen                            NextEra Energy Resources, LLC and NextEra
                                              Energy Global Holdings Coöperatieve U.A.
 Experts
 Dr. Manuel Abdala                            Compass Lexecon, LLC
 Prof. Pablo Spiller                          Compass Lexecon, LLC
 Mr. Henry Price                              Solar Dynamics, LLC
 Mr. Julian Delamer                           Compass Lexecon, LLC
 Mr. Alan Rozenberg                           Compass Lexecon, LLC
 Mr. Jack Ghaleb                              Compass Lexecon, LLC

 For Respondent:

 Counsel
 Ms. Mónica Moraleda                          Abogacía del Estado, Ministerio de Justicia
 Mr. Diego Santacruz                          Abogacía del Estado, Ministerio de Justicia
 Ms. Amaia Rivas                              Abogacía del Estado, Ministerio de Justicia
 Mr. Javier Castro                            Abogacía del Estado, Ministerio de Justicia
 Mr. José María Alonso                        Abogacía del Estado, Ministerio de Justicia
 Mr. Antolín Fernández                        Abogacía del Estado, Ministerio de Justicia

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       Party Representatives
       Mr. Alfonso Olivas                            IDAE
       Ms. Raquel Vázquez                            IDAE

       Witnesses (*)
       Mr. Carlos Montoya                            IDAE

       Experts
       Mr. Eduard Saura                              Accuracy
       Mr. Christophe Schmit                         Accuracy
       Mr. Stéphane Perrotto                         Accuracy
       Ms. Laura Cózar                               Accuracy
       Mr. Alberto Fernández                         Accuracy
       Mr. Carlos Canga                              Accuracy
       Mr. Jesús Casanova                            ETSIIM
       Prof. Jorge Servert                           STA

       Court Reporters:

       Mr. Paul Pelissier                            DR-ESTENO
       Mr. Dante Rinaldi                             DR-ESTENO
       Mr. Dionisio Rinaldi                          DR-ESTENO
       Ms. Diana Burden                              Diana Burden Ltd.
       Ms. Laurie Carlisle                           Diana Burden Ltd.

       Interpreters:

       Mr. Jesús Getan Bornn
       Mr. Mark Viscovi
       Ms. Amalia Thaler de Klem

       (*) not present before their testimony

69.    The following persons were examined during the Hearing:

        On behalf of Claimants:                        On behalf of Respondent:
        Witnesses                                      Witnesses
        Mr. F. Mitchell Davidson                       Mr. Carlos Montoya
        Mr. Miguel Ignacio Arechabala
        Ms. Rebecca Kujawa
        Mr. George Nicolaï
        Mr. Mark Sorensen

        Experts                                        Experts
        Mr. Henry Price                                Mr. Jesús Casanova
        Dr. Manuel Abdala                              Prof. Jorge Servert
        Prof. Pablo Spiller                            Mr. Eduard Saura
                                                       Mr. Stéphane Perrotto


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       English version, and an opportunity to file submissions on this legal authority. On 17 and
       18 May 2017, Respondent filed observations in response. On 23 May 2017, the Tribunal
       authorized the introduction of the Eiser Award into the record, invited Respondent to
       introduce the English version, and afforded the Parties an opportunity to file submissions
       on this legal authority. Accordingly, on 30 May 2017, Respondent introduced the Eiser
       Award into the record in English and Spanish (without a designated legal authority
       number).

77.    Having considered the Parties’ respective positions, on 8 June 2017, the Tribunal
       established a schedule for the Parties’ submissions on the Eiser Award, later amended on
       6 July 2017. Accordingly, the Parties filed their submissions as follows: on 22 June
       2017, Claimants filed observations on the Eiser Award; on 11 July 2017, Respondent
       filed response observations on the Eiser Award; on 18 July 2017, Claimants filed reply
       observations on the Eiser Award; and on 25 July 2017, Respondent filed rejoinder
       observations on the Eiser Award.

78.    On 18 July 2017, Claimants also filed a communication raising a procedural matter
       arising out of Spain’s observations on the Eiser Award. Specifically, Claimants observed
       “[t]hat Spain has contended that a proper application of the Eiser award on liability
       requires a new and different approach to quantum, excluding each of the measures
       referred to in this case as Regulatory Framework II.” While opposing Respondent’s
       contention as a matter of principle and substance, and raising procedural objections to the
       introduction of a new quantum defence at this stage of the proceeding, Claimants asserted
       that “should the Tribunal nonetheless wish to proceed to consider the long-term quantum
       impact of Regulatory Framework II, or any of its individual elements, the Claimants
       agree with Spain that this would require the parties to provide new expert reports
       addressing those calculations, following a procedure that ensures due process […].”
       Following an invitation by the Tribunal, on 25 July 2017, Respondent provided
       observations on this matter as part of its rejoinder observations on the Eiser Award. It
       asserted inter alia that “the expert reports […] do not reflect, in any way, the separate
       impact of the individual measures disputed by Claimants in this arbitration” and agreed
       with Claimants that the quantification of that impact would require new expert reports.

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79.    On 25 July 2017, as part of its rejoinder observations on the Eiser Award, Respondent
       filed an application to introduce additional documents to the record. On 17 August 2017,
       Claimants submitted a response, and on 28 August 2017, Respondent submitted a reply.
       On 26 September 2017, the Tribunal authorized the introduction of only some of the
       documents to the record, namely: the Notice of Registration of Spain’s annulment
       application of the Eiser Award, dated 28 July 2017 and its accompanying cover letter.
       Accordingly, on 28 September 2017, Respondent submitted those documents to the
       record as exhibits R-464 and R-465.

80.    On 23 November 2017, Respondent filed an application to introduce an additional
       document to the record, namely, the EC Decision on State Aid, Case SA.40348
       (2015/NN) (10 November 2017) (“the EC Decision”), and asked the Tribunal to afford
       the Parties an opportunity to file submissions in connection therewith. On 29 November
       2017, Claimants submitted a response. On 5 December 2017, Respondent submitted a
       reply.   On 14 December 2017, the Tribunal authorized the introduction of the EC
       Decision into the record, and it granted the Parties an opportunity to submit written
       submissions in connection therewith. Accordingly, on 15 December 2017, Respondent
       submitted the EC Decision, designated as RL-124.

81.    On 8 January 2018, each Party filed its respective submission on the EC Decision.

82.    On 5 March 2018, Claimants filed an application seeking leave to add an additional legal
       authority to the record, namely: Novenergía II – Energy & Environment (SCA), SICAR v.
       Kingdom of Spain (SCC Case No. 2015/063), Award (15 February 2018) (“Novenergía
       Award”).     On 9 March 2018, Respondent submitted a response to Claimants’
       application, and in turn filed an application seeking authorization to add three additional
       legal authorities to the record, namely: the Ruling of the EUCJ in case C-284/16
       (Achmea Case) (6 March 2018) (“Achmea Judgment”); Blusun S.A., Jean-Pierre
       Lecorcier and Michael Stein v. Italian Republic, ICSID Case No. ARB/14/3, Award (27
       December 2016) (“Blusun Award”), and Mr. Jürgen Wirtgen, Mr. Stefan Wirtgen, Mrs.
       Gisela Wirtgen and JSW Solar (swei) GmbH & Co. KG v. The Czech Republic, PCA
       Case No. 2014-03, Award (11 October 2017). On 15 March 2018, Claimants submitted a


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        response to Respondent’s application. On 21 March 2018, Respondent submitted a reply,
        which also added a request to introduce into the record Spain’s request for clarification
        and supplementation of the Novenergía Award. On 26 March 2018, the Tribunal ruled
        on these applications, authorizing the introduction of the Novenergía Award, the Achmea
        Judgment and the Blusum Award into the record, and dismissing the other requests. The
        Tribunal also afforded the Parties an opportunity to file submissions on these new legal
        authorities.     Accordingly, on 28 March 2018, Claimants submitted the Novenergía
        Award, as legal authority CL-195; and on 29 March 2018, Respondent submitted the
        Achmea Judgment and the Blusun Award, as legal authorities RL-125 and RL-126.

83.     In its application of 9 March 2018 referred to above, Respondent “reserve[d] its right to
        request that new expert reports be filed by both parties to determine the real impact of
        each of the disputed measures.” This statement was repeated in the reply submission of
        21 March 2018. In their 15 March 2018 response, Claimants observed they “consider
        that they have provided the expert evidence necessary to quantify their damages resulting
        from Spain's violations of the ECT.”24 In its ruling of 26 March 2018, the Tribunal
        observed that “the Tribunal will deal with any such application if and when it is actually
        made.”

84.     On 9 April 2018, each Party filed its respective submission on the Novenergía Award, the
        Blusun Award and the Achmea Judgment.

85.     On 16 April 2018, Claimants filed an application to add an additional legal authority to
        the record, namely: Novenergía II – Energy & Environment (SCA), SICAR v. Kingdom of
        Spain (SCC Arbitration 2015/063), Procedural Order No. 17 (9 April 2018)
        (“Novenergía PO 17”). On 19 April 2018, Respondent filed a response to Claimants’
        application, and in turn, it filed its own application seeking leave to (i) introduce a
        number of additional documents to the record; (ii) conduct a site visit to Claimants’
        domicile; and (iii) file a short expert report addressing the facts referred to in the



24
  That said, Claimants also added that “if the Tribunal requires any further assistance in quantifying damages, the
appropriate mechanism for receiving any such evidence would be a request from the Tribunal itself, not a quantum
report submitted as an observation on the Novenergia award.”

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        application. 25 On 23 April 2018, Claimants filed a reply. On 27 April 2018, Respondent
        filed a rejoinder. On 2 May 2018, Claimants filed a communication asking the Tribunal
        for a brief opportunity to respond to one of the assertions in Respondent’s
        communication of 27 April 2018.

86.     On 4 May 2018, the Tribunal issued Procedural Order No. 8 ruling on the above
        referenced applications. The Tribunal (i) authorized the introduction of the Novenergía
        PO17, and the Novenergía Annulment Notice of Registration into the record; and (ii) it
        rejected the requests to add other documents to the record, conduct a site visit and to file
        an additional expert report. Accordingly, on 9 May 2018, Claimants submitted the
        Novenergía PO 17, as legal authority CL-196; and on 6 June 2018, Respondent submitted
        the Novenergía Annulment Notice of Registration, as exhibit R-466.

87.     On 16 May 2018, the EC submitted a communication stating that “in case the Tribunal
        6/4,' '((- 3*%3 42()4, )/1 +32 '(,+&(1%3+/.2" 3*( #/--+22+/. 6/4,' &( %5%+,%&,( 3/ 409
        date its written observations in the light of the recent judgment of the European Court of
        Justice in Case C-284/16 Achmea v Slovak Republic, and in particular to set out its view
        on the consequences of that judgment for pending arbitration cases based on the Energy
        Charter Treaty” (“EC Second Application”). The communication was transmitted to
        the Parties and the Tribunal on 17 May 2018.

88.     Following an invitation from the Tribunal, on 23 May 2018, each Party filed observations
        on the EC Second Application.

89.     On 29 May 2018, the Tribunal ruled on the EC Second Application. Noting that “the
        Parties have already provided comprehensive comments on the Achmea decision
        including comments on the implications of the decision for arbitration cases based on the
        Energy Charter Treaty” (supra, ¶ 84), the Tribunal ruled that it did not need an update of
        the EC Written Submission, and so informed the EC and the Parties.


25
  That is, to demonstrate that (i) “[s]ome impairments that the Solar thermal Plants recorded initially after the
measures have been, due to updated valuations, reversed” and “[…] the PTEs are not in liquidation anymore but
are ‘going concern’”; (ii) the “[d]amages calculated by Compass Lexecon have been discredited and are speculative
and therefore unproven” and (iii) the “[l]ack of economic activity of the Claimants in the Netherlands and
everywhere else persists.” Resp. Letter, 19 April 2018; Resp. Letter, 27 April 2018.

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        binding greenhouse emission reduction targets. 37 The Protocol was signed by Spain on
        29 April 1998, and ratified on 31 May 2002. 38 It entered into force on 16 February
        2005. 39

101.    On 14 May 1997, the European Commission issued Communication COM(97) 196,
        setting a target to reduce greenhouse gas emissions by 15% by year 2010, vis-à-vis the
        levels existing in year 1990. 40

                   a. The Electricity Law

102.    In the above context, on 27 November 1997, Spain enacted Law 54/1997 on the
        Electricity Sector (“Electricity Law” or “Law 54/1997”), 41 which regulated the activities
        for the provision of electricity in Spain. 42 The Electricity Law distinguished between
        electricity generation under an “Ordinary Regime” (Title IV, Chapter I), and under a
        “Special Regime” (Title IV, Chapter II).

103.    Pursuant to Article 27 of the Electricity Law, electricity generation activities were
        considered part of the Special Regime in a number of categories listed by the law,
        “whenever they [were] carried out from facilities having installed capacity of no more
        than 50 MW.”           The categories listed included facilities where “non-consumable
        renewable energies, bio-mass or biofuels of any type are used as primary energy,




37
   C-025, UNFCC Website, Kyoto Protocol.
38
   United Nations Treaty Collection, Status of Treaties, Chapter XXVII, Environment, 7.a., Kyoto Protocol to the
United Nations Framework Convention on Climate Change, available at
https://treaties.un.org/Pages/ViewDetails.aspx?src=TREATY&mtdsg_no=XXVII-7-a&chapter=27&clang=_en.
39
   C-025, UNFCC Website, Kyoto Protocol.
40
   C-026, Communication from the European Commission: The Energy Dimension of Climate Change, COM(97)
196 Final, 14 May 1997.
41
   C-024 / R-003, Law 54/1997 on the Electric Power Sector, 27 November 1997, published on 28 November 1997
(“Electricity Law”). The English translation at R-003 does not correspond to the original version of the law
enacted in 1997, but to the Electricity Law as amended up to 2008. Prior to Law 54/1997, Law 49/1984 of 26
December 1984 and Law 40/1994 of 30 December 1994 had governed the electricity system in Spain. R-038, Law
49/1984, 26 December 1984 (published 29 December 1984); R-039, Law 40/1994, 30 December 1994 (published 31
December 1994). Article 16 of Law 40/1994 established certain parameters for the establishment of the user tariffs
and of the retribution of activities within the system. Respondent has argued that the system thereby reflected
coincides with the current one. Resp. C-Mem. Merits, ¶ 105.
42
   C-024, Electricity Law, Art. 1.

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        provided their holder [did] not engage in generation activities under the ordinary
        regime.” 43

104.    Article 30 of the Electricity Law established the rights and obligations of producers under
        the Special Regime. 44 Those obligations included, among others, “[t]o comply with
        technical generation standards as well as with the standards governing transport and the
        technical management of the system;” and “[t]o provide the Authorities with information
        concerning the generation, consumption and sale of energy and on any other points as
        determined.” 45 Article 30(4) of the Electricity Law provided that:

                 “4. […] the generation of electricity via renewable energy sources (other
                 than hydroelectric), biomass and also hydroelectric power stations with
                 capacity of equal to or less than 10 MW will receive a premium to be set
                 by the Government, so that the price of the electricity sold by these
                 facilities will fall within a range of between 80% and 90% of the average
                 electricity price, to be calculated by dividing the income generated by
                 invoicing for electricity supplied by the energy supplied.

                 To calculate the premiums, consideration will be given to the voltage level
                 where the energy enters the network, to the effective contribution to
                 environmental improvement, primary energy savings and energy
                 efficiency, and to any investment costs that may have been incurred, in
                 order to achieve reasonable profitability rates by reference to the cost of
                 money in capital markets.

                 […]

                 On an exceptional basis, for solar energy, the Government shall be able to
                 set a premium in addition to the limits defined in this article.” 46

105.    Article 31 of the Electricity Law required facilities in the Special Regime to register in an
        Administrative Registry for Electricity Production Facilities (“Registro Administrativo de
        Instalaciones de Producción de Energía Eléctrica”), in the Ministry of Industry and


43
   C-024, Electricity Law, Art. 27.
44
   C-024, Electricity Law, Art. 30.
45
   C-024, Electricity Law, Art. 30(1)(b) and (d).
46
   C-024, Electricity Law, Art. 30(4). The Electricity Law has been subject of various modifications, including
through RDL 7/2006, RDL 6/2009, RDL 14/2010, and RDL 9/2013. For example, Article 30(4) of the Electricity
Law has been amended by RDL 7/2006 and by RDL 9/2013. See infra, ¶ 158.

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        Energy, specifying the remunerative regime adopted in each case. 47 That registry would
        also include information about the conditions and the power of the facility (“condiciones”
        y “potencia de la instalación”). 48 Autonomous communities were authorized to create
        the local registries for the facilities located in their territory. 49

                b. RD 2818/1998, RD 1432/2002, RD 436/2004, RDL 7/2006

106.    On 23 December 1998, Spain enacted Royal Decree 2818 (“RD 2818/1998”), 50 to
        regulate the requirements and procedures to qualify for the Special Regime, the
        procedure for registration, the conditions for delivery of electricity and the applicable
        economic regime. 51 Article 9 established the Administrative Registry for Production
        Facilities under the Special Regime (“Registro Administrativo de Instalaciones de
        Producción en Régimen Especial” or “RAIPRE”). 52 Article 23 provided for a “premium
        or incentive” in addition to the market price, for facilities with power (potencia) equal to
        or less than 50MW that were registered in the RAIPRE. 53 Article 32 established that the
        premiums would be revised every four years. 54

107.    The Electricity Law required that, “[i]n order for renewable energy sources to cover at
        least 12% of Spain’s total energy demand by the year 2010,” a plan should be “drawn up
        to promote renewable energies and whose objectives shall be taken into account in the
        setting of premiums.” 55       Accordingly, on 30 December 1999, Spain’s Council of
        Ministers approved the 2000-2010 Renewable Energy Plan. 56 That Plan set forth “the
        principal elements and guidelines […] relevant in the articulation of a strategy […] for



47
   C-024, Electricity Law, Art. 31. See also, id. Art. 24(4).
48
   C-024, Electricity Law, Art. 24(4).
49
   C-024, Electricity Law, Art. 24(4).
50
    C-028 / R-058, Royal Decree 2818/1998, 23 December 1998, published on 30 December 1998 (“RD
2818/1998”).
51
   C-028 / R-058, RD 2818/1998, Art. 1.
52
   C-028 / R-058, RD 2818/1998, Art. 9.
53
   C-028 / R-058, RD 2818/1998, Art. 23.
54
   C-028 / R-058, RD 2818/1998, Art. 32.
55
   C-024, Electricity Law, Sixteenth Transitional Provision.
56
   C-020, Plan for the Development of Renewable Energy in Spain 2000-2010, December 1999 (“2000-2010
Renewable Energy Plan”).

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        the growth of each of the renewable energy areas, taken together, to cover at least 12%
        of primary energy in the year 2010.” 57

108.    On 27 September 2001, the European Parliament and Council adopted Directive
        2001/77/EC on the promotion of electricity produced from renewable energy sources in
        the internal electricity market (“2001 Renewable Energy Directive”). 58              Article 3
        required Member States “to take appropriate steps to encourage greater consumption of
        electricity produced from renewable energy sources in conformity with the national
        indicative targets […].” 59 Spain’s indicative target for the contribution of electricity
        produced from renewable energy sources to gross electricity consumption by 2010 was
        set at 29.4. 60 Recital 12 noted that “[t]he need for public support in favour of renewable
        energy sources is recognised in the Community guidelines for State aid for environmental
        protection […],” adding that “the rules of the Treaty, and in particular Articles 87 and 88
        thereof, will continue to apply to such public support.” 61

109.    The Electricity Law also required that every year, or when required by special
        circumstances, the Government would approve or amend a reference or average
        electricity tariff through a Royal Decree. 62 Accordingly, on 27 December 2002, Spain
        enacted Royal Decree 1432/2002 (“RD 1432/2002”), 63 which established the
        methodology to set the annual reference or average electricity tariff. 64




57
   C-020, 2000-2010 Renewable Energy Plan, Introduction.
58
   C-029 / R-046, Directive 2001/77/EC of the European Parliament and Council, 27 September 2001 (“2001
Renewable Energy Directive”).
59
   C-029 / R-046, 2001 Renewable Energy Directive, Art. 3.
60
   C-029 / R-046, 2001 Renewable Energy Directive, Annex.
61
   C-029 / R-046, 2001 Renewable Energy Directive, Recital 12.
62
   C-024, Electricity Law, Art. 17(2).
63
   C-030 / R-060, Royal Decree 1432/2002, 27 December 2002, published 31 December 2002 (“RD 1432/2002”).
RD 1432/2002 was preceded by an opinion by the Spanish Council of State dated 19 December 2002. C-031,
Opinion of the Council of State 3616/2002, 19 December 2002.
64
   C-030 / R-060, RD 1432/2002, Art. 1.

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110.    On 12 March 2004, Spain enacted Royal Decree 436/2004 (“RD 436/2004”), 65 which
        derogated from RD 2818/1998. 66 RD 436/2004 established a new “methodology for the
        updating and systematisation of the legal and economic regime” for production of
        electricity under the Special Regime. Pursuant to Article 22, producers under the Special
        Regime would have the option to: (i) sell to a distributor under a “regulated tariff”
        (“feed-in-tariff” or “FiT”) or (ii) sell on the wholesale market “through the system of
        offers and bids managed by the market operator” at a “sale price of the electricity […]
        resulting in the organised market […] or the price freely traded by the plant operator or
        representative, supplemented by an incentive and, as the case may be, by a premium
        […]” (“pool + premium”). 67 Both options were “expressed in euro cents per kilo-watt
        hour;” 68 and both were established by reference to a percentage of the annual reference or
        average electricity tariff, and therefore subject to market fluctuations. 69 In addition,
        Article 40 established that:

                “1. During 2006, […] the tariffs, premiums, incentives and supplements
                defined in this Royal Decree shall undergo revision. […]. Every four
                years, starting from 2006, a new revision shall take place.

                 2. The tariffs, premiums, incentives and supplements resulting from any of
                the revisions provided for in this section shall come into force on January
                1st of the second year subsequent to the year that the revision has been
                carried out.

                3. The tariffs, premiums, incentives and supplements resulting from any of
                the revisions provided for in this section shall apply solely to the plants
                that commence operating subsequent to the date of the entry into force
                referred to in the paragraph above and shall not have a backdated effect
                on any previous tariffs and premiums. […].” 70




65
   C-032 / R-059, Royal Decree 436/2004, 12 March 2004, published 27 March 2004 (“RD 436/2004”). RD
436/2004 was preceded by an opinion by the Spanish Council of State dated 4 March 2004. C-033, Opinion of the
Council of State 386/2004, 4 March 2004.
66
   C-032 / R-059, RD 436/2004, Sole Repeal Provision.
67
   C-032 / R-059, RD 436/2004, Art. 22(1).
68
   C-032 / R-059, RD 436/2004, Art. 22(1).
69
   C-032 / R-059, RD 436/2004, Arts. 23-24.
70
   C-032 / R-059, RD 436/2004, Art. 40.

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111.    On 26 August 2005, Spain’s Council of Ministers approved the 2005-2010 Renewable
        Energy Plan, 71 which revised the earlier 2000-2010 Renewable Energy Plan.                  The
        revision sought to “maintain[ ] the commitment to cover at least 12% of the total energy
        consumption in 2010;” and it incorporated the other two objectives for 2010, namely
        “29.4% electricity generated using renewable energies and 5.75% biofuels in
        transport.” 72

112.    In August 2005, the Ministry of Industry, Tourism and Commerce and the Institute for
        the Diversification and Saving of Energy also produced a summary of the 2005-2010
        Renewable Energy Plan. 73 That summary stated that “different technical and financial
        hypotheses [were] considered in order to determine the profitability of typical projects”
        and that “[r]eturns were calculated based on an Internal Rate of Return (IRR) measured
        in current euros for each project type of close to 7%, financed with equity (before
        external finance) and after tax.” 74

113.    On 15 December 2005, the Spanish Supreme Court ruled and rejected a challenge against
        RD 436/2004. 75 The Supreme Court held that:

                “[…] There is no legal obstacle […] to prevent the Government, in the
                exercise of the regulatory powers and of the broad entitlements it has in a
                strongly regulated issue such as electricity, from modifying a specific
                system of remuneration so long as this is done within the framework
                established by the Electricity Law. […].” 76

114.    On 23 June 2006, Spain enacted Royal Decree-Law 7/2006 (“RDL 7/2006”), 77 which
        adopted certain urgent measures for the energy sector. Article 1(12) afforded producers
        in the Special Regime “[p]riority for access to the networks for the transport and

71
   C-019 / R-052 / R-296, Plan for Renewable Energy in Spain 2005-2010, August 2005 (“2005-2010 Renewable
Energy Plan”).
72
   C-019, 2005-2010 Renewable Energy Plan, Introduction.
73
   C-034, Summary of the Spanish Renewable Energy Plan (PER) 2005-2010, Ministry of Industry, Tourism and
Commerce and Institute for the Diversification and Saving of Energy, August 2005 (“Summary 2005-2010
Renewable Energy Plan”).
74
   C-034, Summary 2005-2010 Renewable Energy Plan, § 7.2.
75
   R-147, Supreme Court, Third Chamber, Judgement, 15 December 2005; Resp. C-Mem. Merits, ¶ 191.
76
   R-147, Supreme Court, Third Chamber, Judgement, 15 December 2005, Legal Grounds, EIGHT.
77
   C-036 / R-041, Royal Decree-Law 7/2006, 23 June 2006, published 24 June 2006 (“RDL 7/2006”).

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        distribution of generated energy, always maintaining the reliability and safety of the
        networks.” 78

115.    On 25 October 2006, the Spanish Supreme Court ruled on a challenge against some
        amendments to RD 436/2004. 79 The Supreme Court held:

                 “THREE – […] Article 30 of the Electricity Law […] allows […]
                 companies to expect that the fixing of the premiums can be included as a
                 factor relevant to their obtaining ‘reasonable rates of return with
                 reference the cost of money in the capital market’ or […] ‘reasonable
                 compensation for their investments.’ However the payment regime under
                 examination does not guarantee to special regime electricity producers
                 that a certain level of profits or revenues will be unchanged relative to
                 those obtained in previous years, or that the formulas for fixing the
                 premiums will stay unchanged.” 80

116.    On 14 February 2007, the Spanish Comisión Nacional de Energía (“CNE”) issued
        Report 3/2007. That report addressed a proposed Royal Decree “for the regulation of the
        generation of electricity under the special regime and of specific facilities using
        comparable technologies under the ordinary regime.” 81 The report stated:

                 “Minimise regulatory uncertainty. The CNE understands that
                 transparency and predictability in the future of economic incentives
                 reduce regulatory uncertainty, which encourages investment in new
                 capacity and minimises the cost of financing projects, reducing the final
                 cost to the consumer. The regulation must offer sufficient guarantees to
                 ensure that the economic incentives are stable and predictable throughout
                 the life of the facility, setting in such case, both transparent annual update
                 mechanisms associated with the evolution of robust indices (such as the
                 average or reference rate, the CPI, ten-year bonds, etc.), as well as
                 periodic reviews, for example, every four years, which only affect new
                 installations, in terms of investment costs, and which may affect the
                 reduction of costs operation also to existing plants.” 82



78
   C-036, RDL 7/2006, Art. 1(12) (amending Art. 30(2) of the Electricity Law). See also, R-041, RDL 7/2006, Art.
1(12).
79
   R-057, Supreme Court, Third Chamber, Judgement, 25 October 2006, Factual Background, SECOND; Resp. C-
Mem. Merits, ¶¶ 192-194.
80
   R-057, Supreme Court, Third Chamber, Judgement, 25 October 2006, Legal Grounds, TWO and THREE.
81
   C-021 / R-298, CNE Report 3/2007 (14 February 2007) (“CNE Report 2007”); Cl. Mem. Merits, ¶ 27.
82
   C-021, CNE Report 2007, p. 16.

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        scheduling periods expressed in Euro cents per kilowatt/hour;” (“feed-in-tariff” or
        “FiT”) or (b) “[s]ell the electricity in the electrical energy production market” at “the
        price obtained in the organised market or the price freely negotiated by the proprietor or
        the representative of the facility, supplemented where appropriate by a premium, in
        Eurocents per kilowatt/hour” (“pool + premium”). 89 Producers were allowed to elect
        either option for periods of no less than one year, and could change their selected option
        with notice of at least one month. 90

120.    Article 2 of RD 661/2007 established categories of facilities, in relation to the primary
        energy used, the type of technology and the energy yield.                Category b.1.2 covered
        “[f]acilities which use thermal processes alone for the transformation of solar energy, as
        the primary energy, into electricity.”              Those facilities were permitted to employ
        equipment which used “a fuel for the maintenance of the temperature of the heat transfer
        fluid in order to compensate for a lack of solar irradiation which may affect the planned
        delivery of energy,” provided that the generation of electricity from such fuel was less
        than 12% of the total production of electricity, or up to 15% in certain circumstances. 91

121.    Article 36 of RD 661/2007 dealt with the tariffs and premiums for solar energy facilities
        in category b. With respect to category b.1.2, it provided that “[t]he tariffs and premiums
        corresponding to facilities in Category b) shall be as provided in Table 3.” Table 3
        provided the following in the relevant portion: 92




89
   C-017 / R-042, RD 661/2007, Art. 24(1).
90
   C-017 / R-042, RD 661/2007, Art. 24(4).
91
   C-017 / R-042, RD 661/2007, Art. 2(1)(b), Sub-group b.1.2.
92
   C-017, RD 661/2007, Art. 36.

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122.       According to Article 44, “[t]he values of the tariffs, premiums, supplements, and lower
           and upper limits to the hourly price of the market as defined in this Royal Decree, for
           Category b) […] shall be updated on an annual basis using as a reference the increase in
           the RPI [Consumer Price Index] less the value set out in the Additional Provision One
           […],” namely, 0.25% until 31 December 2012 and 0.50% thereafter. 93 Article 44(3)
           addressed the matter of reviews of tariffs, premiums, supplements and lower and upper
           limits in the following terms:

                   “During the year 2010, on sight of the results of the monitoring reports on
                   the degree of fulfilment of the Renewable Energies Plan (PER) 2005-2010,
                   and of the Energy Efficiency and Savings Strategy in Spain (E4), together
                   with such new targets as may be included in the subsequent Renewable
                   Energies Plan 2011-2020, there shall be a review of the tariffs, premiums,
                   supplements and lower and upper limits defined in this Royal Decree with
                   regard to the costs associated with each of these technologies, the degree
                   of participation of the special regime in covering the demand and its
                   impact upon the technical and economic management of the system, and a
                   reasonable rate of profitability shall always be guaranteed with reference
                   to the cost of money in the capital markets. Subsequently a further review
                   shall be performed every four years, maintaining the same criteria as
                   previously.

                   The revisions to the regulated tariff and the upper and lower limits
                   indicated in this paragraph shall not affect facilities for which the deed of
                   commissioning shall have been granted prior to 1 January of the second



93
     C-017 / R-042, RD 661/2007, Art. 44 and Additional Provision One.

                                                        34
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                 year following the year in which the revision shall have been
                 performed.” 94

123.    For the CSP sector, the economic regime set out in RD 661/2007 would accrue to the first
        500 MW of installed capacity. 95

124.    Facilities for the production of energy under the Special Regime were subject to
        “compulsory registration” in the RAIPRE. 96 Moreover, “the final registration of the
        facility in the [RAIPRE]” was a “necessary requirement for the application of the
        economic regime regulated under [RD 661/2007] to such facility, with effect from the
        first day of the month following the date of the final deed of entry into service of the
        facility.” 97

125.    In addition to the economic regime, RD 661/2007 afforded producers under the Special
        Regime the rights to “enjoy priority in access and connection to the electricity grid”
        under certain conditions set forth in Annex XI of RD 661/2007 or in subsequent
        regulations; and the right to sell their electricity output via distribution companies, or to
        “sell all or part of their net production by way of direct lines.” 98

126.    On 3 and 9 December 2009, the Spanish Supreme Court ruled and rejected various claims
        brought by renewable energy producers against certain provisions of RD 661/2007.99
        Among others, the petitioners had argued that the first transitory provision of RD
        661/2007 was in breach of Article 40(3) of RD 436/2004. 100

                 b. RDL 6/2009

127.    On 23 April 2009, the European Parliament and Council adopted Directive 2009/28/EC
        on the promotion of the use of energy from renewable sources (“2009 Renewable


94
   C-017 / R-042, RD 661/2007, Art. 44(3).
95
   C-017 / R-042, RD 661/2007, Art. 37. See also, Art. 17(c) and 22.
96
   C-017 / R-042, RD 661/2007, Art. 9.
97
   C-017 / R-042, RD 661/2007, Art. 14.
98
   C-017 / R-042, RD 661/2007, Art. 17 (b), (d) and (e); Annex XI.
99
    R-064, Supreme Court, Third Chamber, Judgement, 3 December 2009, Factual Background, FIRST; R-002,
Supreme Court, Third Chamber, Judgement, 9 December 2009, Factual Background, FIRST.
100
    R-064, Supreme Court, Third Chamber, Judgement, 3 December 2009, Legal Grounds, FOURTH.

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        Energy Directive”). 101 This new directive set a “target of at least a 20 % share of
        energy from renewable sources in the Community’s gross final consumption of energy in
        2020.” 102

128.    Shortly thereafter, on 30 April 2009, Spain adopted Royal Decree-Law 6/2009 (“RDL
        6/2009”). 103 The Preamble of RDL 6/2009 observed that the growing tariff deficit in
        Spain, that is, “the difference between collections based on the regulated rates set by the
        Administration and paid by consumers for their regulated supplies and access rates set
        on the deregulated market and the actual costs associated with those rates” was affecting
        the electricity system, putting at risk both “the financial situation of companies in the
        electricity sector” and the “sustainability of the system.” 104

129.    Referring to the growing impact of the Special Regime on the tariff deficit, one of RDL
        6/2009’s stated objectives was the introduction of measures to control the cost of that
        Special Regime and thereby the tariff deficit. 105 Expressing concern for the financial
        viability of facilities already finalized, RDL 6/2009 also indicated that it was “necessary
        to adopt a measure of urgency to guarantee the necessary legal security for those who
        ha[d] made investments.” 106

130.    RDL 6/2009 put in place a Mechanism of Registration of Pre-assignment of Payment for
        the Special Regime Installations (“Mecanismo de Registro de Pre-asignación de
        Retribución para las Instalaciones del Régimen Especial”) (“Pre-Assignment
        Registry”). 107    Article 4(2) of RDL 6/2009 provided that enrolment in the Pre-
        Assignment Registry was a “necessary condition to obtain the right to the economic
        scheme established in [RD 661/2007] […].” 108 Article 4(3) established a number of


101
    R-009, Directive 2009/28/EC of the European Parliament and Council, 23 April 2009 (published 5 June 2009)
(“2009 Renewable Energy Directive”).
102
    R-009, 2009 Renewable Energy Directive, Art. 3(1).
103
    C-044 / R-085, Royal Decree-Law 6/2009, 30 April 2009 (published 7 May 2009) (“RDL 6/2009”).
104
    C-044 / R-085, RDL 6/2009, Preamble, at p. 39404.
105
    C-044 / R-085, RDL 6/2009, Preamble, at p. 39405.
106
    C-044 / R-085, RDL 6/2009, Preamble, at p. 39405.
107
    R-085, RDL 6/2009, Art. 4.
108
    R-085, RDL 6/2009, Art. 4(2).

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        detailed requirements for registration in the Pre-Assignment Registry. 109 In turn, Article
        4(8) provided that facilities registered in the Pre-Assignment Registry had a deadline of
        36 months to be definitely registered in the RAIPRE, absent which “their economic right
        associated with inclusion in the [Pre-Assignment Registry] shall be revoked.” 110

131.    Pursuant to the 4th transitory provision of RDL 6/2009, installations had a deadline of 30
        days from entry into force of the RDL to submit their application for entry into the Pre-
        Assignment Registry (i.e. until 6 June 2009). 111 In turn, the 5th transitory provision
        established that if the capacity of the projects registered in the Pre-Assignment Registry
        exceeded the objectives set in RD 661/2007:

                “[…] the economic system established in […] Royal Decree 661/2007 […]
                will be applicable and will be exhausted through those registered
                installations. In this case, by means of a resolution from the Council of
                Ministers at the initiative of the Ministry of Industry, Tourism and
                Commerce, annual restrictions may be established on the commissioning
                and start-up of the registered facilities and their prioritization, to avoid
                compromising the technical and economic sustainability of the system,
                appropriately extending the maximum term established in Article 4.8 of
                this Royal Decree-Law, if applicable. […].” 112

132.    On 13 November 2009, the Spanish Council of Ministers entered into an Agreement to
        “establish [ ] the order of priority of the projects or plants presented to the administrative
        registry for pre-allocation of payment for the installations for the production of electrical
        energy, as established in [RDL 6/2009] […].” (“Agreement of the Council of
        Ministers”). 113 At the time, there had been 104 applications to the Pre-Assignment
        Registry for the CSP sector, for a total power capacity of 4,499 MW; which together with
        the capacity already installed exceeded the power targets of RD 661/2007. 114



109
    C-044 / R-085, RDL 6/2009, Art. 4(3).
110
    R-085, RDL 6/2009, Art. 4(8).
111
    C-044, RDL 6/2009, 4th Transitory Provision.
112
    C-044, RDL 6/2009, 5th Transitory Provision.
113
    C-007, Agreement of the Council of Ministers of 13 November 2009 (incorporated through a Resolution of the
Secretary of Energy dated 19 November 2009, and published in the Official State Bulletin on 24 November 2009)
(“Agreement of the Council of Ministers”).
114
    C-007, Agreement of the Council of Ministers, § III, at p. 99849.

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133.    According to the Agreement of the Council of Ministers, projects and facilities that had
        applied to the Pre-Assignment Registry were organized starting with those whose
        application and registration had occurred within the deadline established in RDL 6/2009,
        and in chronological order according to the date of their registration. 115                   The
        commissioning of the facilities was staggered in various phases, which were as follows
        for CSP: phase 1 (up to 850 MW); phase 2 (up to 1,350 MW); phase 3 (up to 1,850 MW)
        and phase 4 (rest of the power registered in the Pre-Assigned Registry). 116 Annual
        restrictions were established with regard to the start-up and entry into operation of the
        facilities registered in the Pre-Assignment Registry, such that facilities could not begin
        delivering energy via the distribution or transportation network before certain dates, as
        follows: 1 January 2011 (for phase 2), 1 January 2012 (for phase 3) and 1 January 2013
        (for phase 4). 117     In addition, such facilities were required to obtain permanent
        registration in the RAIPRE and to commence selling energy prior to the following dates:
        1 January 2013 (for phases 2 and 3), and 1 January 2014 (for phase 4). 118

                c. RD 1614/2010

134.    On 19 November 2010, Spain adopted Royal Decree 1565/2010 “regulating and
        modifying certain aspects in relation to the activity of electricity production under the
        special regime.” 119

135.    A few weeks later, on 7 December 2010, Spain enacted Royal Decree 1614/2010 (“RD
        1614/2010”), which “regulates and amends given aspects relative to the production of
        electric energy from solar thermal electric and wind power.” 120               Article 4 of RD
        1614/2010 provided that:

                “For solar thermal electric technology facilities falling within [RD
                661/2007] revisions of tariffs, premiums and upper and lower limits,
                referred to in Article 44.3 of [RD 661/2007], shall not affect those

115
    C-007, Agreement of the Council of Ministers, § VI(1) at p. 99853.
116
    C-007, Agreement of the Council of Ministers, § VI(2), at p. 99853.
117
    C-007, Agreement of the Council of Ministers, § VI(4), at p. 99853.
118
    C-007, Agreement of the Council of Ministers, § VI(4), at p. 99854.
119
    R-065, Royal Decree 1565/2010, 19 November 2010 (published 23 November 2010).
120
    C-016 / R-068, Royal Decree 1614/2010, 7 December 2010 (published 8 December 2010) (“RD 1614/2010”).

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                facilities definitively registered in the [RAIPRE as] of 7 May 2009, or
                those that shall have been registered in the [Pre-Assignment Registry]
                under the fourth transitional provision of [RDL 6/2009], and shall have
                fulfilled the obligation envisaged in Article 4.8 thereof, extended until 31
                December 2013 for those facilities associated with phase 4 envisaged in
                the Agreement of the Council of Ministers of 13 November 2009.” 121

136.    Article 2 of RD 1614/2010 reduced the allowed operating hours of plants qualifying for
        the Special Regime. For CSP plants of 9-hour storage, those hours were set at 4,000 a
        year. 122 Article 2(3) went on to provide that:

                “[…] The equivalent hours of reference envisaged in the preceding table
                shall not be revisable during their operating life for those facilities
                registered definitively in the [RAIPRE as] of 7 May 2009 and for those
                registered in the [Pre-Assignment Registry] under the aegis of the fourth
                transitional provision of [RDL 6/2009], and which fulfil the obligation
                envisaged in Article 4.8 thereof, extended until 31 December 2013 for
                those facilities associated with phase 4 envisaged in the [Agreement] of
                the Council of Ministers of 13 November 2009 […].” 123

137.    In turn, Article 3 required projects to opt for the regulated “feed-in-tariff” option for the
        first twelve months of operation. 124

138.    RD 1614/2010 also allowed, under certain conditions, Special Regime facilities
        registered in the Pre-Assignment Registry classified under phases 2 to 4, to begin
        discharging energy to the grid on a trial basis 9 months before the 1 January applicable to
        their respective phases. 125 In this case, the decree also established that the “calculation of
        the period during which the facility shall have the right to a premium or equivalent
        premium, shall take place as of the starting date of the collection of the premium or
        equivalent premium, as appropriate.” 126 RD 1614/2010 further provided that facilities
        registered in the Pre-Assignment Registry that had decided not to move forward with the


121
    C-016, RD 1614/2010, Art. 4.
122
    C-016, RD 1614/2010, Art. 2(3). Claimants contend that the Termosol Plants were the only plants in the 9h
category. Cl. Mem. Merits, ¶ 161, n. 186.
123
    C-016, RD 1614/2010, Art. 2(3).
124
    C-016, RD 1614/2010, Art. 3.
125
    C-016 / R-068, RD 1614/2010, Transitory Provision 1.
126
    C-016, RD 1614/2010, Transitory Provision 1.

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        Renewable Energy Directive] and, pursuant to the stipulations of [RD] 661/2007, […]
        and of Law 2/2011 […].”136

142.    On 19 December 2011, S.E. Mariano Rajoy gave an inaugural address to Congress as re-
        elected Prime Minister. Referring to an accumulated tariff deficit of EUR 22,000 million,
        and observing that “[e]lectricity tariffs for domestic consumers are the third most
        expensive in Europe, and the fifth highest for industrial consumers,” Prime Minister
        Rajoy stated that:

                “[…] If reforms are not made, the imbalances will be unsustainable, and
                increases in prices and tariffs will place Spain at the greatest
                disadvantage in terms of energy costs in the entire developed world. We
                must therefore introduce policies based on putting a brake on and
                reducing the average costs of the system, take decisions without
                demagoguery, employ all the technologies available, without exception,
                and regulate with the competitiveness of our economy as our prime
                objective.” 137

143.    On 28 December 2011, the CNE issued a press release concerning “the review of grid
        access fees and certain tariffs and premiums for facilities operating under the special
        regime.” 138 The CNE referred to:

                “[…] the need to immediately implement, amongst other measures,
                proposals for the regulation of activities, aimed at getting rid of the
                system’s structural deficit and mitigating debt financing costs.
                Notwithstanding, to attain sufficiency it would be necessary to make
                larger scale additional adjustments to the costs of the activities regulated
                and to the tolling paid by consumers. An analysis could also be carried
                out of the introduction of measures to finance the costs of activities
                regulated externally to the access tolling.” 139




136
    C-075, 2011-2020 Renewable Energy Plan, at p. 5 (cover page).
137
    R-094, S.E. Mariano Rajoy Speech to Congress during his Inauguration as President of the Government, 19
December 2011, p. 11.
138
     R-095, CNE, Press Release, “The CNE Analyses the Review of Grid Access Fees and Certain Tariffs and
Premiums for Facilities Operating under the Special Regime,” 28 December 2011.
139
    Id.

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149.    First, it amended Article 30 of the Electricity Law, to provide that production based on
        natural gas would now only receive the pool price. 145

150.    Second, it created and regulated a Tax on the Value of the Production of Electrical
        Energy (“TVPEE”). 146 It imposed a 7% rate on “the total amount that the taxpayer
        receives for the electric power production and its incorporation into the electricity
        system, measured at the power station busbars, for each installation, during the tax
        period.” 147

                b. RDL 2/2013

151.    On 1 February 2013, Spain enacted Royal Decree-Law 2/2013 (“RDL 2/2013”), adopting
        “urgent measures in the electricity system and in the financial sector.” 148 RDL 2/2013,
        adopted the following measures:

152.    First, it amended the inflation index applicable under the Special Regime, from the
        Consumer Price Index to the “Consumer Price Index at constant rates without
        unprocessed food or energy products.” 149

153.    Second, it amended Article 36 of RD 661/2007 (Table 3), such that the reference
        premium for renewable energy under the Special Regime was set at zero (0). 150

154.    Third, Article 3 provided that Special Regime facilities that as of the effective date of
        RDL 2/2013 (i.e. 2 February 2013) 151 had opted for the pool + premium option under
        Article 24(1)(b) of RD 661/2007 could not subsequently change that option. 152 Further,
        (i) Special Regime facilities which between 1 January to 2 February 2013 had sold
        energy under the pool + premium option of Article 24(1)(b) of RD 661/2007 would “be
        paid the premium by the National Energy Commission, taking into consideration the

145
    C-091, Law 15/2012, First Final Provision.
146
    C-091 / R-024, Law 15/2012, Arts. 1-11.
147
    C-091, Law 15/2012, Arts. 6(1) and 8.
148
    C-092 / R-125, Royal Decree-Law 2/2013, 1 February 2013 (published 2 February 2013) (“RDL 2/2013”).
149
    C-092, RDL 2/2013, Art. 1.
150
    C-092, RDL 2/2013, Art. 2(2).
151
    C-092, RDL 2/2013, Final Provision.
152
    C-092, RDL 2/2013, Art. 3.

                                                     43
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        the basis of the net investment costs of a “standard” reference plant, also referred to as an
        “installation type” (“instalación tipo”) (“Investment Payment”). 158 The remuneration
        would be calculated on the basis of standard income for the sale of electricity, standard
        exploitation costs and a standard value of the initial investment. 159 RDL 9/2013 also
        provided that the parameters of the regime could be revised every six years. 160

159.    According to RDL 9/2013, the “reasonable profitability” for facilities that as of the
        effective date of RDL 9/2013 “had a right to a premium economic regimen […] shall,
        before taxes, be in function of the mean yield on State Bonds on the secondary market for
        the ten years preceding the effective date of this royal decree-law plus 300 basis points”
        and “without prejudice to the revision provided in the last paragraph of” Article 30(4) of
        Law 54/1997. 161

160.    RDL 9/2013 entered into effect on 14 July 2013. 162 At that time, however, neither the
        standard reference plant categories, nor the values of the Investment Payment and the
        Operating Payment for each category had been determined. As a result, the feed-in-tariff
        regime of RD 661/2007 (but not the pool + premium option already abolished by RDL
        2/2013) continued operating until June 2014, when further regulatory measures (RD
        413/2014 and Ministerial Order IET 1045/2014, discussed further below) were published.
        The payments received during this transitional period were made, however, as a
        “payment on account” of the payments that would be received under the new regime. 163

161.    On 17 December 2015 and 18 February 2016, the Spanish Constitutional Court dismissed
        constitutional challenges against certain provisions of RDL 9/2013. 164




158
    C-093, RDL 9/2013, Art. 1 (Two) (amending Art. 30(4) of the Electricity Law); Cl. Mem. Merits, ¶ 190.
159
    C-093, RDL 9/2013, Art. 1 (Two).
160
    C-093, RDL 9/2013, Art. 1 (Two).
161
    C-093, RDL 9/2013, First Additional Provision.
162
    C-093 / R-113, RDL 9/2013, Tenth Final Provision.
163
    C-093 / R-113, RDL 9/2013, Third Transitory Provision.
164
    R-056, Constitutional Court, Judgement, 17 December 2015; R-072, Constitutional Court, Judgement, 18
February 2016; R-075, Constitutional Court, Judgement, 18 February 2016.

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               b. Law 24/2013

162.    On 12 September 2013, the Spanish Council of State issued an opinion (Dictamen) on the
        draft of a new Electricity Law. 165

163.    On 26 December 2013, Spain adopted Law 24/2013 on the Electricity Sector, which
        eliminated the distinction between the Ordinary and the Special Regimes. 166              It re-
        affirmed and developed the regime set forth in RDL 9/2013.

164.    Article 14(4) provided that the “payment parameters” for renewable energy projects
        under the new regime were set for regulatory periods of six-years, which could be revised
        before the start of the next regulatory period. It set forth certain guidelines for the
        “modification of the payment parameters” applicable to renewable energy facilities,
        including that (i) in each regulatory period revision “modifications may be made to all
        payment parameters;” and between those periods “the value on which reasonable
        profitability will depend” can also be modified; (ii) once established, “the regulatory
        useful life or the standard value of the initial investment of a facility” cannot be modified;
        (iii) estimates of income for the sale of energy will be revised every three years, and the
        payment parameters adjusted in response to market price fluctuation vis-à-vis the prior
        three year estimate; and (iv) annual revisions of payment values for technologies whose
        operating costs depended on fuel prices. 167

165.    Article 14(7) of Law 24/2013 provided for the creation of a specific remuneration regime
        under which remuneration would be calculated on the basis of standard income from the
        energy produced, standard operating costs and a standard initial investment figure, and
        will provide a reasonable return for the installation type in each applicable case. 168

166.    In addition, Article 19 of Law 24/2013 established that “deviations occurring between
        electricity system income and costs” that are “not offset positively via the access tariffs


165
    R-144, Council of State, Opinion 937/2013, 12 September 2013.
166
    C-097 / R-037, Law 24/2013, 26 December 2013 (published 27 December 2013) (“Law 24/2013”); Resp. C-
Mem. Merits, ¶ 128.
167
    C-097, Law 24/2013, Art. 14(4).
168
    C-097, Law 24/2013, Art. 14(7).

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171.    On 16 December 2009, each of the PTEs and Sener Ingeniería y Sistemas S.A. (“Sener”)
        signed Engineering, Procurement Support and Construction Support Services
        Agreements. 178

172.    On 22 December 2009, each PTE and PTE2 filed an application with the Directorate
        General for Energy Policy and Mines to delay their construction deadlines for Termosol 1
        and Termosol 2, and instead be moved to Phase 4 of the Agreement of the Council of
        Ministers. 179

173.    On 18 February 2010, the Directorate General for Energy Policy and Mines issued two
        resolutions approving the application to move the Termosol Plants to Phase 4 of the
        Agreement of the Council of Ministers. 180 As a result, the Termosol Plants were then
        required to obtain permanent registration in the RAIPRE by 31 December 2013 (supra,
        ¶¶ 133, 135-136).

174.    On 2 December 2010, PTE and PTE2 sent deeds waiving the date of entry into operation
        of Termosol 1 (1 January 2013) and Termosol 2 (15 March 2013) which had been set by
        virtue of the change to Phase 4 approved in the Resolution of the Directorate General for
        Energy Policy and Mines of 18 February 2010. 181 Both deeds asked the Directorate



177
    C-049, Resolution of the Directorate General for Energy Policy and Mines for Inscription in the Pre-Assignment
Registry of Termosol 1 owned by PTE, 11 December 2009 (“Pre-Assignment Registration Notice Termosol 1”);
and C-050, Resolution of the Directorate General for Energy Policy and Mines for Inscription in the Pre-Assignment
Registry of Termosol 2 owned by PTE2, 11 December 2009 (“Pre-Assignment Registration Notice Termosol 2”).
178
    C-051, Engineering, Procurement Support and Construction Support Services Agreement between PTE and
Sener Ingeniería y Sistemas, S.A., 16 December 2009; C-052, Engineering, Procurement Support and Construction
Support Services Agreement between PTE2 and Sener Ingeniería y Sistemas, S.A., 16 December 2009.
179
    C-053, Application for Change in Phase filed by Mike O’Sullivan (NextEra Energy Resources, LLC) on behalf
of PTE, 22 December 2009; C-054, Application for Change in Phase filed by Mike O’Sullivan (NextEra Energy
Resources, LLC) on behalf of PTE2, 22 December 2009.
180
    C-055, Resolution of the Directorate General for Energy Policy and Mines for Termosol 1, 18 February 2010; C-
056, Resolution of the Directorate General for Energy Policy and Mines for Termosol 2, 18 February 2010.
181
    C-070, Deed of Renunciation Regarding the Entry into Operation on a Particular Date, within the Phase Assigned
to the Installation “Termosol 1” by a Resolution from the Directorate General of Energy Policy and Mines dated 15
February 2010, and Request for a Resolution Communicating the Conditions for Remuneration during the
Operational Life of the Installation, 2 December 2009 (“Deed of Renunciation PTE”); C-071, Deed of
Renunciation Regarding the Entry into Operation on a Particular Date, within the Phase Assigned to the Installation
“Termosol 2” by a Resolution from the Directorate General of Energy Policy and Mines dated 15 February 2010,
and Request for a Resolution Communicating the Conditions for Remuneration during the Operational Life of the
Installation, 2 December 2009 (“Deed of Renunciation PTE2”).

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        General to “communicate the remunerative conditions for the operative life of the
        installation.”182

175.    On 28 December 2010, the Directorate General of Energy Policy and Mines of the
        Ministry of Industry, Tourism and Commerce issued documents for each of the Termosol
        Plants. 183 Among others, the Directorate General stated: 184

                 “Two. It communicates that, at the present time, by virtue of the
                 provisions of paragraph 1 of the fifth transitional provision of [RDL
                 6/2009] the remuneration applicable to the facility consists of the tariffs,
                 premiums, upper and lower limits and complementary provisions
                 established in Royal Decree 661/2007, of 25 May, updated annually by
                 Order of the Ministry of Industry, Tourism and Commerce, and the values
                 in force as from 1 January 2011 are as follows:




176.    On 28 April 2011, PTE and PTE2 entered into the loan agreements with a bank syndicate
        of Spanish and international lenders for a credit facility up to EUR 589,200,000 to
        finance construction of the Termosol Plants. 185

177.    According to Claimants, construction of the Termosol 1 and 2 Plants proceeded in 2011-
        2012 without material issues. 186




182
    C-070, Deed of Renunciation PTE, Third; C-071, Deed of Renunciation PTE2, Third.
183
    C-009, Resolution of the Directorate General for Energy Policy and Mines of the Ministry of Industry, Tourism
and Commerce for Termosol 1, 28 December 2010 (“2010 Resolution Termosol 1”); C-010, Resolution of the
Directorate General for Energy Policy and Mines of the Ministry of Industry, Tourism and Commerce for Termosol
2, 28 December 2010 (“2010 Resolution Termosol 2”)
184
    C-009, 2010 Resolution Termosol 1; C-010, 2010 Resolution Termosol 2. Respondent disputes certain aspects
of the translation provided by Claimants. See, Resp. C-Mem. Merits, n. 233.
185
    C-074, Credit Agreement between PTE and PTE2 (Borrowers) and Lenders, 28 April 2011.
186
    Cl. Mem. Merits, ¶ 170.

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                     (5) Ordering the Respondent to pay pre-award interest, where applicable,
                    as well as ordering post-award interest on the all [sic] sums awarded to
                    the Claimants at the rate of 7.62%, EURIBOR +3.5%, or such other rate
                    as the Tribunal deems appropriate, from the date of the Award until the
                    date of full payment;

                     (6) Ordering the Respondent to pay the Claimants the full costs of this
                    arbitration, including, without limitation, arbitrators’ fees, the ICSID
                    administrative costs, attorneys’ fees, expert fees, and all other costs
                    associated with these proceedings, together with interest on all sums so
                    awarded; and

                     (7) Ordering any such other relief as the Tribunal may deem
                    appropriate.” 191

181.       In their Reply on the Merits, Claimants updated their request for relief, asking the
           Tribunal to:

                    “[…] [R]ender an Award:

                    (1) Dismissing the Respondent’s Preliminary Objections;

                    (2) Dismissing the Respondent’s defences to liability and declaring that
                    the Respondent has breached its obligations under Art. 10 of the ECT;

                    (3) Ordering the Respondent to pay the Claimants, in full reparation,
                    damages in an amount to be determined by the Tribunal, based on the but
                    for scenario or alternative but-for scenarios presented in the Second
                    Expert Report of Compass Lexecon dated 9 August 2016;

                    (4) Ordering the Respondent to pay post-award interest on the above sums
                    to the Claimants at an appropriate commercial rate, 6.84%, or
                    alternatively, EURIBOR + 3.5%;

                    (5) Ordering the Respondent to pay the Claimants the full costs of this
                    arbitration, including, without limitations, arbitrator’s fees,
                    administrative costs of the Centre, counsel fees, expert fees, and all other
                    costs associated with these proceedings, together with post-award interest
                    on all such sums so awarded at the rates specified in sub-paragraph (4)
                    above; and


191
      Cl. Mem. Merits, ¶ 314.

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                 (6) Ordering any such other relief as the Tribunal deems appropriate.” 192

182.    As to jurisdiction, Claimants have asked the Tribunal to:

                 “[…] [D]eny each of Spain’s preliminary objections; uphold its
                 jurisdiction over the Claimants’ claims; and render the relief requested in
                 Part VII of the Claimants’ Memorial and Part IX of the Reply
                 Memorial.” 193

183.    Respondent, in turn, has asked the Tribunal:

                 “[…] [T]o render an Award:

                 a) Declaring that the Tribunal lacks jurisdiction over the claims of the
                 Claimant or, where applicable, their inadmissibility, pursuant to the
                 provisions of the Statement of Objections to Jurisdiction of the Kingdom of
                 Spain dated 9 September 2015;

                 b) Additionally, should the Arbitral Tribunal decide that it has jurisdiction
                 to hear this dispute, dismissing all of the intentions [sic] of the Claimant
                 insofar as the merits, as the Kingdom of Spain has in no way been in
                 breach of the ECT, as indicated in Section III of this Memorial, referring
                 to the Merits;

                 c) Additionally, dismissing all of the claims regarding reparation of
                 damages of the Claimant, as it is not entitled to compensation, pursuant to
                 the provisions of Section IV of this Writ; and

                 d) Ordering the Claimant to pay all costs and expenses arising from this
                 arbitration, including the ISCID [sic] administrative expenses, the
                 arbitrators' fees and the attorneys' fees of the Kingdom of Spain, its
                 experts and advisers, as well as any other cost or expenses incurred,
                 including a reasonable rate of interest as of the date on which said costs
                 were incurred to the date of their effective payment.” 194

184.    As to jurisdiction, Respondent asks that the Tribunal:




192
    Cl. Reply Merits, ¶ 606.
193
    Cl. C-Mem. Jur., ¶ 92; Cl. Rej. Jur., ¶ 160 (adding also a request that the Tribunal “reject the observations
submitted by the Commission”).
194
    Resp. C-Mem. Merits, ¶ 901. See also, Resp. Rej. Merits, ¶ 1240.

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        was explicitly adjusted later in the Reply on Jurisdiction. 197 In the sequence presented in
        the Reply on Jurisdiction, the objections are:

        "       First, that the Tribunal lacks jurisdiction ratione materiae and ratione personae,
                because Claimants do not own or control directly or indirectly the claimed
                investments in this case, and therefore there is no “Investment” for purposes of
                Article 1(6) of the ECT; nor are Claimants “Investors” under the definition in
                Article 1(7) of the ECT, and in consequence, there is no “Investment” under the
                ECT either. 198

        "       Second, that the Tribunal lacks jurisdiction ratione voluntatis, because pursuant to
                Article 17 of the ECT, in the Memorial on Jurisdiction Respondent denied the
                application of Part III of the ECT to Claimants. 199

        "       Third, that the Tribunal lacks jurisdiction ratione personae because Claimants are
                not protected investors under the ECT, as the ECT is not applicable to disputes
                between a European Union (“EU”) Member State, and nationals of another EU
                Member State (“intra-EU” disputes). 200

        "       Fourth, that the Tribunal lacks jurisdiction ratione voluntatis to hear Claimants’
                claim for breach of Article 10(1) of the ECT regarding a tax measure established in
                Law 15/2012, i.e., the TVPEE, because pursuant to Article 21 of the ECT, Article
                10(1) does not apply to taxation measures. 201 This is a partial objection. 202

        "       Fifth, that the Tribunal lacks jurisdiction to hear Claimants’ claims for breach of
                Article 10(7) of the ECT regarding the TVPEE, because (i) pursuant to Article
                21(3) of the ECT, Article 10(7) does not apply to this measure; and (ii) in any
                event, Article 10(7) cannot apply to impose most-favored-nation obligations.203
                This is a partial objection. 204


197
    Resp. Reply Jur., ¶ 4.
198
    Resp. Mem. Jur., § III(C), ¶¶ 15, 141-170; Resp. Reply Jur., § IV(A). The contention that Claimants did not own
the claimed investments was initially made in the Memorial on Jurisdiction, but it was later withdrawn in the Reply
on Jurisdiction. Resp. Reply Jur., ¶ 55.
199
    Resp. Mem. Jur., § III(B), ¶¶ 14, 84-140; Resp. Reply Jur., § IV(B).
200
    Resp. Mem. Jur., § III(A), ¶¶ 13, 26-83; Resp. Reply Jur., § IV(C).
201
    Resp. Mem. Jur., § III(D), ¶¶ 16, 171-209; Resp. Reply Jur., § IV(D). The objection initially also encompassed
claims arising out of the amendment to the Tax on Hydrocarbons, but it was later circumscribed to the claim arising
out of the TVPEE, on the basis that the Tax on Hydrocarbons was not one of measures challenged by Claimants.
Resp. Reply Jur., n. 124, ¶ 358.
202
    Resp. Mem. Jur., ¶ 20.
203
    Resp. Mem. Jur., § III(E), ¶¶ 17, 210-221; Resp. Reply Jur., § IV(E). Respondent had also initially included a
sixth objection: that the Tribunal lacked jurisdiction ratione voluntatis with respect to the disputes concerning Law
24/2013, RD 413/2014, and Ministerial Order IET/1045/2014, due to Claimants’ failure to comply with the notice
and cooling off period requirements in Article 26 of the ECT; or in the alternative, that these claims were
inadmissible. Resp. Mem. Jur., § III(F), ¶¶ 18, 222-237. While an introductory paragraph of the Memorial appeared

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        order to achieve an end.” 219           Claimants do not meet this ordinary meaning, Spain
        contends, because they have no workers, material or technical resources, and are pure
        holding companies. 220

195.    Respondent also observes that, pursuant to Article 1(7) of the ECT, Claimants must be a
        company or organization in accordance with the law applicable in the country where they
        are established, i.e. the Netherlands. In the Netherlands, EU Law is applicable and
        prevails over internal law, 221 or must be considered part of the national law. 222 Referring
        to EU notions in the fields of small and medium size enterprises, tax law, competition
        law, state aid law and jurisprudence of the Court of Justice of the European Union
        (“CJEU”) Respondent ultimately contends: “for an entity to be a company under EU
        Law, there must be an organisation whose purpose is to provide services or produce
        goods on the market. And an entity that simply has shares or stakes in other companies is
        not a company. EU Law does not accept that shell companies are undertakings.”223
        Accordingly, Spain argues, Claimants are not a company or other organization
        established under the applicable law. 224

196.    Spain further maintains that the ECT distinguishes between the notions of “company” or
        “organization,” and those of “legal entity” or “enterprise,” 225 noting that: (i) Article 17 of
        the ECT uses only the expression “legal entity;” and (ii) Article 26(7) of the ECT is
        drafted as it is to avoid the use of the expression “legal person” in Article 25(2)(b) of the
        ICSID Convention. 226




219
    Resp. Reply Jur., ¶ 70.
220
    Resp. Reply Jur., ¶ 73.
221
    Resp. Reply Jur., ¶¶ 74, 76.
222
    Resp. Reply Jur., ¶ 78.
223
    Resp. Reply Jur., ¶ 87.
224
    Resp. Reply Jur., ¶ 87. See also, Resp. Mem. Jur., ¶ 150 (arguing that Claimants do not comply with the
structure for developing a business activity demanded by EU Law, which is applicable international and domestic
law). In the context of this objection, Respondent expressly relies on the arguments concerning lack of business
activity developed in the context of the denial of benefits objection, and summarized infra at ¶¶ 219 et seq. Resp.
Reply Jur., ¶¶ 13-14.
225
    Resp. Reply Jur., ¶ 88.
226
    Resp. Reply Jur., ¶¶ 89, 91-94.

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        1(7) of the ECT, then they cannot have an “Investment” within the meaning of Article
        1(6) of the ECT. 248 In the light of the conclusion below relating to Article 1(7) of the
        ECT on the meaning of “Investor,” this argument fails.

206.    Thus, the Tribunal rejects Respondent’s objection that the condition of Article 1(6) of the
        ECT has not been met.

                b. Lack of an “Investor” under Article 1(7) of the ECT

207.    Article 1(7) defines an “Investor” of a Contracting Party to include: “a company or other
        organization organized in accordance with the law applicable within that Contracting
        Party.” 249

208.    It is not disputed that Claimants, NextEra Global and NextEra Spain are incorporated in
        accordance with the law of the Netherlands. Respondent argues, nonetheless, that the
        words “company” and “organization” in Article 1(7) have a meaning different from legal
        entity. According to Spain, a company must be understood in economic terms and this
        means it must be engaged in economic activity itself and not just be a shell company.
        Thus, pure holding companies do not meet the requirements of Article 1(7). Respondent
        refers to EU Law and the law of the Netherlands in support of its position on the
        particular meaning of “company” and “organization.”

209.    However, cases involving Article 1(7) of the ECT have been fairly consistent in
        interpreting that provision on the basis of the ordinary meaning of the words, and treating
        as decisive the fact that the company is organized within the territory of a Contracting
        Party. This was the view adopted in Yukos 250 and in Charanne. 251 The same view was
        reiterated in Saluka 252 in respect of a similar provision in the Netherlands-Czech
        Republic BIT.


248
    Resp. Reply Jur., ¶¶ 103-104; Tr. Day 1 (ENG), 182:5 ff (Ms. Rivas).
249
    CL-001 / RL-055, ECT, Art. 1(7).
250
    CL-114, Yukos, ¶ 411 (on the basis of an opinion by James Crawford).
251
    RL-088, Charanne BV and Construction Investment S.A.R.L. v. Kingdom of Spain, SCC Case No. 062/2012,
Final Award (21 January 2016) (hereinafter “Charanne”), ¶ 414.
252
    RL-098, Saluka Investments B.V. v. the Czech Republic, UNCITRAL, Partial Award (17 March 2006)
(hereinafter “Saluka”), ¶ 241.

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        Global (Claimant 1) administers NextEra Spain (Claimant 2). 264 It follows, Spain says,
        that NextEra Energy Inc. is not only the owner, but also the controller of both
        Claimants. 265 This is underscored by the fact that it was the President of NextEra Energy
        Inc., Mr. F. Mitchell Davidson, who handled all communications on behalf of the
        NextEra Group with the Spanish Government during the investment process. 266

217.    This said, in Spain’s view, it is incorrect to assert that the requirements of ownership and
        control by nationals of a third State in Article 17 of the ECT are cumulative. 267 It is
        sufficient that one of them is satisfied. 268 Moreover, Respondent argues, when referring
        to “citizens or nationals of a third state,” Article 17 is looking for the “natural persons”
        who own or control the legal person, for the ultimate or beneficial owner. 269 And in this
        case, Spain argues, the “citizens or nationals” who own and control Claimants are in the
        United States. 270

218.    As to the notion of “control” in Article 17 of the ECT, Spain argues that it must be
        interpreted in accordance with Understanding 3 relating to Article 1(6) of the ECT.
        Pursuant to that Understanding, “control of an Investment means control in fact,
        determined after an examination of the actual circumstances in each situation.” 271 Spain
        also maintains that the burden of proof to establish control is on Claimants; 272 and argues
        that it is incorrect to simply attribute control of NextEra Spain to NextEra Global, and
        control of NextEra Global to NextEra Energy Global Holdings Cooperative U.A, since
        the relevant test is “control in fact.” 273 In any event, Spain contends that it has been
        established that Claimants are controlled by “American citizens,” namely NextEra Energy
        Inc. and the staff in the companies in the NextEra Group in the United States, in


264
    Resp. Mem. Jur., ¶ 120.
265
    Resp. Mem. Jur., ¶ 121. See also, Resp. Reply Jur., ¶ 108.
266
    Resp. Mem. Jur., ¶ 121.
267
    Resp. Reply Jur., ¶ 166.
268
    Resp. Reply Jur., ¶ 167.
269
    Resp. Reply Jur., ¶ 168.
270
    Resp. Reply Jur., ¶ 168.
271
    Resp. Reply Jur., ¶¶ 169-170; CL-001 / RL-055, ECT, Understandings, § 3.
272
    Resp. Reply Jur., ¶ 172.
273
    Resp. Reply Jur., ¶ 172.

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         particular the U.S. citizens serving as Directors in category A of Claimants’ boards of
         directors. 274 This is underscored by the fact that the communications relied upon as the
         basis for Claimants’ alleged legitimate expectations were exchanged with senior
         management of NextEra in the United States. 275

219.     Lack of Any Business Activity.             According to Spain, Claimants do not have “any”
         business activity in the Netherlands or elsewhere. 276 Pursuant to their certificates of
         registration they are merely “financial holding” companies, classified under a category
         that refers to holdings not engaged in management, strategic planning or decision making
         of the company they hold. 277 Holding shares, Spain argues, is not a business activity
         under EU Law, which is applicable law by virtue of Article 26(6) of the ECT, and it is
         also part of the national law of the Netherlands and Spain. 278

220.     Moreover, Respondent argues, Claimants (i) have no employees of their own, as shown
         by their own Commercial Registers at the Chamber of Commerce; 279 (ii) have a
         registered office that: corresponds to the address of an entity dedicated to the creation and
         maintenance of companies (Intertrust Group B.V.), is shared with over 1,000 other
         companies, and has no footprint of Claimants in it;280 (iii) have financial statements
         typical of holding companies, that are short, not audited, without management or board of
         directors reports, with the total assets being the holdings in the NextEra Group
         subsidiaries, with limited liabilities and no income or cash flow statements; 281 (iv) have
         two categories of directors in their boards (A and B), with only the U.S. directors
         (category A) having decision making power; 282 and (v) have no footprint online, or in the




274
    Resp. Reply Jur., ¶¶ 173-174, 179.
275
    Resp. Reply Jur., ¶ 180.
276
    Resp. Mem. Jur., ¶¶ 123, 126; Resp. Reply Jur., ¶¶ 13, 50, 108.
277
    Resp. Reply Jur., ¶¶ 20, 23, 25.
278
    Resp. Mem. Jur., ¶ 126.
279
    Resp. Mem. Jur., ¶¶ 125, 129; Resp. Reply Jur., ¶¶ 30-34.
280
    Resp. Mem. Jur., ¶¶ 130-131; Resp. Reply Jur., ¶¶ 38-40.
281
    Resp. Reply Jur., ¶ 36.
282
    Resp. Reply Jur., ¶¶ 41-46.

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        said denial at the beginning of the arbitration or at the time of pre-investment.”292
        Respondent observes that Plama relied on Article 1113 of NAFTA, which contains a
        requirement of prior communication and prior notification in connection with a denial of
        benefits, but has no equivalent in the ECT and it is thus not applicable. 293 The absence of
        this provision in the ECT, Spain says, must mean that the intention of the ECT
        Contracting Parties was that the denial of benefits could be exercised at any time, given
        that other ECT provisions do contain express notice or consultation requirements. 294 The
        position is also supported by the negotiating history of the ECT, Spain argues. According
        to Respondent, during the negotiations the United States had reserved the right to deny
        benefits at the time of the arbitration, and it was the United States’ proposal that
        ultimately prevailed. 295

224.    Respondent argues that the dispute in this case arose in 2014, as the first trigger letter was
        sent in February 2014 and the Request for Arbitration was filed in May 2014. 296 Prior to
        that, Spain says, the “only and first” communication sent to Spain revealing the existence
        of the Claimants was a letter of 15 March 2012, which for Spain only shows the “opacity
        in the business structure of the real investor, NextEra Energy Inc.” 297 Respondent waited
        for the Request for Arbitration, it alleges, in order to have a correct picture of the
        structure used by NextEra Energy Inc., all in good faith and in accordance with the
        ICSID Arbitration Rules. 298 And Spain did not have all the information to determine
        whether Article 17 of the ECT could be triggered until the Memorial was studied. 299




292
    Resp. Reply Jur., ¶ 133.
293
    Resp. Reply Jur., ¶ 126.
294
    Resp. Reply Jur., ¶¶ 126-128.
295
    Resp. Reply Jur., ¶¶ 130-131.
296
    Resp. Reply Jur., ¶¶ 120-121.
297
    Resp. Reply Jur., ¶ 122 (referring to C-090, Letter from John Ketchum (NextEra Energy Resources, LLC) to José
Maria Soria López (Minister for Industry, Tourism and Trade) and Fernando Martí Scharfhausen (Secretary of State
for Energy), 15 March 2012).
298
    Resp. Reply Jur., ¶ 147(b).
299
    Resp. Reply Jur., ¶ 147. Moreover, Spain says, the Spanish assets were transferred to the Dutch companies
through private documents only produced to Respondent in the document production phase of this proceeding.
Resp. Reply Jur., ¶¶ 122, 147(c).

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225.    In Respondent’s view, both Article 41(1) of the ICSID Convention and ICSID
        Arbitration Rule 41(1), together with arbitral case law support the proposition that the
        denial of benefits was validly exercised in the Memorial on Jurisdiction. 300 That is
        because under ICSID Arbitration Rule 41(1), objections to jurisdiction “shall be made as
        early as possible […] no later than the expiration of the time limit fixed for the filing of
        the counter-memorial […].” 301

226.    Spain further objects to the conclusion in Plama that a denial of benefits must be
        prospective. Relying on the decisions in Ulysseas and Guaracachi, Spain argues that
        Plama has been superseded by subsequent decisions that have allowed the exercise of the
        denial of benefits with retroactive effect. 302 For Respondent, limiting the effects of a
        denial of benefits to the future amounts to introducing a restriction that is not reflected in
        the text of Article 17 of the ECT. 303

227.    Finally, Spain opposes Claimants’ contention that the form of the denial of benefits in
        this case is defective, observing that the form in which the denial was activated here (an
        express statement in the Memorial on Jurisdiction) was completely different from that in
        Plama, the case on which Claimants rely. 304

                 b. Claimants’ Position

228.    Claimants’ first argument is that the question of application of Article 17 of the ECT is
        not a matter of jurisdiction, but one for the merits. By its express terms, they say, the




300
    Resp. Reply Jur., ¶¶ 135-146 (referring to RL-009, Ulysseas, Inc. v. Republic of Ecuador, UNCITRAL, Interim
Award (28 September 2010) (hereinafter “Ulysseas”); RL-010, Guaracachi America Inc. & Rurelec, Plc. v. Bolivia,
PCA Case No. 2011-17, Award (31 January 2014) (hereinafter “Guaracachi”); RL-104, Empresa Eléctrica del
Ecuador, Inc. v. Republic of Ecuador, ICSID Case No. ARB/05/9, Award (2 June 2009); CL-120, Pac Rim Cayman
LLC v. El Salvador, ICSID Case No. ARB/09/12, Decision on the Respondent’s Jurisdictional Objections (1 June
2012) (hereinafter “PacRim”)).
301
    Resp. Reply Jur., ¶ 137.
302
    Resp. Mem. Jur., ¶¶ 135-137 (referring to RL-009, Ulysseas; RL-010, Guaracachi). See also, Resp. Reply Jur.,
¶¶ 152-159.
303
    Resp. Reply Jur., ¶ 152.
304
    Resp. Reply Jur., ¶¶ 105-106, n. 38.

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         “[a] good faith interpretation does not permit the Tribunal to choose a construction of
         Article 17 that would allow host States to lure investors by ostensibly extending to them
         the protections of the ECT, to then deny these protections when the investor attempts to
         invoke them […].” 311

232.     Furthermore, Claimants contend, Spain cannot argue that it only recently acquired
         knowledge of the relevant facts giving rise to the denial, because: (i) Spain has known
         “[a]t all times” that the ultimate owner of this investment was a U.S. corporation; (ii)
         since 2008 prior to the construction of the Termosol Plants, it has been a matter of public
         record that NEE España was owned by NextEra Spain (Claimant 2), a Dutch corporation;
         and (iii) after NextEra officials in the United States notified Spain of a potential ECT
         claim by the Dutch Claimants in 2012, Spain did not invoke its right under Article 17 of
         the ECT, and instead, continued to encourage the investments. 312 In particular, Claimants
         point out that:

         "      Claimants never sought to conceal the link between the U.S. Group and the
                Spanish investments, as also shown in the initial correspondence with high Spanish
                Government officials in July 2009, December 2009, April 2010 and March 2012,
                which involved U.S. interlocutors. 313 Spain received these letters and responded to
                some in September 2009, January 2010 and April 2012. 314 NEE España’s
                consolidated accounts also show that its ultimate principal entity was NextEra




311
    Cl. C-Mem. Jur., ¶ 51 (quoting CL-140, Khan, ¶ 429).
312
    Cl. C-Mem. Jur., ¶ 52; Cl. Bif., ¶¶ 69-70, 73-74 (referring to C-090, Letter from John Ketchum (NextEra Energy
Resources, LLC) to José Maria Soria López (Minister for Industry, Tourism and Trade) and Fernando Martí
Scharfhausen (Secretary of State for Energy), 15 March 2012) and ¶ 79.
313
    Cl. C-Mem. Jur., ¶ 53 (citing C-048, Letter from Mitch Davidson (NextEra Energy Resources, LLC), to Pedro
Marín (Secretary of State for Energy), 8 July 2009; C-014, Letter from Mitch Davidson (NextEra Energy Resources,
LLC) to Miguel Sebastián (Minister for Industry, Tourism and Trade), 9 December 2009, C-058, Letter from Mitch
Davidson (NextEra Energy Resources, LLC) to José Luis Rodriguez Zapatero (President of the Government of
Spain), 22 April 2010; and C-090, Letter from John Ketchum (NextEra Energy Resources, LLC) to José Maria Soria
López (Minister for Industry, Tourism and Trade) and Fernando Martí Scharfhausen (Secretary of State for Energy),
15 March 2012).
314
    Cl. C-Mem. Jur., ¶ 54 (citing C-006, Letter from Pedro Marín (Secretary of State for Energy) to Mitch Davidson
(NextEra Energy Resources, LLC), 3 September 2009; C-008, Letter from Pedro Marín (Secretary of State for
Energy) to Mitch Davidson (NextEra Energy Resources, LLC), 11 January 2010; C-011, Letter from Ignacio
Grangel Vicente (Chief of Staff to the Secretary of State for Energy) to John Ketchum (NextEra Energy Resources,
LLC), 3 April 2012).

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                Energy Inc., as seen in the consolidated financial statements of 2008, 2009, 2010
                and 2013. 315

         "      Spain cannot claim to have been unaware of the Dutch Claimants. A letter of 15
                March 2012 to Spain explicitly invoked the Dutch ownership and the ECT. 316 In
                addition, NEE España notified Spanish authorities that NextEra Spain was its sole
                shareholder, as shown by the extracts of the Spanish Mercantile Registry since
                May 2008, NEE España’s annual financial statements filed annually with that
                Registry, and notarized deeds also filed with that Registry documenting NextEra
                Spain’s corporate actions as sole shareholder of NEE España. 317 And NextEra
                Global’s ownership interest was publicly available to Spain in notarized deeds
                filed with the Spanish Mercantile Registry, and Claimants’ Dutch accounts are
                publicly available. 318

         "      On 25 August 2009, the PTEs made filings with the Ministry of Industry, laying
                out the full structure of the investment. 319

         "      Claimants’ registration as Dutch holding companies, in which Respondent relies
                now, has been a matter of public record since 2008. 320

233.     As a legal consequence of the foregoing: (i) Spain cannot claim that the information
         needed to trigger a denial of benefits is new; and (ii) Spain has “acquiesced” in the facts
         it now seeks to challenge, which prevents it from raising the denial ex post facto.
         Acquiescence, Claimants argue, is a principle of international law linked to the principle
         of good faith. 321




315
    Cl. C-Mem. Jur., ¶ 54 (citing C-124, 2013 Consolidated Financial Statements for NEE España, 22 July 2014; C-
132, NEE España’s 2008 Abbreviated Financial Statements, 31 March 2009; C-133, NEE España’s 2009
Abbreviated Financial Statements, 31 March 2010; to C-134, NEE España’s 2010 Consolidated Financial
Statements, 22 July 2011).
316
    Cl. C-Mem. Jur., ¶ 55 (citing C-090, Letter from John Ketchum (NextEra Energy Resources, LLC) to José Maria
Soria López (Minister for Industry, Tourism and Trade) and Fernando Martí Scharfhausen (Secretary of State for
Energy), 15 March 2012).
317
    Cl. C-Mem. Jur., ¶ 55 (citing C-124, 2013 Consolidated Financial Statements for NEE España, 22 July 2014; C-
132, NEE España’s 2008 Abbreviated Financial Statements, 31 March 2009; C-133, NEE España’s 2009
Abbreviated Financial Statements, 31 March 2010; to C-134, NEE España’s 2010 Consolidated Financial
Statements, 22 July 2011; C-083, Notarised Deed Corporate Resolutions adopted by NextEra Energy España, S.L., 9
June 2010; C-135, Notarised Deed Appointment of new Director, 9 June 2010).
318
    Cl. C-Mem. Jur., ¶ 56 (citing C-080, First Notarised Deed Corporate Resolution adopted by FPLE Solar Assets,
SL, 2 June 2009; and C-083, Notarised Deed Corporate Resolutions adopted by NextEra Energy España, S.L., 9
June 2010)
319
    Cl. Rej. Jur., ¶¶ 99-100 (citing C-280, Annex 2 to the PTE Letter of Rectification, 25 August 2009).
320
    Cl. Rej. Jur., ¶¶ 101-102.
321
    Cl. C-Mem. Jur., ¶ 58. See also, Cl. Rej. Jur., ¶ 104; Cl. Bif., ¶ 76.

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         applicability of Part III of the ECT, it falls on Respondent to establish that all of the
         elements of the exception are met. 327 In Claimants’ view, this burden has not been
         discharged, as in fact: (i) Claimants have substantial business activities in the
         Netherlands; and (ii) each Claimant is owned by another Dutch entity, and that ownership
         confers control in the ordinary way. 328

238.     Substantial Business Activities. Claimants argue that there is no check-list of mandatory
         factors, and the inquiry is qualitative, rather than quantitative, i.e. the decisive question is
         the “materiality, not the magnitude of the business activity.” 329

239.     Respondent’s attempt to rely on the different adjectives used in the English and the
         Spanish version of the ECT (“substantial” and “importantes”) is irrelevant, because both
         are met. That said, Claimants argue that as both the English and Spanish texts are equally
         authentic, pursuant to Article 33(3) of the VCLT they should be presumed to have the
         same meaning. That meaning would be the meaning endorsed by Amto, which is the
         common denominator in the various other authentic languages of the ECT. 330 Claimants
         add that, if the Tribunal is not satisfied, and considers that the authentic texts disclose a
         difference of meaning, pursuant to Article 33(4) of the VCLT, the Tribunal must (i)
         remove the difference applying Article 31 and 32 of the VCLT, or (ii) should that fail,
         adopt the meaning that “best reconciles the texts, having regard to the object and purpose
         of the treaty.” 331 The analysis under either of those steps, Claimants contend, also leads
         to the meaning adopted in Amto. 332

240.     Claimants argue that they “exceed the standard for ‘substantial business activities,’”333
         and have activities in the Netherlands that are quantitatively and qualitatively
         substantial. 334 This, they say, is demonstrated by the witness statement of Mr. George

327
    Cl. Rej. Jur., ¶ 108.
328
    Cl. C-Mem. Jur., ¶ 63.
329
    Cl. C-Mem. Jur., ¶ 64 (quoting CL-143, Amto, ¶ 69).
330
    Cl. Rej. Jur., ¶¶ 114-117.
331
    Cl. Rej. Jur., ¶ 116.
332
    Cl. Rej. Jur., ¶¶ 117-119.
333
    Cl. C-Mem. Jur., ¶ 67.
334
    Cl. Rej. Jur., ¶ 120.

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         Nicolai and documentary evidence, showing that Claimants: (i) are incorporated in the
         Netherlands; (ii) have a registered office in Amsterdam, which they have use of, and have
         hired a company named Intertrust to provide secretarial and communication facilities;
         (iii) hold the vast majority of their board meetings in the Netherlands; (iv) make decisions
         within the Netherlands, as the board of NextEra Energy Global Holdings Cooperative
         U.A. can only pass resolutions if adopted by majority of both A and B directors present,
         and the B directors are Dutch nationals; (v) convene annual general shareholder meetings
         in the Netherlands; (vi) have bank accounts in the Netherlands; (vii) are Dutch residents
         for tax purposes; (viii) prepare and file statutory annual accounts in the Netherlands; (ix)
         have adopted significant business decisions concerning the investments in Spain,
         including purchase of equipment, equity injections, causing NextEra Spain to subscribe
         the shares in NEE España, reviewing operations summaries of the Termosol Plants,
         appointing auditors, prosecuting claims in this arbitration by hiring counsel, overseeing,
         assessing and assisting with the potential sale of NEE España, reviewing debt
         restructurings, and dealing with the potential liquidation of NEE España. 335 In addition,
         Claimants’ administrative costs for conducting business in the Netherlands exceed
         approximately EUR 37,000 per year and the management and corporate secretarial costs
         exceed EUR 85,000 per year. 336          Furthermore, NextEra Global is also the holding
         company for large renewable energy investments in Canada, which is part of the factual
         matrix for determining whether this company has substantial business activities in the
         Netherlands. 337

241.     None of the factors referred to by Spain detract from the above substantial business
         activities. Many of Spain’s contentions have already been rejected by other arbitral
         tribunals. 338 There is no rule in investment treaty arbitration against the bona fide use of
         holding companies. 339 There is a distinction between holding companies – which could
         in principle have substantial business activities – and shell companies, and even if the

335
    Cl. C-Mem. Jur., ¶ 67. See also, Cl. Rej. Jur., ¶ 123; Cl. Bif., ¶ 81.
336
    Cl. C-Mem. Jur., ¶ 68.
337
    Cl. C-Mem. Jur., ¶ 68; Cl. Rej. Jur., ¶ 123 (third bullet).
338
    Cl. C-Mem. Jur., ¶¶ 69-70. Claimants rely on the statements of Mr. George Nicolai and Mr. Mark Sorensen to
counter assertions made in the Accuracy Report on this subject. Cl. Rej. Jur., ¶ 122.
339
    Cl. C-Mem. Jur., ¶ 72.

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         Tribunal concluded that Claimants are shell companies, there would be no basis to
         deprive them of protection, as held in RREEF. 340 It is also irrelevant that Claimants’
         Dutch annual accounts are abbreviated, because they qualify as small companies under
         Dutch law and are thus not required to include cash flows or board statements or audit
         their accounts. 341 Respondent’s reliance only on the filed accounts is misleading, as the
         accounts produced for the shareholders include more detailed information; and Claimants
         do hire Dutch auditors. 342 Finally, the code used in the Dutch registry has the sole
         purpose of describing the main object of the company at the time of registration; it has no
         legal consequences and does not restrict the activities of the entity. 343

242.     Dutch Ownership and Control. Claimants contend that Dutch ownership is demonstrated
         because each Claimant is owned by a Dutch national: NextEra Global (Claimant 1) owns
         100% of NextEra Spain (Claimant 2); and a Dutch cooperative owns 100% of NextEra
         Global (Claimant 1). 344        Dutch control is also showed by the fact that no voting
         arrangements prevent these owners from “exercising control over their immediate
         subsidiary, in the normal way.” 345 Moreover, contrary to Spain’s contentions, Claimants’
         board of directors is not dominated or controlled by U.S. citizens, as each director has a
         free vote and neither of the categories (A or B) plays a more important role. 346

243.     Claimants also observe that, by contrast with Article 1(6) of the ECT – concerning the
         definition of “Investment” – Article 17 does not include any reference to indirect
         ownership or control. Accordingly, they say, the ordinary meaning and the context of
         Article 17 refer to direct ownership and direct control. 347                   Spain’s reliance on
         Understanding 3 relating to Article 1(6) of the ECT is a red herring, because, had the
         ECT Contracting Parties wished to include within the ambit of Article 17(1) indirect
         ownership or control, they could have easily transposed the language from Article 1(6),

340
    Cl. C-Mem. Jur., ¶¶ 74-75 (referring to CL-120, PacRim; CL-135, RREEF). See also, Cl. Rej. Jur. ¶ 121.
341
    Cl. C-Mem. Jur., ¶ 76.
342
    Cl. C-Mem. Jur., ¶ 77.
343
    Cl. Rej. Jur., ¶ 121.
344
    Cl. C-Mem. Jur., ¶ 80; Cl. Rej. Jur., ¶ 110; Cl. Bif., ¶ 82.
345
    Cl. C-Mem. Jur., ¶ 80; Cl. Rej. Jur., ¶ 110.
346
    Cl. Rej. Jur., ¶ 112.
347
    Cl. C-Mem. Jur., ¶ 81.

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           argues that it exercised its right under Article 17(1) to deny the benefits of Part III of the
           ECT to Claimants in its Memorial on Preliminary Objections. 352

248.       The Tribunal will deal first with the question whether Claimants are owned or controlled
           by the citizens or nationals of a third State, second with whether they have substantial
           business activities in the Netherlands, and third with whether Respondent has exercised
           effectively a denial of the advantages of Part III of the ECT under Article 17(1).

                    a. Are Claimants Owned or Controlled by the Citizens or Nationals of a
                       Third State?

249.       Claimants argue that they are 100% owned by a Dutch cooperative and control follows
           that ownership. The second Claimant, NextEra Spain, is registered in the Netherlands
           and is 100% owned by the first Claimant NextEra Global, also registered in the
           Netherlands, which in turn is 100% owned by NextEra Energy Global Holdings
           Cooperative U.A, which, too, is registered in the Netherlands. On that basis, Claimants
           are not controlled by the nationals of a non-ECT State. Nor, Claimants argue, do the
           voting arrangements prevent the Dutch owners from exercising control. In any event,
           Claimants argue, since there is no reference to “indirect” ownership or “indirect” control
           in Article 17(1) of the ECT, the word control in Article 17(1) is limited to “direct”
           control.

250.       The Tribunal sees no basis for concluding that control in Article 17(1) of the ECT is
           limited to direct control. It is control in fact that counts, just as control in fact is what is
           meant in respect of Article 1(6) (Understanding 3). It makes no sense to say that the test
           for control in determining whether an investment is controlled by the nationals of another
           Contracting Party is different from the test for determining whether an investment is
           controlled by the nationals of a third State.

251.       NextEra Energy, Inc., a U.S. corporation is the ultimate principal entity in the NextEra
           group and notwithstanding the formal provisions on voting, the reality is that the Dutch
           companies are controlled by the American company and the principal activities of
           Claimants in respect of the investments in Spain are conducted by the American
352
      Resp. Mem. Jur., ¶ 138.

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           company.     It was officials of the American companies who dealt with the Spanish
           authorities in making the investment and, as will be discussed later, all of the
           representations by the Spanish authorities on which Claimants rely for their legitimate
           expectations claim in this case were made to those officials. In short, the reality of
           control is with U.S. nationals.

252.       In light of this, the Tribunal concludes that Claimants are controlled by the citizens or
           nationals of a third State and thus the first criterion in Article 17(1) is met.

                   b. Do Claimants Have “Substantial Business Activities” in The
                      Netherlands?

253.       Respondent argues that Claimants do not have any business activities in the Netherlands.
           They are essentially holding companies whose function is to hold shares not to conduct
           business activities. Claimants argue that there is no barrier to holding companies meeting
           the test of having substantial business activities and list a variety of activities which it
           claims show that they meet this test, including having a bank account in the Netherlands,
           holding meetings there, providing annual accounts and taking decisions on such matters
           as equipment and funding of the Spanish subsidiaries.             The question according to
           Claimants is the materiality of the business activities not the magnitude.

254.       The question of what constitutes “substantial business activities” has been dealt with in
           several cases, although not all related to Article 17(1) of the ECT. In Pac-Rim, 353 a case
           brought under the Central American Free Trade Agreement (“CAFTA”), the tribunal
           concluded that there were no “substantial business activities” of the claimant in the
           United States. It simply held the shares of other companies. Apparently, it had no board
           of directors and no bank account in the U.S. The tribunal did say that a “traditional
           holding company” could be engaged in “substantial business activities.”             Such a
           company in its view would have “a board of directors, board minutes, a continuous
           physical presence and a bank account.” 354




353
      CL-120, PacRim.
354
      CL-120, PacRim, ¶ 4.72.

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255.     In Amto, 355 the tribunal decided that since investment activities were conducted from
         premises in Latvia and the claimants had a small permanent staff, they met the test of
         having “substantial business activities” there. 356 The company also had a bank account
         in Latvia and paid taxes. 357

256.     In the present case, the claimed “substantial business activities” of the Claimants are
         more substantial than those in PacRim, where there was no board of directors and no
         bank accounts in the United States. The Claimants in this case would also meet the
         requirements set out in PacRim for a “traditional holding company” in that it had “a
         board of directors, board minutes, a continuous physical presence and a bank
         account.” 358

257.     The facts of Amto bear some similarity to the present case, but there are differences. The
         principal difference is that the NextEra Claimants have no permanent employees; they
         contract with Intertrust, which conducts Claimants’ business in the Netherlands.
         However, this does not seem an important distinction. Whether one operates a business
         through permanent employees or contracts that work out to someone else is simply a
         business decision about how to operate. In either case, substantive work is being done
         for the company. The question is whether that work constitutes substantial business
         activities. In this regard, the Tribunal does not give any weight to the fact that the
         Spanish version of the treaty refers to “important” rather than “substantial” business
         activities. Since it is the quality and not just the quantity of the activities that is relevant,
         whether the term “important” or the term “substantial” is used does not make a
         difference.

258.     Amto provides a useful test, in that it looked to see if “investment activities” were being
         conducted by the Latvian claimant. Applying that approach to the present case involves


355
    CL-143, Amto.
356
    CL-143, Amto, ¶ 68.
357
    In Guaracachi, the tribunal concluded that substantial business activities had not been established although it did
not set out any criteria for reaching that decision. The claimant had argued that the company had offices in the US,
held shareholder’s meetings and Board of Directors meetings there, and prepared minutes of those meetings. RL-
010, Guaracachi, ¶ 217.
358
    CL-120, PacRim, ¶ 4.72.

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           asking whether Claimants were engaged in investment activities from the Netherlands.
           In this regard, the meetings of the Board of Directors in the Netherlands are significant.
           In their Counter Memorial on Jurisdiction, Claimants argue that in fact “significant”
           business decisions relating to their investments were taken by Claimants, including
           purchasing equipment for the Termosol Plants in 2008, equity injections of EUR 209
           million, appointing auditors in the Netherlands, hiring counsel for these arbitration
           proceedings, and hiring liquidators to oversee the liquidation of NEE España in 2013.359
           They also refer to reviewing operation summaries of the Termosol Plants, and reviewing
           proposed debt restructuring.

259.       In short, Claimants’ argument is that they are not shell companies in the Netherlands;
           through their Board of Directors they play an active role in making decisions for their
           investments and have been engaged in reviewing the activities of their investments.

260.       The Tribunal notes that although there has not been a significant jurisprudence on the
           question of “substantial business activities,” the tribunals that have found such activities
           to exist have been prepared to do so on the basis of a relatively small number of activities
           both in terms of quantity and quality. And that is true of the claim to having substantial
           business activities in the Netherlands in the present case. As pointed out earlier, the
           investment activities in respect of the Spanish investment are those of the U.S. parent and
           Claimants have a very limited role.

261.       However, in view of the decision that the Tribunal reaches in respect of denial of benefits
           below, it does not have to decide whether Claimants’ business activities in the
           Netherlands were substantial. Even if they were not substantial, Respondent still failed to
           exercise its right to deny benefits in accordance with Article 17(1) of the ECT.

                    c. Assuming that Respondent Had the Right to Deny Benefits Did It
                       Exercise that Right in a Timely Fashion?

262.       Article 17 of the ECT provides no guidance on the time at which the right to deny
           benefits must be exercised and the cases seem to be divided on this.


359
      Cl. C-Mem. Jur., ¶ 67.

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263.     In the present case, the denial was asserted by Spain on 9 September 2015 in its
         Memorial on Jurisdiction. 360 The question is whether that is too late. Although there has
         been some controversy over when the right to deny benefits must be exercised, recent
         cases have suggested that the right must be exercised no later than the time the benefits
         are claimed (Ulysseas and Guaracachi).           On that basis, by denying benefits in its
         Memorial on Jurisdiction, Respondent was responding to the attempt by Claimants to
         exercise ECT rights in bringing this claim.

264.     However, the filing of the claim was not the first time that Respondent was aware of a
         potential ECT claim by NextEra. As set out above, NextEra had engaged with the
         Spanish authorities on its plan to invest in the solar industry as early as July 2009, both in
         person and through correspondence. It was clear to the government that it was dealing
         with an American corporation, but it was also made clear that this investment was
         operated through a Dutch company. 361           The details of Claimants’ ownership were
         available in public registers and Respondent must be taken to be aware of the status of
         Claimants. The contacts between the NextEra Energy group and the Spanish government
         both written and in person were extensive, up to and including the prime ministerial level.
         Encouragement and reassurances were provided to NextEra without any suggestion that
         Spain would invoke Article 17(1) of the ECT and deny the benefits of the treaty to
         Claimants.

265.     More specifically, in a letter dated 15 March 2012 from John W. Ketchum, Vice
         President, NextEra Energy Resources LLC to the Minister for Industry, Energy and
         Tourism and the Secretary of State for Energy, the Spanish authorities were advised that
         the Dutch company which owned the NextEra investment in Spain was the “beneficiary
         of the protective provisions set forth in the Energy Charter Treaty” and that NextEra
         would defend their rights including through international arbitration. 362




360
    Resp. Mem. Jur., ¶ 138.
361
    Cl. C-Mem. Jur., ¶¶ 52 et seq.
362
    C-090, Letter from John Ketchum (NextEra Energy Resources, LLC) to José Maria Soria López (Minister for
Industry, Tourism and Trade) and Fernando Martí Scharfhausen (Secretary of State for Energy), 15 March 2012.

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266.        Thus, by 15 March 2012, Respondent was aware that the NextEra Spanish investment
            was owned by a Dutch company, which regarded itself as having rights under the ECT,
            and that NextEra was willing to enforce those rights through international arbitration.
            The Spanish government gave no indication that it would deny those rights. Indeed,
            following this letter, the Spanish government made further assurances to NextEra and
            Claimants went ahead and completed the building of the Termosol Plants. 363

267.        In light of this, can Respondent then deny the benefits of Part III of the ECT once a claim
            has formally been made? In Khan the tribunal said:

                     “A good faith interpretation does not permit a tribunal to choose a
                     construction of Article 17 to allow host states to lure investors by
                     ostensibly extending to them the protections of the ECT, to then deny them
                     these protections when the investor attempts to invoke them in
                     international arbitration.” 364

268.        In the view of the Tribunal, once Spain became aware not just that it had a right to deny
            benefits but that Claimants were relying on Spain’s statements and actions and were
            reserving a right to invoke the provisions of the ECT, it was put on notice of a potential
            exercise of ECT rights by NextEra. To delay until its Memorial on Jurisdiction on 9
            September 2015, more than three years later, to exercise its right to deny benefits under
            Article 17(1) of the ECT is hardly a good faith exercise of its right as contemplated by
            the Khan tribunal. During that period Spain gave assurances about the protection the
            NextEra investment would receive in full knowledge that it was an investment that, in
            Claimants’ view, was proceeding under and with the protections of the ECT. As a result,
            Claimants were justified in proceeding on the assumption that Spain would not exercise
            its right to deny benefits under Article 17 of the ECT.

269.        Respondent was confronted on 15 March 2012 with a clear assertion that NextEra’s
            international Dutch investment company had rights under the ECT and that NextEra
            planned to exercise such rights. Faced with such an assertion, and knowing that it had the
            right to deny the benefits that Claimants were asserting, Respondent could not stay silent,

363
      Cl. Bif., ¶¶ 70 et seq.
364
      CL-113, Khan, ¶ 429.

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277.     For Spain, the preferential application of the EU system between EU Member States is
         recognized by the ECT’s text, context and purpose. 378

278.     With respect to the text of the ECT, Respondent points out:

         "      First, that Article 1(2) of the ECT includes Regional Economic Integration
                Organizations (“REIO”), such as the EU, within the definition of a “Contracting
                Party,” and the definition of REIO in Article 1(3) recognizes that certain
                competences have been conferred to the EU by its Member States irrevocably and
                with binding nature, including on certain matters governed by the ECT.379
                Moreover, the definition of “Contracting Party” in Article 1(2) recognizes that
                ECT Contracting Parties need to have agreed to be bound to one another, which
                neither Spain or the Netherlands could do, because they no longer had the
                competence to do so. 380

         "      Second, that Article 36(7) of the ECT reaffirms the conclusions above, in
                providing that EU Members States and the EU cannot vote simultaneously.381
                This means, Respondent says, that the EU and each of its Member States can only
                vote in the areas within the scope of their competences, and it is for the CJEU –
                not for the Tribunal – to determine who is the competent Contracting Party in each
                subject matter. 382

         "      Third, that the regulation of the relation between the ECT and other agreements
                (including the EU Treaties) in Article 16 of the ECT recognizes that, in intra-EU
                relations, the EU Treaties prevail over the ECT. 383

         "      Fourth, that pursuant to Article 25 of the ECT, the EU integral system of
                promotion and protection of investments cannot be applied to other ECT
                Contracting Parties that are not EU Member States via the Most Favored Nation
                (“MFN”) clause, 384 which is an “explicit recognition” of the principle of primacy
                of EU Law in intra-EU relations. 385

         "      Fifth, that Article 26(1) of the ECT allows submission to arbitration of disputes
                only between a “Contracting Party” and “an Investor of another Contracting
378
    Resp. Mem. Jur., ¶ 43 et seq.
379
    Resp. Mem. Jur., ¶ 45; Resp. Reply Jur., ¶¶ 228-229; CL-001 / RL-055, ECT, Art. 1(3) (“‘Regional Economic
Integration Organization’ means an organization constituted by states to which they have transferred competence
over certain matters a number of which are governed by this Treaty, including the authority to take decisions
binding on them in respect of those matters.”)
380
    Resp. Reply Jur., ¶¶ 226-227.
381
    Resp. Reply Jur., ¶¶ 230-231.
382
    Resp. Mem. Jur., ¶ 49; Resp. Reply Jur., ¶¶ 231-232; CL-001 / RL-055, ECT, Art. 36(7).
383
    Resp. Mem. Jur., ¶ 47; CL-001 / RL-055, ECT, Art. 16.
384
    Resp. Mem. Jur., ¶ 48; CL-001 / RL-055, ECT, Art. 25.
385
    Resp. Reply Jur., ¶¶ 190, 192 (highlighting the words “preferential treatment” in Art. 25).

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                Party;” and cannot give rise to obligations among EU Member States, because at
                the time the ECT was entered into, EU Member States had already given over their
                sovereignty in connection with the internal market to the EU and could not assume
                inter-se obligations concerning that market. 386 As the consent in Article 26 of the
                ECT is limited to disputes arising out of alleged breaches of obligations of Part III,
                and EU Member States could not contract obligations among themselves under
                Part III, Article 26 cannot apply to intra-EU disputes. 387 Further, in addition to
                arbitration, Article 26 provides for conciliation and recourse to national courts,
                without establishing an order of preference or indicating that arbitration is more
                favourable. 388

         "      Finally, that Article 26(6) provides that the Tribunal shall decide the issues in
                dispute “in accordance with this Treaty and applicable rules and principles of
                international law,” thereby recognizing that EU Law must be applied “on an equal
                level […] as applicable international law.” 389 Accordingly, any conflict between
                the ECT and EU Law must be resolved pursuant to Article 25 of the ECT, which
                recognizes both the primacy of EU Law in intra-EU relations, and that the process
                of economic integration of the EU is more advanced than the ECT and therefore
                more favorable. 390

279.     Respondent dismisses Claimants’ interpretation of the above-mentioned provisions,
         arguing that it is “literal and completely out of context.” 391          Instead, Respondent urges
         that an effective interpretation of the ECT leads to the conclusion that the ECT
         recognizes the primacy of EU Law in intra-EU relations and excludes arbitration. 392

280.     According to Respondent, the ECT’s object and purpose also support its position. That
         is, Spain says, because admitting the intra-EU application of the ECT would dispense
         with the ECT’s object and purpose, as (i) it would mean that the EU and its Member
         States promoted the ECT to cover an area (intra-EU investments) already covered by EU
         Law in an exhaustive and superior manner; (ii) it would take away competences from the
         CJEU; and (iii) it would reflect a lack of trust in the EU system. 393



386
    Resp. Mem. Jur., ¶¶ 50, 58.
387
    Resp. Reply Jur., ¶¶ 225-226.
388
    Resp. Reply Jur., ¶¶ 233-234.
389
    Resp. Mem. Jur., ¶ 50; CL-001 / RL-055, ECT, Art. 26. See also, Resp. Mem. Jur., ¶ 78.
390
    Resp. Reply Jur., ¶¶ 235-236.
391
    Resp. Reply Jur., ¶ 222.
392
    Resp. Reply Jur., ¶ 224. See also, id., ¶ 236.
393
    Resp. Mem. Jur., ¶ 61.

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         arbitration clause in an International Agreement concluded between EU Member States
         (intra-EU BIT) is incompatible with EU law and, in particular, the autonomy of the EU
         legal order.” 401

284.     Respondent first highlights that the Achmea judgment endorses the principles that: (i) the
         judicial system established in the EU Treaties is intended to ensure consistency and
         uniformity in the interpretation of the EU Law; (ii) pursuant to Article 19 of the TFEU, it
         falls on national courts and tribunals and on the CJEU to ensure the application of EU
         Law in the EU Member States; (iii) the preliminary ruling system established in Article
         267 of the TFEU is intended to ensure uniformity in the interpretation of EU Law; (iv)
         EU Law is both part of the law of each EU Member State and also derives from an
         international agreement. 402

285.     Spain then explains that the CJEU has concluded that the above principles are not
         fulfilled through the establishment of an investment tribunal because: (i) the tribunal
         might be called to interpret or apply EU Law, without being part of the EU judicial
         system; (ii) not being a court or tribunal of a EU Member State within the meaning of
         Article 267 of the TFEU, such tribunal cannot refer a matter to the CJEU; (iii) the
         tribunal’s decision is final and judicial review limited by national law; (iv) investment
         arbitration involves disputes that may concern the application or interpretation of EU
         Law, but that system does not allow disputes to be resolved in a way that ensures the full
         effectiveness of EU Law. 403

286.     For Spain, the above-mentioned conclusions also apply in the context of the ECT. In that
         regard, Respondent observes that Achmea refers to an “international agreement,” which
         the ECT is, and not exclusively to bilateral investment treaties. 404 Spain further contends
         that the Achmea judgment’s reasoning is fully applicable here because: (i) under Article

(citing “Preliminary Ruling C-284/16 (Achmea Case) on the Compatibility Between the BIT Signed in 1991 by the
Netherlands and Slovakia (EC-13)” and “Case T-624/15 relating to the Application for Annulment of the European
Commission Decision of 30 March 2015 in Case SA 38517 (Arbitral Award of Case Micula v. Romania, 11
December 2013).”) See also, Resp. Reply Jur., ¶ 202.
401
    Resp. Obs. Achmea, ¶¶ 2, 3.
402
    Resp. Obs. Achmea, ¶ 5.
403
    Resp. Obs. Achmea, ¶ 6.
404
    Resp. Obs. Achmea, ¶ 8.

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288.     In any event, Respondent takes the view that the application of the principles set forth in
         the cases relied upon by Claimants, in particular those referring to intra-EU BITs and the
         decision in Electrabel, 413 supports the conclusion that EU Law must be applied. 414

289.     In this context, Spain has argued that:

         "     A comparison of the object and purpose of the ECT and the EU Treaties leads to
               the conclusion that the latter prevail, by virtue of Articles 30 and 59 of the
               VCLT. 415 For Respondent, especially after the 2007 Treaty of Lisbon, which
               “expressly gathers competence in favour of the EU over foreign investment,” it is
               unquestionable that EU Law prevails over the ECT in application of the lex
               posteriori principle in Article 59 of the VCLT. 416

         "     It is “impossible” to sustain that the rights afforded to investors under Article 10(1)
               of the ECT are “different or superior” or “in addition” to those granted to them
               under EU Law. 417

         "     The contention that the ECT offers investors an additional right not afforded by
               EU Law, namely, arbitration of investment disputes, overlooks that Article 26 of
               the ECT also refers to national courts as a suitable dispute resolution mechanism
               and assumes without evidence that arbitration is superior. The argument,
               Respondent says, reflects a complete lack of confidence in the EU judicial system
               incompatible with EU Law. 418

         "     While the tribunal in Electrabel did not find any inconsistency between the ECT
               and EU Law, such inconsistency does exist if Article 26 of the ECT is extended to
               intra-EU disputes. This is more serious in the ICSID context, Spain argues,
               because an ICSID award is not subject to appeal, which prevents the CJEU from
               weighing in on matters that are within its strict powers. 419

                b. Claimants’ Position

290.     Claimants oppose Respondent’s objection.



413
    RL-001, Electrabel S.A. v. Republic of Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction,
Applicable Law and Liability (30 November 2012) (hereinafter “Electrabel”)
414
    Resp. Reply Jur., ¶ 204.
415
    Resp. Reply Jur., ¶ 214; RL-023, Vienna Convention on the Law of Treaties, 23 May 1969, published in the
Official State Gazette on 17 June 1980 (hereinafter “VCLT”).
416
    Resp. Reply Jur., ¶ 214.
417
    Resp. Reply Jur., ¶¶ 215-216.
418
    Resp. Reply Jur., ¶ 217.
419
    Resp. Reply Jur., ¶ 221.

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         includes land, internal waters and the territorial sea;” and it is undisputed that the plants
         and measures at issue in this case are located or took place in Spain. 429 As the decisions
         in PV Investors and Charanne held:

                “The phrase ‘in the Areas of the former [Contracting Party]’ in Article
                26(1) of the ECT refers to a particular dispute initiated by the investor. If
                the investor commences arbitration against a member state of the EU
                (rather than against the EU itself) then ‘Area’ means ‘with respect to a
                state that is a Contracting Party’ the territory of that particular member
                state, in accordance with the first sentence of Article 1(10). In other
                words, the relevant area is that of the Contracting Party that is party to
                the dispute.” 430

295.     Therefore, Claimants argue, there is no question that the Netherlands or Spain can be
         conflated with the EU for Article 26(1) of the ECT purposes. 431 To the contrary, the
         ordinary meaning of Article 26 of the ECT leads clearly and unambiguously to the
         opposite conclusion. 432

296.     As to Respondent’s attempt to rely on other provisions of the ECT to support this
         objection, Claimants argue that:

         "     The contentions based on the definitions of REIO Article 1(3) and of “Area” in
               Article 1(10) are a “detour.” 433 Claimants submit that (i) recognizing the “Area”
               of the EU as a REIO does not negate the existence of the “Areas” of each of the
               EU Member States; 434 (ii) Article 1(3) does not define the extent of the EU’s
               competence; 435 (iii) Article 1(3) in fact affirms the primacy of the ECT, as it
               recognizes that matters under the treaty “are governed by” the ECT; 436 (iv) “the
               natural and most straightforward interpretation of Arts. 1(2), 1(3) and 1(10) of the
               ECT, which gives them full effet utile, is that a claim under Art. 26 of the ECT can
               be brought against a REIO such as the EU or the applicable Member State,



429
    Cl. C-Mem. Jur., ¶ 20; CL-001 / RL-055, ECT, Art. 1(10).
430
    Cl. C-Mem. Jur., ¶ 23 (quoting CL-134, PV Investors, ¶ 179); Cl. C-Mem. Jur., ¶ 24 (referring to RL-088,
Charanne, ¶ 431). See also, Cl. Rej. Jur., ¶ 24.
431
    Cl. Bif., ¶ 40.
432
    Cl. Rej. Jur., ¶ 32.
433
    Cl. Rej. Jur., ¶ 22.
434
    Cl. Rej. Jur., ¶ 23.
435
    Cl. Rej. Jur., ¶ 25.
436
    Cl. Rej. Jur., ¶ 25.

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         occasions to ensure that a treaty did not apply in the intra-EU context, including in
         treaties signed prior to the ECT or that were being negotiated in parallel with the ECT;448
         (ii) when the ECT Contracting Parties wished to restrict the effect of the ECT they did so
         expressly, for example in the declarations relating to the Svalbard Treaty, and in the EU
         statement in the context in Article 26(3)(b)(ii) restricting its consent in a “fork-in-the-
         road” situation when the dispute had already been submitted to the CJEU; 449 (iii) the EC
         considered including a disconnection clause in the ECT and this proposal was ultimately
         not accepted; 450 and (iv) the tribunals in Charanne and RREEF have rejected the
         existence of an implicit disconnection clause. 451

299.     Claimants contend that the EC Written Submission in this case provides no answer on
         these points, 452 and argued in the Rejoinder on Jurisdiction that neither the EC, nor Spain
         had been able to produce any contemporaneous evidence or a subsequent agreement
         showing that the intent of the ECT was to exclude intra-EU disputes. 453

300.     As to Spain’s assertion that its argument is not that the ECT contains a disconnection
         clause, because such clause was superfluous, Claimants observe that the issue remains the
         same whether the question is the existence of a disconnection clause, or the lack of
         necessity of one: had the ECT Contracting Parties sought to carve out intra-EU disputes
         from Article 26, they would have included express language, and they did not. 454

301.     Responding to the contention that a disconnection clause is only needed where the
         application of EU Law between EU Member States affects third parties’ rights or
         obligations, or where derogation from a provision would be incompatible with the object
         and purpose of the treaty, Claimants submit that “derogating to such an enormous extent




448
    Cl. Bif., ¶ 42; Cl. C-Mem. Jur., ¶ 32.
449
    Cl. C-Mem. Jur., ¶¶ 30-31.
450
    Cl. C-Mem. Jur., ¶ 35, n. 31.
451
    Cl. C-Mem. Jur., ¶¶ 33-34 (quoting RL-088, Charanne, ¶ 437; CL-135, RREEF, ¶¶ 86-89).
452
    Cl. Rej. Jur., ¶ 38.
453
    Cl. Rej. Jur., ¶ 40.
454
    Cl. Rej. Jur., ¶ 37.

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                the ECT (Part V) and to invoke the substantive protections of Part III, which they
                consider more favourable to them than EU Law, pursuant to Article 16 of the ECT
                “nothing in EU Law ‘shall be construed to derogate from’ these provisions of the
                ECT.” 463

304.     For Claimants, the arguments advanced by Respondent and the EC on the basis of the
         object and purpose of the ECT, and the circumstances of its conclusion are also
         unconvincing. 464

305.     Relying on Article 32(a) of the VCLT, Claimants first contention is that because the text
         of the ECT is clear, and it does not lead to manifestly absurd or unreasonable results,
         there is no room to resort to supplementary means of interpretation “including the
         preparatory work of the treaty and the circumstances of its conclusion.” 465

306.     As to the object and purpose, while Claimants acknowledge that Article 31(1) of the
         VCLT provides that the ECT must be interpreted “in the light of its object and purpose,”
         they argue that (i) such object and purpose must rest on more than speculation; and (ii)
         the VCLT makes a choice in favor of an objective and textual interpretation over a
         subjective one based on the intention of the parties. 466 Moreover, for Claimants, nothing
         in Article 2 of the ECT (on the object and purpose of the treaty), suggests that the ECT
         provisions are waived intra-EU. 467 In fact, Claimants argue, the application of the ECT
         intra-EU facilitated the ECT’s object and purpose, as it offered companies investing in
         Eastern Europe continuity of protection for investments in that region, as many of those
         countries acceded to the EU later. 468

307.     Claimants also argued in the Rejoinder on Jurisdiction that there was no evidence
         showing that EU Member States share the position that the ECT did not produce effects
         intra-EU; a position that Spain adopted opportunistically in the face of numerous treaty



463
    Cl. Rej. Jur., ¶¶ 50-52; CL-001 / RL-055, ECT, Art. 16.
464
    Cl. Rej. Jur., ¶ 53.
465
    Cl. Rej. Jur., ¶ 55.
466
    Cl. Rej. Jur., ¶¶ 56-57.
467
    Cl. Rej. Jur., ¶ 59.
468
    Cl. Rej. Jur., ¶ 61.

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         and in any event, the alleged lack of competence would not be manifest, as shown by the
         lack of evidence to that effect contemporaneous with the negotiation and conclusion of
         the ECT. 481 Moreover, even if there was any ground under Article 46, it would have
         been waived under Article 45(b) of the VCLT because Spain never questioned the
         validity of its consent in Article 26 of the ECT until the recent arbitrations, and has not
         event sought to terminate intra-EU BITs. 482

316.     Contrary to Spain’s contentions, Claimants further argue that “nothing in EU law
         prohibits EU Member States from consenting to arbitrate disputes with EU investors
         under an investment treaty,” and that is so “even where those cases involve questions of
         EU law.” 483

317.     Noting that Spain’s argument rests on Article 344 of the TFEU, Claimants point out that
         prior arbitral tribunals have already concluded that “Article 344 TFEU, […] applies only
         to disputes involving two or more EU member states but does not prohibit the submission
         of disputes between other actors to a different method of settlement not contemplated in
         the EU treaties;” 484 “[t]he scope of Article 344 TFEU cannot be so broad as to prevent
         Member States from submitting any dispute concerning the interpretation of EU treaties
         to a dispute settlement procedure different from those provided in EU legislation;” 485 “it
         cannot be reasonably maintained that Article 344 TFEU sets up an ‘interpretative
         monopoly’ in favour of the CJEU;” 486 there is no inconsistency between the ECT and EU
         Law, and the exclusive jurisdiction of the CJEU does not prevent other courts or tribunals
         from applying EU Law. 487 These conclusions were not altered by the jurisprudence of
         the CJEU; 488 nor can the EC’s own self-serving declaration in the context of the



481
    Cl. Rej. Jur., ¶ 75.
482
    Cl. Rej. Jur., ¶ 76.
483
    Cl. C-Mem. Jur., ¶¶ 38, 46. See also, Cl. Rej. Jur., § III(4)(B).
484
    Cl. C-Mem. Jur., ¶ 39 (quoting CL-134, PV Investors, ¶ 189).
485
    Cl. C-Mem. Jur., ¶ 40 (quoting RL-088, Charanne, ¶ 444).
486
    Cl. C-Mem. Jur., ¶ 41 (quoting CL-135, RREEF, ¶ 80). See also, Cl. Rej. Jur., ¶ 81 (quoting CL-176, CSP, ¶
164).
487
    Cl. Bif., ¶ 26; Cl. C-Mem. Jur., ¶¶ 42-43 (referring to RL-001, Electrabel)
488
    Cl. Rej. Jur., ¶ 79.

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         International Energy Charter Treaty in May 2015 provide any evidentiary support to this
         objection, as it was issued 20 years after the ECT’s conclusion. 489

318.     Moreover, Claimants point out that Spain and the EC accept that national courts and
         arbitral commercial tribunals apply EU Law without violating Article 344 of the TFEU,
         and there is no reason to treat investment treaty arbitration differently. 490

319.     According to Claimants, all the arguments based on the alleged primacy of EU Law over
         the substantive protections of the ECT are, at best, relevant to the analysis of the merits,
         but have no bearing on jurisdiction. 491 In any event, they are misplaced because there is
         no conflict in this regard between the ECT and EU Law, and should there be one, the
         ECT would prevail. 492 The conflict of law rule in Article 351 of the TFEU (former
         Article 307 of the TEC) does not give priority to EU Law over the ECT, because the ECT
         is the later in time treaty: Article 351 only concerns rights and obligations in agreements
         concluded prior to 1 January 1958 or for acceding States, prior to their accession to the
         EU, and the ECT was concluded in 1994 and in force in 1998 after Spain acceded to the
         EU in 1986. 493 Instead, should the Tribunal find a conflict, it should resolve it by straight
         application of Article 16 of the ECT. 494

320.     Lastly, Claimants assert that “the ECT, and in particular its Art[icle] 26, has been neither
         modified nor superseded by the provisions of later EU Treaties under either of Art[icles]
         41 or 30 of the VCLT; nor did the Treaty of Lisbon lead to the termination of the ECT
         pursuant to Art[icle] 59 of the VCLT.” 495 Claimants explain that:



489
    Cl. Rej. Jur., ¶ 79.
490
    Cl. Rej. Jur., ¶¶ 80-81.
491
    Cl. Rej. Jur., ¶¶ 82-83. See also, Cl. Bif., ¶¶ 50-51. In their Observations on Bifurcation, Claimants also
dismissed Respondent’s references to the investigation of the Spain measures by the EC under the State Aid regime
and to the Micula case, arguing that the relevance of these issues to jurisdiction is at best unclear because: (i)
jurisdiction does not depend on ease of enforcement of an award; and (ii) state aid issues should not be confused
with intra-EU issues, so that, even if the EC were to decide that the Spain regime was unlawful under its State Aid
rules, that “is not a bar to jurisdiction but an issue for the merits.” Cl. Bif., ¶ 54.
492
    Cl. Rej. Jur., ¶ 84.
493
    Cl. Rej. Jur., ¶ 87.
494
    Cl. Rej. Jur., ¶ 87.
495
    Cl. Rej. Jur., ¶ 71,

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         against Spain, 504 and in cases involving intra-EU BITs. 505 Claimants also rely on a
         number of commentators supporting the view that the ECT does apply between EU
         Member States. 506 Lastly, Claimants observe that, despite its position in this case, the EC
         has not been uniform in opposing the jurisdiction of tribunals hearing intra-EU
         disputes. 507

322.     As to the Achmea judgment of 6 March 2018 relied upon by Spain, 508 Claimants contend
         that: (i) it concerns a different treaty, a bilateral investment treaty concluded prior to the
         accession of one of the States to the EU and not the ECT which is a multilateral treaty to
         which the EU is a Contracting Party, 509 and (ii) it concerns different applicable law – the
         host State law and other agreements between the State parties to the BIT were part of the
         governing law according to the underlying BIT, and the ICSID Convention did not
         apply. 510 These distinctions, Claimants say, have an important bearing on the analysis
         under the ECT, for various reasons: 511

         "      As the ECT was concluded by the EU and the EU Member States, it was a
                conscious decision by them to assume binding treaty obligations, it does not
                undermine the EU Law principle of mutual trust, and it is binding on them as a
                matter of international law and EU Law. 512



504
    Cl. Bif., ¶¶ 26-27; Cl. C-Mem. Jur., ¶¶ 23-25, 33-34, 38, 42-45 (referring to RL-001, Electrabel; CL-076, EDF
International S.A. v. Republic of Hungary, UNCITRAL Rules (Ad-hoc), GAR Article (11 December 2014); CL-
134, PV Investors; RL-088, Charanne; CL-135, RREEF); Cl. Rej. Jur., ¶ 13 (referring to CL-176, CSP; and CL-
177, Électricité de France (EDF) International S.A. v. Republic of Hungary, PCA Case No. 2009-13, Award (3
December 2014)); Cl. Obs. Eiser, ¶ 2.1; Cl. Obs. Achmea, ¶¶ 1.1-1.2 (referring to CL-195, Novenergía), and ¶¶ 3.5,
3.10 (referring to RL-126, Blusun S.A Jean Pierre Lecrocier and Michael Stein v. Italian Republic, ICSID Case No.
ARB/14/3, Award (27 December 2016) (hereinafter “Blusun”)).
505
    Cl. Bif., ¶¶ 28-35 (referring to CL-072, Eastern Sugar BV v. Czech Republic, SCC Case No. 088/2004, Partial
Award (27 March 2007); CL-073, Achmea (formerly known as Eureko) v. Slovak Republic, UNCITRAL, PCA Case
No. 2008-13, Award on Jurisdiction, Arbitrability and Suspension (26 October 2010); CL-075, Binder v. Czech
Republic, UNCITRAL, Award on Jurisdiction (6 June 2007); CL-074, European American Investment Bank AG v.
Slovak Republic, PCA Case No. 2010-17, Award on Jurisdiction (22 October 2012)).
506
    Cl. Bif., ¶¶ 45-47.
507
    Cl. Bif., ¶ 44 (referring to RL-001, Electrabel; CL-084, AES Summit Generation Limited and AES-Tisza Erömü
Kft. v. Republic of Hungary, ICSID Case No. ARB/07/22, Award (23 September 2010) (hereinafter “AES”).
508
    RL-125, Achmea.
509
    Cl. Obs. Achmea, ¶¶ 2.1, 2.6.
510
    Cl. Obs. Achmea, ¶ 2.6.
511
    Cl. Obs. Achmea, ¶ 2.7.
512
    Cl. Obs. Achmea, ¶ 2.8.

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         "       The Achmea judgment does not apply to treaties to which the EU is a Contracting
                 Party, such as the ECT. 513

         "       The CJEU interpreted that the BIT at issue in Achmea required the application of
                 the EU Treaties, because the governing law clause included “any other relevant
                 Agreements between the Contracting Parties” and the host-State law. By contrast,
                 Article 26(6) of the ECT expressly requires the Tribunal to resolve the dispute
                 according to international law and the ECT; and it does not require the Tribunal to
                 interpret the EU Treaties or EU Law. 514 In addition, the claims in this case
                 concern violation of Article 10(1) of the ECT, not whether Spain violated EU Law
                 provisions; 515 and the legal character of the claims is not altered even if incidental
                 points of EU Law might arise. 516

         "       Both Spain and the Netherlands were part of the EU when they entered into the
                 ECT. The two provisions of the EU Treaties which form the basis of the Achmea
                 judgment (Articles 267 and 344 of the TFEU) had their origin in the 1957 Treaty
                 of Rome, and were already binding on Spain and the Netherlands when they
                 entered into the ECT. Neither is new, nor do they amount to a treaty subsequent to
                 the ECT. While the Lisbon Treaty changed the title of the EU Treaty to the TFEU
                 and amended some aspects of it, that does not make it lex posteriori to the ECT.517
                 Thus, when entering into the ECT: the EU and its Member States did not consider
                 themselves in contravention of now Article 344 of the TFEU; in the event of
                 inconsistency, according to Article 16(2) of the ECT, the ECT prevails over the
                 EU Treaties; and since Article 344 of the TFEU is not a new treaty conflicting with
                 an earlier treaty, the ECT is the lex posteriori. 518

323.     But, Claimants argue, even if Spain had demonstrated an inconsistency between EU Law
         and the ECT in light of the Achmea judgment, the ECT would prevail. 519 The alleged
         principle of primacy of EU Law is an internal EU Law principle reflecting supremacy of
         EU Law over the law of the EU Member States, and it does not alter the hierarchy of the
         ECT over EU Law established by virtue of Article 16(2) of the ECT and customary
         international law. 520 If the Tribunal concludes that the ECT and the TFEU cover the
         same subject matter, Article 16(2) of the ECT must be applied; if the Tribunal concludes

513
    Cl. Obs. Achmea, ¶¶ 2.11-2.12.
514
    Cl. Obs. Achmea, ¶ 2.13. Claimants argue that, in light of that express choice in Article 26(6), the Tribunal does
not have to reach the second sentence of Article 42(1) of the ICSID Convention. Cl. Obs. Achmea, ¶ 2.13.
515
    Cl. Obs. Achmea, ¶ 2.14.
516
    Cl. Obs. Achmea, ¶ 2.15.
517
    Cl. Obs. Achmea, ¶ 2.16.
518
    Cl. Obs. Achmea, ¶ 2.16.
519
    Cl. Obs. Achmea, ¶¶ 2.3, 2.17-2.23.
520
    Cl. Obs. Achmea, ¶ 2.18.

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                 interpretation deprives Article 1(3) and 1(10) of effet utile, and encourages
                 “respondent shopping,” prohibited by ECT. 527

         "       The Nature of Multilateral Agreements. A multilateral agreement to which both
                 the EU and its Member States are a party is EU Law, and the CJEU is in general
                 competent to interpret it, except if the provision is exclusively within the
                 competence of the EU Member State. 528 In negotiating these agreements, the EU
                 and its Member States are bound by the principle of unity of EU Law, 529 and in the
                 case of the ECT they acted like a single block. 530

         "       The Object and Purpose. The historical process that led to the ECT makes clear
                 that its objective was to create an international framework for cooperation in the
                 energy sector between the EU, and Russia, the CIS and Central and Eastern
                 Europe. Also, when created, the ECT was perceived as a part of the EU external
                 energy policy and was never intended to influence the internal energy policy.531
                 The object and purpose of the ECT reflect that all the ECT Contracting Parties
                 understood that the EU Member States did not intend to create inter se obligations
                 in areas for which they retained competence. 532

         "       Disconnection clauses were used in international treaties where the EU would not
                 become a Contracting Party, to serve as a “reminder” of its existence. But that is
                 completely different in international treaties where EU is a party, and is explicitly
                 recognized in its role as REIO, such as the ECT. There, all Contracting Parties
                 were fully aware of the specificities of the EU legal order. 533 Further, Claimants’
                 argument on the disconnection clause relies on academic articles unsupported by
                 the sources that they cite. 534

326.     But even if the ECT had created intra-EU obligations, which the EC denies, such
         obligations would not comprise the provisions on investment protection in Part III of the
         ECT or the dispute settlement provision in Article 26, because EU Member States had
         transferred to the EU competence on those subjects. 535 Pursuant to Article 64 of the ILC
         Articles on Responsibility of International Organizations and case law, the principal law
         applicable for determining the extent of the international obligations and international


527
    EC Written Submission, ¶¶ 24-25.
528
    EC Written Submission, ¶ 29.
529
    EC Written Submission, ¶ 31.
530
    EC Written Submission, ¶ 33.
531
    EC Written Submission, ¶¶ 41-42.
532
    EC Written Submission, ¶ 45.
533
    EC Written Submission, ¶ 50.
534
    EC Written Submission, ¶¶ 47-49.
535
    EC Written Submission, ¶¶ 13, 53. See also, id., ¶ 93.

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         liability of EU Member States is “liability follows competence.” 536                   For the EC,
         “protection and promotion of investments in other Member States, as well as energy, fall
         into the external competence of the Union.” 537 Further, an inter-se investment protection
         treaty between EU Member States “might affect common rules or alter their scope,” that
         is, the EU system of investment protection. 538 As such, pursuant to Article 3(2) of the
         TFEU, EU Member States did not have the external competence to conclude such type of
         treaty. 539

327.     EU Member States are presumed to be aware of the rules governing distribution of
         competences; and the ECT recognizes that the EU Member States had transferred
         competences to the EU on matters covered by ECT.                      Accordingly, all the ECT
         Contracting Parties were aware of the existence of the distribution of liability. 540 As a
         result, the ECT provisions on investment promotion and protection bind the EU, but not
         the EU Member States inter-se. 541

328.     Should the Tribunal consider that the ECT is ambiguous with respect to the question of
         intra-EU obligations, the EC argues, it should favour an interpretation that does not
         conflict with EU Law, namely, that the ECT does not apply between EU Member States
         at all, or at least that Part III and Article 26 do not apply between them. 542

                  b. Spain’s Offer to Arbitrate Is Not Valid

329.     According to the EC, even if Spain had made an offer to arbitrate to intra-EU Investors,
         that offer would not be valid because: (i) it would violate EU Law, which prevails over
         the ECT in the event of conflict pursuant to Article 351 of the TFEU; 543 and (ii) that offer



536
    EC Written Submission, ¶ 58.
537
    EC Written Submission, ¶ 65.
538
    EC Written Submission, ¶ 80.
539
    EC Written Submission, ¶ 81. Awards and academic writings taking the opposite view are flawed, in that they
consider that the EU Member States internal competence for the internal market is a “shared competence” with the
EU. EC Written Submission, ¶ 83.
540
    EC Written Submission, ¶¶ 87, 89-90.
541
    EC Written Submission, ¶ 94.
542
    EC Written Submission, ¶ 95.
543
    EC Written Submission, ¶¶ 97, 98-136.

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         would have been modified or superseded pursuant to Articles 41(1)(b) or 30(4)(a) of the
         VCLT. 544

330.     According to the EC: (i) the intra-EU application of the substantive protections of the
         ECT would violate Article 3(2) of the TFEU, because EU Law provides a complete set of
         rules on investment protection, and the EU Member States did not have competence on
         those matters; 545 and (ii) treaty-based investor-State arbitration of intra-EU disputes
         violates Articles 19(1) of the TEU and Articles 267 and 344 of the TFEU, and the general
         principles of effectiveness and unity of EU Law. 546 Pursuant to those provisions, the EC
         argues, disputes concerning the application of the EU Treaties are to be resolved before
         the CJEU – for disputes involving two Member States, or the national courts – for
         disputes between a private party and EU Member State. 547 Thus, when EU Member
         States create a separate body for dispute resolution that is required to apply EU Law, such
         as Article 26 of the ECT does, they violate Article 344 of the TFEU. 548 Further, for the
         EC, the decisions by investment tribunals holding that Article 344 only applies to
         disputes between EU Member States overlook that national courts are part of the EU
         legal order and can therefore apply EU Law, and miss distinctions between commercial
         arbitration and investment arbitration. 549

331.     The EC goes on to add that, having identified a conflict with EU Law, the applicable
         conflict rule would be Article 351 of the TFEU, pursuant to which the ECT provisions
         incompatible with EU Law (i.e. Part III and Article 26) would become inapplicable. 550
         But even if the matter were to be analyzed under the general rules of conflict in the




544
    EC Written Submission, ¶¶ 97, 137-145.
545
    EC Written Submission, ¶¶ 104-106.
546
    EC Written Submission, ¶¶ 107-129.
547
    EC Written Submission, ¶ 109.
548
    EC Written Submission, ¶¶ 110, 120. In the alternative, the EC urged that the Tribunal stayed this proceeding
until the CJEU judgement in Achmea on this point was rendered; or in the further alternative, to refer this matter to
the CJEU. EC Written Submission, ¶¶ 127, 129. Claimants opposed. Cl. Rej. Jur., ¶¶ 140-151. No stay took place.
The Achmea judgement was rendered during the pendency of this proceeding. See supra, ¶ 82.
549
    EC Written Submission, ¶¶ 111-118.
550
    EC Written Submission, ¶ 135.

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333.     The Tribunal wishes to approach the issue taking into account earlier cases where
         tribunals have upheld jurisdiction under Article 26 of the ECT, 558 as well as the Achmea
         judgment rendered by the CJEU, 559 which marked a turning point in the on-going debate
         surrounding the compatibility of intra-EU investment agreements with EU Law, since it
         found investor-State arbitration clauses in intra-EU BITs to be incompatible with EU
         Law.

334.     Despite the notable difference that in Achmea, the CJEU was asked to determine the
         lawfulness of an intra-EU bilateral investment treaty, the Tribunal is mindful that the
         Achmea judgment is also discussed in the context of the investor-State arbitration
         mechanism established under the ECT. 560

335.     Respondent has objected to the Tribunal’s jurisdiction on the basis that the dispute
         resolution mechanism set forth in Article 26 of the ECT does not apply to controversies
         arising between an investor of the EU and another EU Member State. These objections
         are in line with the observations expressed by the European Commission in its EC
         Written Submission, which takes the view that the ECT does not create inter se
         obligations among EU Members States and that a correct application of the principles of
         supremacy and autonomy of EU Law render Spain’s offer to arbitrate invalid.

336.     From the outset, the Tribunal wishes to recall that consent to jurisdiction in international
         adjudication must be established. In this respect, the Tribunal does not believe that the
         jurisdiction of a tribunal is bounded by the way in which a claimant may decide to frame
         its claims. It is not because an investor has solely based its claim on the ECT that the
         Tribunal will retain its jurisdiction. The principle of compétence de la compétence



558
    RL-088, Charanne; CL-134, PV Investors; CL-135, RREEF; Eiser (submitted to the record on 30 May 2017
with no RL- designation); CL-195, Novenergía; RL-001, Electrabel.
559
    RL-125, Achmea.
560
     RL-127, Declaration of the Representatives of the Governments of the Member States on the Legal
Consequences of the Judgment of the Court of Justice in Achmea and on Investment Protection in the European
Union, 15 January 2019; R-128, Declaration of the Representatives of the Governments of the Member States on the
Legal Consequences of the Judgment of the Court of Justice in Achmea and on Investment Protection in the
European Union, 16 January 2019; R-129, Declaration of the Representatives of the Government of Hungary on the
Legal Consequences of the Judgment of the Court of Justice in Achmea and on Investment Protection in the
European Union, 16 January 2019.

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           requires an arbitral tribunal to establish the extent and limits of its jurisdiction
           objectively, on the basis of the title of jurisdiction that is conferred to the said tribunal.

337.       In this case, a correct exercise of the principle of compétence de la compétence, requires
           the Tribunal to look into the terms of the ECT, and in particular into the terms of Article
           26 setting up the dispute resolution mechanisms.

338.       In light of the objections put forward by Respondent, the Tribunal finds it pertinent to
           address the issue of jurisdiction through the following questions: the first question is
           whether the ECT applies to relations inter se of EU Member States and whether the ECT
           Contracting Parties intended to carve out and exclude jurisdiction over intra-EU disputes
           (a); the second question is whether the subsequent overlap that may exist between the
           ECT and EU Law regarding investment operations rendered Spain’s offer to arbitrate
           invalid (b).

                   a. Whether the ECT Excludes Inter Se Obligations Among EU Member
                      States?

339.       Respondent contends that the present Tribunal lacks jurisdiction to hear intra-EU disputes
           because Article 26(1) of the ECT implies that the Parties must be of different nationalities
           and that in the present case, the diversity requirement fails since both Parties are from the
           European Union.        Thus, Respondent objects to the Tribunal’s jurisdiction because
           Claimants are not from “another Contracting Party” as required by Article 26.

340.       In particular, Respondent relies on Article 1(3) of the ECT defining a REIO as “an
           organization constituted by states to which they have transferred competence over
           certain matters a number of which are governed by this Treaty, including the authority to
           take decisions binding on them in respect of those matters,” as well as Article 1(10)
           defining the term “Area” of a REIO as “the Areas of the member states of such
           Organization, under the provisions contained in the agreement establishing that
           Organization.” 561




561
      CL-001 / RL-055, ECT, Art. 1.

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341.       It is true that the very dynamic nature and rapid evolution of EU Law may complicate the
           interpretation of treaties such as the ECT, and that a harmonious interpretation remains
           the most effective tool to avoid a conflict among the two sets of norms. But, for the
           purpose of establishing jurisdiction, the Tribunal remains bounded by the explicit terms
           of the relevant Treaty (i.e. the ECT), with due regard to its object and purpose in
           accordance with the VCLT.

342.       The Tribunal cannot infer from the terms of Articles 1(3) and (10) of the ECT that the
           Contracting Parties intended to exclude intra-EU investment operations from the
           jurisdiction of investment tribunals. The fact that the EU is a Contracting Party to the
           ECT did not deprive the EU Member States of their competence to enter into obligations
           under the ECT at the time of its conclusion. Therefore, in absence of a disconnection
           clause and a revision of the ECT by the Contracting Parties, the Tribunal cannot conclude
           that presence of the EU as REIO consenting to the provisions of the ECT would
           supersede the consent given by each EU Member State individually to the ECT. Rather,
           a good faith interpretation of the terms of the ECT leads to the conclusion that a REIO,
           such as the EU, may have standing under the ECT in arbitration proceedings. However,
           concluding that Contracting Parties, taken individually, lack standing when the
           investment operation remains in the European Area would go beyond the terms of the
           Treaty.

343.       As explained by the tribunal in Blusun “[t]he inter se obligations in the ECT are not
           somehow invalid or inapplicable because of an allocation of competence that the EC says
           can be inferred from a set of EU laws and regulations dealing with investment. The more
           likely explanation, consistent with the text of the ECT, is that, at the time the ECT was
           signed, the competence was a shared one.” 562       The fact that it ultimately became
           transferred to the EU cannot be used by this Tribunal as an argument to establish or
           decline its jurisdiction alone. The ECT operates among Member States since it was not
           concluded as an agreement between the EU and its Members States but as an ordinary
           multilateral agreement.


562
      RL-126, Blusun, ¶ 283.

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344.       Therefore, the Tribunal concludes that Claimants satisfy the literal requirement as set
           forth in Article 1(7)(a)(ii) to be an investor of a “Contracting Party,” and the terms of the
           ECT do not suggest that the Contracting Parties intended to exclude inter se obligations
           or that an EU investor is precluded from bringing a claim against an EU Contracting
           Party. A follow up question is whether the overlap existing between the ECT and the EU
           Law has rendered Spain’s offer to arbitrate under the ECT invalid.

                   b. Whether the Subsequent Overlap Between the ECT and EU Law
                      Rendered Spain’s Offer to Arbitrate Invalid?

345.       Respondent and the EC argued that Article 26(6) of the ECT directs the Tribunal to apply
           both international and EU Law and that, in the event of conflict, Article 344 of the TFEU
           and EU Law should prevail. Moreover, it was argued that Article 26 of the ECT has been
           superseded by the provisions of later EU treaties under either Articles 41 or 30 of the
           VCLT.

346.       Article 344 of the TFEU provides that “Member States undertake not to submit a dispute
           concerning the interpretation or application of the Treaties to any method of settlement
           other than those provided for therein.” 563

347.       Article 26 of the ECT entitled Settlement of disputes between an Investor and a
           Contracting Party states in its relevant parts:

                   “(1) Disputes between a Contracting Party and an Investor of another
                   Contracting Party relating to an Investment of the latter in the Area of the
                   former, which concern an alleged breach of an obligation of the former
                   under Part III shall, if possible, be settled amicably. (2) If such disputes
                   cannot be settled according to the provisions of paragraph (1) within a
                   period of three months from the date on which either party to the dispute
                   requested amicable settlement, the Investor party to the dispute may
                   choose to submit it for resolution: […] (6) A tribunal established under
                   paragraph 4 shall decide the issues in dispute in accordance with this
                   Treaty and applicable rules and principles of international law.”564




563
      RL-021 / R-004, TFEU, Art. 344.
564
      CL-001 / RL-055, Art. 26.

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348.       Respondent and the EC have found Article 26 of the ECT to be in contradiction with
           Article 344 of the TFEU. It was argued that in Achmea, the CJEU confirmed this
           approach when it concluded that “Articles 267 and 344 TFEU must be interpreted as
           precluding a provision in an international agreement concluded between Member States,
           such as Article 8 of the BIT [between the Kingdom of the Netherlands and the Czech and
           Slovak Federative Republic] […].” 565 According to the CJEU, Article 267 TFEU has
           been breached because an arbitral tribunal is not a court which belongs to one of the court
           systems of the Member States, which means that the Member States have given the
           competence to interpret EU Law to a court other than the CJEU.

349.       The present Tribunal is not empowered to decide whether a dispute submitted by a
           European investor against a European State under the ECT falls under Article 344 or is in
           breach of Article 267 of the TFEU. The task of this Tribunal is to determine whether
           such dispute falls under the provisions of the ECT. Likewise, it is not the task of this
           Tribunal to determine whether the scope of this dispute concerns the application of the
           TFEU, but rather whether such dispute concerns the application of the substantive
           provisions of the ECT.

350.       If the Tribunal were to follow the approach of the EC and Respondent and treat the
           present dispute as an “internal dispute,” it would mean that EU Law is applicable for the
           purpose of jurisdiction.   However, the ECT and – in particular Article 26 – is the
           instrument governing the present Tribunal’s jurisdiction as well as Article 25 of the
           ICSID Convention. Therefore, through the dispute settlement mechanism of the ECT
           “this Tribunal is placed in a public international law context and not a national or
           regional context.” 566 The intra-EU nature of the parties does not by itself make the
           present dispute into a purely European one.

351.       Although the Tribunal understands that in the present case, EU Law may find application,
           it cannot state that overlap between the two sets of rules strips the present dispute of its
           international aspects. In other words, the Tribunal cannot infer its own competence – or


565
      RL-125, Achmea, ¶ 60.
566
      RL-001, Electrabel, ¶ 4.112.

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           incompetence – from the principle of primacy of EU Law over the ECT for intra-EU
           disputes. The fact that there may exist a partial overlap between the two set of rules on
           the merits (such as FET and Fundamental Freedoms), cannot, for the purpose of
           jurisdiction, be resolved in favour of EU Law. This is because the questions pertaining to
           the Tribunal jurisdiction must be answered in light of Article 26 of the ECT.

352.       Respondent and the EC have further argued that intra-EU obligations were superseded in
           application of Articles 41(1)(b) of the VCLT on the amendment of a treaty by a later
           treaty, and, that if the Tribunal were to consider that no amendment took place, Article
           30(4)(a) of the VCLT on “application of successive treaties relating to the same subject
           matter” would operate as a rule to resolve a conflict between the two treaties. The
           Tribunal considers that the rule relating to “treaties relating to the same subject matter”
           is not applicable to the present situation where treaties negotiated by a smaller number of
           States, i.e., the EU founding Treaties, are claimed to modify a treaty such as the ECT.
           These treaties do not “relate to the same subject matter” in the sense of Article 30.567
           Moreover, the Tribunal has had no evidence placed before it that would demonstrate that
           the subsequent EU Treaties were amending the ECT for the purpose of Article 41(1)(b)
           of the VCLT.

353.       The Tribunal notes in this regard that the CJEU in its Achmea judgment did not rely on
           the aforementioned articles of the VCLT to resolve the alleged conflict between the intra-
           EU BIT and EU Laws.

354.       The Tribunal notes that the internal constitutional laws of the EU and its constant changes
           and interpretations by the CJEU, as the Member States seek to minimize their mutual
           obligations in another context, are of no relevance for the present Tribunal.

355.       In the Tribunal’s view, “the ECT’s genesis generates a presumption that no contradiction
           exists between the ECT and EU law,” 568 and as a consequence, the Tribunal cannot
           retroactively construe Spain’s offer to arbitrate under the ECT as invalid.



567
      RL-023, VCLT, Art. 30.
568
      RL-001, Electrabel, ¶ 4.134.

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359.     Spain contends that it has not consented to arbitration of this claim, given that Article 26
         of the ECT only concerns claims for violation of Part III of the Treaty, and pursuant to
         Article 21 of the ECT, Article 10(1) (although located in Part III) does not give rise to
         obligations in connection with tax measures. 572                Respondent explains that “if no
         obligation derived from [P]art III of the ECT exists, there can be no alleged breach of it,
         and, thus, there is no consent of the Contracting Party to resort to arbitration and the
         Arbitral Tribunal lacks jurisdiction to hear the issue.” 573

360.     Spain explains that Article 21 of the ECT contains a general exclusion of taxation
         measures from the scope of the ECT (the “taxation carve-out”), with a few exceptions
         specifically listed in the same Article. 574 None of those exceptions, Respondent says,
         refers to Article 10(1) of the ECT. 575

361.     The TVPEE is a “Taxation Measure” within the meaning of Article 21(7)(a) of the ECT,
         according to which the term includes: “(i) any provision relating to taxes of the domestic
         law of the Contracting Party or of a political subdivision thereof or a local authority
         therein; […].” 576     Spain notes that Law 15/2012 is a law passed by the Spanish
         Parliament and is thus part of its domestic law, and argues that the provisions concerning
         the TVPEE are “relating to taxes.” 577

362.     In Spain’s view, the law governing the determination of whether a provision is relating to
         taxes is the domestic law of the Contracting Party to the ECT. 578 This is supported by (i)
         the wording of Article 21(7)(a)(i) of the ECT, and (ii) the Netherlands-Spain double
         taxation treaty, which must be taken into account pursuant to Article 31(3)(c) of the
         VCLT. 579     That said, Respondent argues that, even if the Tribunal concluded that



572
    Resp. Mem. Jur., ¶¶ 16, 171-174, 177, 184-185, 207.
573
    Resp. Mem. Jur., ¶ 182. See also, Resp. Reply Jur., ¶ 357.
574
    Resp. Mem. Jur., ¶¶ 186-187.
575
    Resp. Mem. Jur., ¶ 194.
576
    Resp. Mem. Jur., ¶¶ 199-200; Resp. Reply Jur., ¶¶ 248-315; CL-001 / RL-055, ECT, Art. 21(7)(a)(i).
577
    Resp. Mem. Jur., ¶¶ 202-203, 206, 207(i); Resp. Reply Jur., ¶¶ 261-262.
578
    Resp. Reply Jur., ¶¶ 249-250, 258.
579
    Resp. Reply Jur., ¶¶ 251, 254-255.

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         international law governs this question due to Article 26(6) of the ECT, the conclusion
         will be the same: the TVPEE is a tax.580

363.     Under domestic law, Spain maintains, there can be no doubt that the TVPEE is a tax, as
         ratified by the Constitutional Court itself. 581 It follows clearly from the text of Article 1
         of Law 15/2012 that the TVPEE is a “direct tax on the performance of the activities of
         production and incorporation into the electrical system of electrical energy in the
         Spanish electrical system.” 582 This is confirmed by Article 2 of Law 58/2003 on General
         Taxation. 583 The TVPEE is a tax of general application that covers both renewable and
         ordinary generation facilities; its tax base is the total amount received for the production
         of electrical energy and its introduction into the grid in the taxable period; the rate is 7%;
         the taxable period is generally the calendar year; and the tax is accrued on the last day of
         the period. 584 It is also deductible from corporate tax.585

364.     There can also be no doubt that the TVPEE is a tax from the perspective of international
         law, Spain argues. 586 It fits within the concept of tax developed by arbitral decisions
         because: it is established by law, and it imposes an obligation on a class of people to pay
         money to the State for public purposes. 587 In addition, the EC has confirmed both that it
         is a tax, and that it conforms with EU Law. 588

365.     Respondent takes the view that the above is sufficient to conclude that the TVPEE is a
         tax, without engaging in an additional analysis of its economic effects and the good faith




580
    Resp. Reply Jur., ¶¶ 257-258.
581
    Resp. Reply Jur., ¶¶ 263, 273.
582
    Resp. Reply Jur., ¶ 264.
583
    Resp. Reply Jur., ¶ 265.
584
    Resp. Reply Jur., ¶ 266.
585
    Resp. Reply Jur., ¶ 270.
586
    Resp. Reply Jur., ¶ 278.
587
    Resp. Reply Jur., ¶¶ 279, 280-302.
588
    Resp. Reply Jur., ¶¶ 279, 303-315.

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         of the measure. 589 In any event, Respondent contends that the TVPEE is a bona fide
         taxation measure, arguing that: 590

         "      Contrary to Claimants’ contentions, the TVPEE is not discriminatory: it is of
                general application to both renewable and conventional producers, and grants the
                same treatment to both. 591

         "      There is no discrimination between conventional and renewable producers in terms
                of “repercussion,” that is, the possibility to transfer the amount of the tax by the
                payer to another person. 592 Being a direct tax, there is no “legal repercussion” in
                connection with the TVPEE. 593 There is also no discrimination from the
                perspective of “economic repercussion,” because the costs of this tax on renewable
                energy producers are remunerated to them under the applicable regulatory regime,
                so its effect on them is neutralized. 594

         "      The TVPEE’s objective is to raise revenue for the State for public purposes. It is
                an income integrated into the State’s general budget, and it is allocated to finance
                the costs of the electricity system. 595 It does not seek to carry out a disguised tariff
                cut, as shown by the fact that its effects on renewable energy producers is
                neutralized. 596

366.     Respondent also points out that various tribunals have already upheld objections to
         jurisdiction over claims arising out of violation of Article 10(1) of the ECT resulting from
         the TVPEE, finding that the TVPEE is a “Taxation Measure” for purposes of the ECT. 597

                 b. Claimants’ Position

367.     Claimants contend that the objection based on the exclusion in Article 21 of the ECT is
         not a matter of jurisdiction. 598 For Claimants, the contention that Article 21 of the ECT




589
    Resp. Reply Jur., ¶¶ 317-321.
590
    Resp. Reply Jur., ¶¶ 245, 322-356.
591
    Resp. Reply Jur., ¶¶ 323-326.
592
    Resp. Reply Jur., ¶¶ 337-351.
593
    Resp. Reply Jur., ¶¶ 340-343.
594
    Resp. Reply Jur., ¶¶ 344-346.
595
    Resp. Reply Jur., ¶¶ 352-354.
596
    Resp. Reply Jur., ¶ 356.
597
    Resp Obs. Eiser, ¶ 7 (discussing Eiser); Resp. Obs. Achmea, ¶¶ 35-38 (discussing CL-195, Novenergía).
598
    Cl. C-Mem. Jur., ¶ 83.

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         excludes the consent in Article 26 improperly seeks to read into the later provision a
         specific exclusion to the ECT’s dispute settlement mechanism, which is not there. 599

368.     Claimants acknowledge that Article 21 of the ECT “does not directly include ‘Taxation
         Measures’” within the scope of Article 10(1) of the ECT, but argue that the TVPEE can
         be one of the Disputed Measures in this case because: (i) it is an ad valorem charge on
         gross revenue, and the functional equivalent a tariff cut as acknowledged by the
         Government, not a tax on “income or capital” within the meaning of Article 21(3) of the
         ECT; 600 and (ii) even if the TVPEE were considered to be a tax, because it is not a tax on
         income or on capital, pursuant to Article 21(3) of the ECT it can be assessed under
         Article 10(7) of the ECT – the MFN Clause –, which applies to “Taxation Measures.” 601
         According to Claimants, the tribunals that have addressed the issue of jurisdiction over
         the claims arising out of the TVPEE have not considered these same arguments. 602

369.     Although in their pleadings Claimants answered the Fourth and Fifth Objections together
         as a whole, 603 the present Section addresses the objection pertaining to claims for breach
         of Article 10(1) of the ECT. Claimants’ arguments pertaining to Article 10(7) of the ECT
         are further summarized in Section E(1)b infra.

370.     To support the argument that the TVPEE is just an “ad valorem levy” and not a “tax on
         income or capital,” Claimants point out that: (i) in October 2012, the Ministry of Industry
         acknowledged that Spain could have achieved the same result as the TVPEE through a
         direct tariff cut; (ii) Law 15/2012 does not even describe itself as deriving its validity
         from the Government’s taxation power in Article 66 of the Spanish Constitution, but
         rather from Article 45 concerning environmental protection; and (iii) the ordinary
         meaning of the term “taxes on income” refers to taxes on net income. 604 On this basis,




599
    Cl. C-Mem. Jur., n. 91.
600
    Cl. Mem., ¶ 278; Cl. Mem. Jur., ¶ 86; Cl. Rej. Jur., ¶ 129.
601
    Cl. Mem., ¶ 278; Cl. Mem. Jur., ¶ 89; Cl. Rej. Jur., ¶ 130.
602
    Cl. Obs. Eiser, ¶ 2.2; Cl. Reply Eiser, ¶ 2.1.
603
    Cl. C-Mem. Jur., ¶¶ 83-91; Cl. Rej. Jur., ¶¶ 126-139.
604
    Cl. C-Mem. Jur., ¶¶ 86-87; Cl. Rej. Jur., ¶ 129.

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         with respect to the TVPEE, there can be no breach thereof, and therefore, there is no
         consent. 615

377.     But even if Article 10(7) of the ECT could cover the TVPEE, Spain argues, it could not
         impose MFN obligations in the form intended by Claimants. 616 This is because pursuant
         to Article 21(3)(a) of the ECT, Article 10(7) “shall not apply to: (a) impose most
         favoured nation obligations with respect to advantages accorded by a Contracting Party
         pursuant to the tax provisions of any convention, agreement or arrangement described in
         subparagraph (7)(a)(ii) or resulting from membership of any Regional Economic
         Integration Organization; […].” In turn, Article 21(7)(a)(ii) of the ECT refers to “any
         convention for the avoidance of double taxation or of any other international agreement
         or arrangement by which the Contracting Party is bound.” 617

378.     For Spain, the Uruguay-Spain BIT that Claimants attempt to import via the MFN clause
         is an international agreement to which Spain is bound, within the meaning of Article
         21(7)(a)(ii) of the ECT. To the extent its substantive provisions (including FET) are
         applied to taxes, they are “provisions relating to taxes.” 618 In consequence, Article 10(7)
         of the ECT cannot serve to import protections from the Uruguay-Spain BIT. 619

                 b. Claimants’ Position

379.     As noted earlier, in their pleadings Claimants answered the Fifth Objection together with
         the Fourth. 620      The present section summarizes the arguments pertaining to the
         applicability of Article 10(7) of the ECT, and its consequences. To recall, as mentioned
         in Section D(1)b supra, Claimants’ position is that, even if the TVPEE were considered a
         tax, because it is not a tax on income or capital, it would fall to be assessed within the




615
    Resp. Reply Jur., ¶¶ 363, 381.
616
    Resp. Reply Jur., ¶¶ 384, 390; Resp. Mem. Jur., ¶¶ 211, 216, 219
617
    Resp. Reply Jur., ¶¶ 385-386; CL-001 / RL-055, ECT, Art. 21(3)(a) and Art. 21(7)(a)(ii) (emphasis added).
618
    Resp. Reply Jur., ¶ 387.
619
    Resp. Reply Jur., ¶ 388.
620
    Cl. C-Mem. Jur., ¶¶ 83-91; Cl. Rej. Jur., ¶¶ 126-139.

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         scope of Article 10(7) of the ECT (the MFN Clause), which does apply to “Taxation
         Measures” per Article 21(3) of the ECT. 621

380.     By virtue of Article 10(7) of the ECT, Claimants say, Spain is prevented from applying
         the TVPEE in a de facto discriminatory matter; and the TVPEE indeed discriminates
         against renewable energy producers in favour of conventional energy producers.622
         Pursuant to Article 10(7) of the ECT, Spain is also required to give Dutch investors the
         same treatment that it gives to other foreign investors. Since in other investment treaties
         Spain has agreed to provide Fair and Equitable Treatment (“FET”) in connection with
         taxation, in particular, in the Spain-Uruguay BIT, then Claimants are entitled to the same
         FET, even if the TVPEE is considered a tax. 623

381.     Claimants dismiss Respondent’s allegation that the TVPEE is not covered by Article
         10(7) of the ECT because it is a tax on income or capital. For Claimants, the view that
         Article 10(7) only applies to indirect taxes is not supported by Article 21(3) or Article
         21(7)(b) of the ECT, which draw no distinction. 624 It is also clear that the TVPEE is not
         a tax on income or capital, but rather on gross revenue for the production and
         transmission of electricity. 625

382.     Claimants also counter Respondent’s reliance on Articles 21(3)(a) and 21(7)(a)(ii) of the
         ECT to support the conclusion that Article 10(7) of the ECT cannot impose MFN
         obligations in relation to the TVPEE, thereby preventing importation of the Spain-
         Uruguay BIT. 626 Claimants explain that the purpose of Article 21(3)(a) of the ECT is to
         limit the application of Article 10(7) by saying that “the advantages […] pursuant to the
         tax provisions of any convention, agreement or arrangement described in subparagraph
         (7)(a)(ii) or resulting from membership of any Regional Economic Integration
         Organization” do not extend to the other ECT Contracting Parties via the MFN provision.
         However, the Spain-Uruguay BIT neither contains “tax provisions,” nor it is a
621
    Cl. Mem., ¶ 278; Cl. Mem. Jur., ¶ 89; Cl. Rej. Jur., ¶ 130.
622
    Cl. Mem., ¶¶ 89-90.
623
    Cl. Mem., ¶ 278; Cl. Mem. Jur., ¶ 91.
624
    Cl. Rej. Jur., ¶¶ 133-134.
625
    Cl. Rej. Jur., ¶ 135.
626
    Cl. Rej. Jur., ¶¶ 136-139.

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         (i) and (ii) being especially relevant in this case. 653          Article 10(1) also guarantees
         transparency in actions by the State; and it precludes arbitrary, unfair, unjust,
         idiosyncratic, and discriminatory conduct. 654

395.     Protection of Legitimate and Reasonable Expectations.               Claimants contend that the
         protection of legitimate and reasonable expectations is an integral part of the autonomous
         FET standard, 655 and the revocation of a State’s assurances giving rise to those
         expectations constitutes a breach of the standard. 656 Relying on Plama, Claimants argue
         that the legitimate expectations protected under Article 10(1) “include the conditions that
         were specifically offered by the State to the Investor when making the Investment and that
         were relied upon by the Investor to make its Investment.” 657 And referring to Suez,
         Claimants add that investors are protected when they have “derived reasonable
         expectations from the laws and regulations adopted by the host country, acted in reliance
         upon those laws and regulations and changed their economic position as a result.”658
         They add, however, that the FET standard also protects against “changes in law affecting
         a long-term capital intensive investment (even in the absence of the specific additional
         assurances provided by Spain in this case).” 659

396.     Stability, Consistency and Transparency of the Legal Framework. Claimants also argue
         that FET includes legitimate expectations of a “stable and predictable investment



653
    Cl. Mem. Merits, ¶ 241.
654
    Cl. Reply Merits, ¶ 416.
655
    Cl. Mem. Merits, ¶¶ 240-241 (citing CL-018, Técnicas Medioambientales TECMED SA v. United Mexican
States, ICSID Case No. ARB(AF)/00/2, Award (29 May 2003) (hereinafter “Tecmed”), ¶ 154; CL-013, Rumeli
Telekom A.S. and Telsim Mobil Telekomunikasyon Hizmetleri A.S. v. Republic of Kazakhstan, ICSID Case No.
ARB/05/16, Award (29 July 2008), ¶ 609; CL-022, Deutsche Bank AG v. Democratic Socialist Republic of Sri
Lanka, ICSID Case No. ARB/09/02, Award (31 October 2012), ¶ 420; CL-023, Jan Oostergetel and Theodora
Laurentius v. The Slovak Republic, UNCITRAL, Final Award (23 April 2012), ¶ 221).
656
    Cl. Mem. Merits, ¶ 244 (citing CL-024, CMS Gas Transmission Co. v. Republic of Argentina, ICSID Case No.
ARB/01/8, Award (12 May 2005) (hereinafter “CMS”), ¶ 275; CL-025, CME Czech Republic BV v. Czech
Republic, UNCITRAL, Partial Award (13 September 2001), ¶ 611).
657
    Cl. Mem. Merits, ¶ 246 (quoting CL-028 / RL-092, Plama Consortium Limited v. Republic of Bulgaria, ICSID
Case No. ARB/03/24, Award (27 August 2008) (hereinafter “Plama Award”), ¶ 176).
658
    Cl. Mem. Merits, ¶ 248 (citing CL-030, Suez, Sociedad General de Aguas de Barcelona S.A. and Vivendi
Universal v. Argentine Republic, ICSID Case No. ARB/03/19, Decision on Liability (30 July 2010), ¶ 226).
659
    Cl. Mem. Merits, ¶ 249 (citing CL-031, Total S.A. v. Argentine Republic, ICSID Case No. ARB/04/1, Decision
on Liability (27 December 2010), ¶¶ 309(g), 333).

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         environment.” 660 Article 10(1) of the ECT expressly requires States to “encourage and
         create stable, equitable, favourable and transparent conditions for Investors;” 661 a point
         also reflected in the European Energy Charter (basis for the ECT), and further confirmed
         by the Energy Charter Conference. 662 The importance of a stable legal and business
         environment has been recognized by tribunals in their analyses of the FET standard. 663

397.     In Claimants’ view, Respondent unduly restricts the scope of Article 10(1) of the ECT by
         arguing that it does not impose limits on a State’s regulatory power. 664 Claimants explain
         that while they do not contend that “States should be precluded from enacting laws when
         the circumstances change,” such regulatory authority is not limitless, and it is also “not
         impervious to scrutiny under international law.” 665             According to Claimants, “[b]y
         entering into the ECT, Spain accepted a limitation on its powers to alter the
         remuneration framework applicable to the Claimants’ investments.” 666

398.     Claimants also oppose the view that the FET standard in Article 10(1) of the ECT is
         limited to the Minimum Standard of Treatment under customary international law
         (“MST”). In their view, conflating the FET standard with MST would ignore the rules of
         treaty interpretation in Article 31 of the VCLT; it is not supported by the text of the ECT
         or by supplementary means of interpretation. 667 The phrase “[i]n no case shall such
         Investments be accorded treatment less favourable than that required by international
         law, including treaty obligations” in Article 10(1) of the ECT does not alter the
         conclusion because: (i) it appears much later, after the FET obligation located in the first


660
    Cl. Mem. Merits, ¶ 250.
661
    Cl. Mem. Merits, ¶ 251; CL-001 / RL-055, ECT, Art. 10(1).
662
    Cl. Mem. Merits, ¶¶ 251-252.
663
    Cl. Mem. Merits, ¶¶ 253-257 (referring to CL-035, Joseph Charles Lemire v. Ukraine, ICSID Case No.
ARB/06/18, Decision on Jurisdiction and Liability (14 January 2010) (hereinafter “Lemire”), ¶ 284; CL-011, PSEG
Global Inc. and Konya Ilgin Elektrik Üretim ve Ticaret Limited 8irketi v. Republic of Turkey, ICSID Case No.
ARB/02/5, Award (19 January 2007), ¶¶ 250, 254; CL-024, CMS, ¶ 275; CL-036, Sempra Energy International v.
Argentine Republic, ICSID Case No. ARB/02/16, Award (28 September 2007), ¶ 303; CL-027, Metalclad Corp. v.
United Mexican States, ICSID Case No. ARB(AF)/97/1, Award (30 August 2000), ¶ 99). See also, Cl. Skeleton, ¶
41.
664
    Cl. Reply Merits, ¶¶ 436-442.
665
    Cl. Reply Merits, ¶ 437. See also, Cl. Skeleton, ¶ 32.
666
    Cl. Reply Merits, ¶ 440.
667
    Cl. Reply Merits, ¶¶ 417-419; Cl. Skeleton, ¶ 30.

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         sentence, thereby confirming that the FET standard is not equivalent to MST; 668 and (ii)
         Article 10(1) uses different words to articulate the FET obligation and MST, thereby
         showing that they have a different meaning. 669 The opposite interpretation would not
         give effect to all the terms of Article 10(1). 670

399.     Moreover, Claimants contend, the conclusion that the FET standard in Article 10(1) of
         the ECT goes beyond MST is supported by decisions in ECT cases, 671 and also in BIT
         cases referring to provisions with references to international law similar to that in Article
         10(1) of the ECT. 672

400.     Claimants also take issue with Respondent’s reliance on Article 2 of the 1991 European
         Energy Charter, arguing that the fact that this provision sought to achieve non-
         discrimination and market-oriented price formation does not give license to ignore the
         text of Article 10(1). Both the ECT and the 1991 European Energy Charter indicate that
         their purpose is to promote investment and economic cooperation, 673 and “[t]he
         promotion of investment and economic cooperation […] supposes positive obligations
         that go beyond the [MST].” 674

401.     Claimants further deny that the FET standard in Article 10(1) of the ECT is limited to
         national treatment. 675 This conclusion, Claimants argue, cannot be reconciled with (i) the
         text of Article 10(1) which includes a separate prohibition against discrimination in a
         stand-alone sentence; or (ii) the definition of “Treatment” in Article 10(3) of the ECT; or
         (iii) Article 10(7) of the ECT. 676        If FET were limited to national treatment, these




668
    Cl. Reply Merits, ¶ 420.
669
    Cl. Reply Merits, ¶ 421.
670
    Cl. Reply Merits, ¶ 422.
671
    Cl. Reply Merits, ¶ 429 (citing CL-006, Liman, ¶ 263).
672
    Cl. Reply Merits, ¶ 430 (citing CL-017, Azurix Corp. v. Argentine Republic, ICSID Case No. ARB/01/12, Award
(14 July 2006), ¶ 361; CL-035, Lemire, ¶ 253).
673
    Cl. Reply Merits, ¶ 426.
674
    Cl. Reply Merits, ¶ 427. See also, Cl. Skeleton, ¶ 30.
675
    Cl. Reply Merits, ¶¶ 431-435.
676
    Cl. Reply Merits, ¶ 431; Cl. Skeleton, ¶ 31.

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         provisions would have been unnecessary; and equating them renders the provisions
         meaningless. 677

402.     Lastly, Claimants take issue with what they describe as Spain’s effort to “second-guess
         whether or not the granting of special privileges for foreign investors is warranted.”678
         In Claimants’ view, whatever policy debates might exist, “Spain made the policy decision
         to accord a right of FET to qualifying energy sector investors in its territory, on the basis
         that Spanish investors would benefit from the same rights in the Netherlands and in all
         other ECT Contracting States,” which was “not a one-sided policy choice” but rather
         “one based on reciprocity;” freely made and not open to the Tribunal to second-guess. 679

                 b. Respondent’s Position

403.     Respondent contends that the aim and purpose of the ECT is to grant foreign investors
         national or non-discriminatory treatment. 680 Spain denies that the ECT affords higher
         protection than MST, or that it offers protection directly related to the support of
         renewable energy investments. 681

404.     According to Spain, the ECT’s investment protection system is aimed at achieving an
         energy open market in Europe based on the principle of non-discrimination. 682 Thus, the
         ECT’s principal investment protection objective is to afford “domestic treatment” or
         “non-discrimination” once an investment has already been made. 683 This objective,
         Spain argues, is not breached by the adoption of measures that are (i) proportionate; (ii)
         justified by public interest; and (iii) applied erga ommes to both foreign and domestic




677
    Cl. Reply Merits, ¶ 431.
678
    Cl. Reply Merits, ¶ 442.
679
    Cl. Reply Merits, ¶ 442.
680
    Resp. C-Mem. Merits, § III(E)(1). See also, Resp. Rej. Merits, ¶¶ 32, 1114.
681
    Resp. C-Mem. Merits, ¶ 603.
682
    Resp. C-Mem. Merits, ¶ 607. See also, Resp. Rej. Merits, ¶ 1015.
683
    Resp. C-Mem. Merits, ¶¶ 611-612, 618.

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         investors. 684 Subsidies that distort competition in the energy market (such as those
         Claimants’ seek) are incompatible with the ECT. 685

405.     Further, in Spain’s view, the obligation in Article 10(1) of the ECT to afford treatment
         “[i]n no case […] less favourable than that required by international law, including
         treaty obligations” refers to MST under customary international law, with “domestic
         treatment” or “national treatment” being the maximum protection granted to foreign
         investments when more favourable. 686 Put another way, as the objective of the ECT is to
         achieve non-discrimination, “[o]nly when the absence of discrimination does not
         guarantee the investors treatment in accordance with the minimum standards of
         International law do these standards go into effect to ensure their protection.” 687

406.     Respondent goes on to argue that the protection afforded by Article 10(1) of the ECT
         varies depending on the stage at which the investment is at. The “commitment to accord
         at all times to Investments of Investors of other Contracting Parties fair and equitable
         treatment” applies during the “making [of the] investment,” because this particular
         sentence of Article 10(1) refers to the preceding one dealing with “conditions […] to
         make Investments in its Area.” 688 But, once an investment has been made, Article 10(1)
         offers protection “against discriminatory and irrational measures that affect the
         management, maintenance, use, enjoyment, and disposal of the investment,” setting as a
         minimum that “[i]n no case shall such Investments be accorded treatment less favourable
         than that required by international law, including treaty obligations.” 689             Further,
         national treatment protection contains an exception in the field of State aid, as shown in
         Article 10(8) of the ECT. 690




684
    Resp. C-Mem. Merits, ¶ 618.
685
    Resp. Rej. Merits, ¶ 1017.
686
    Resp. C-Mem. Merits, ¶¶ 613, 619.
687
    Resp. Rej. Merits, ¶ 1007. See also, id., ¶ 1016; Resp. Skeleton, ¶ 21.
688
    Resp. Rej. Merits, ¶ 1021.
689
    Resp. Rej. Merits, ¶ 1022.
690
    Resp. Rej. Merits, ¶ 1024.

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407.     Spain denies that its interpretation of Article 10(1) of the ECT renders Article 10(7)
         meaningless, observing that Article 10(7) also includes an MFN guarantee, in addition to
         national treatment. 691

408.     According to Respondent the ECT does not guarantee sustainable energy development at
         any cost, as it has to be both economic and environmental. 692 Respondent argues that the
         purpose of the ECT is stated in Article 2, and that Article 19 on environmental protection
         is of minor importance. 693 For Spain, while Article 19 provides that the ECT Contracting
         Parties shall “have particular regard to Improving Energy Efficiency” and “to developing
         and using renewable energy sources,” it does not mandate the granting of “petrified”
         public subsidies, and the ECT respects the State’s regulatory power in the area of State
         aid. 694

409.     Spain also takes the view that, while the ECT requires the creation of stable and
         transparent conditions for investment, it does not prevent the adoption of justified and
         non-discriminatory macroeconomic control measures by a State. 695 The ECT does not
         require Contracting Parties to maintain a regulatory framework stable and predictable
         throughout the whole investment, as Article 10(1) refers to stable “conditions” and not to
         a stable “regulatory framework.” 696 Further, the ECT does not “cancel or limit to the
         extreme” the State’s regulatory power, nor provide an insurance policy to investors
         against regulatory changes. 697 The only limit to the State regulatory power in the ECT is
         MST, and an objective of non-discrimination. 698

410.     In Respondent’s view, the context and subject matter of the ECT support its
         interpretation. Because the ECT concerns investments in a highly regulated and strategic
         sector such as the energy sector, Spain says, “[i]t is not very realistic” to interpret it as an

691
    Resp. Rej. Merits, ¶ 1023.
692
    Resp. C-Mem. Merits, ¶ 623.
693
    Resp. C-Mem. Merits, ¶ 624.
694
    Resp. C-Mem. Merits, ¶ 623.
695
    Resp. C-Mem. Merits, § III(E)(2), ¶ 610. See also, Resp. Rej. Merits, ¶¶ 1027, 1115; Resp. Skeleton, ¶ 21.
696
    Resp. C-Mem. Merits, ¶ 628; Resp. Rej. Merits, ¶¶ 1031, 1033.
697
    Resp. C-Mem. Merits, ¶ 610.
698
    Resp. C-Mem. Merits, ¶ 632; Resp. Rej. Merits, ¶ 1035.

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         eventually passed in 2012 and 2013,” 721 and on the contrary show that when Spain
         preserved the ability to change the scheme, it did so expressly. 722

418.     More specifically, Claimants assert that “Regulatory Framework I expressly committed to
         provide long-term certainty around the premiums and tariffs available to CSP plants that
         had been admitted by Spain within its Pre-Assignment Registry,” and in particular, argue
         that: 723

         "       Article 36 of RD 661/2007 expressly defined the long-term tariffs and premiums
                 for an initial 25-year period and an indefinite period thereafter.

         "       Article 4(2) of RDL 6/2009 stated that plants accepted within the Pre-Assignment
                 Registry would receive “the right to the economic regime established by Royal
                 Decree 661/2007.”

         "       The Fifth Transitory Provision of RDL 6/2009 stabilized the economic regime
                 applicable to plants that had applied for pre-assignment registration by 6 June
                 2009.

         "       Article 4 of RD 1614/2010 “made clear that the four-yearly reviews contemplated
                 by Article 44(3) of RD 661/2007 would not apply to any of the tariffs, premiums or
                 upper and lower limits granted to CSP plants that were approved within the Pre-
                 Assignment Registry and completed within the timeframes set out in the Agreement
                 of the Council of Ministers.” 724 Claimants reject Respondent’s interpretation of
                 Article 4 of RD 1610/2010, and deny that its sole purpose was to extend the
                 second paragraph of Article 44(3) of RD 661/2007 to plants commissioned in
                 2013. 725 Such interpretation, Claimants say, is contradicted by the plain wording,
                 the Government’s own analysis of Article 4 and the drafting history of the
                 provision. 726

         "       Article 2(3) of RD 1614/10 barred any further cap on operating hours for those
                 plants.



721
    Cl. Mem. Merits, ¶ 263.
722
    Cl. Mem. Merits, ¶ 263. Claimants note, for example, that Article 44.3 of RD 661/2007 “made it clear that the
values of tariffs, premiums, supplements, and upper and lower limits of the regulated tariff and premiums would be
updated annually, and that there could be changes to the applicable tariffs and premiums every four years […] for
plants which it had not approved for pre-registration under the deadlines in RDL 6/2009 […].” Id.
723
    Cl. Reply Merits, ¶¶ 49, 446.
724
    Cl. Reply Merits, ¶¶ 49, 58, 66-67.
725
    Cl. Reply Merits, ¶¶ 53, 56.
726
    Cl. Reply Merits, ¶¶ 54-66, 472.

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419.     Claimants argue that, contrary to Respondent’s allegations, the assurances in Regulatory
         Framework I are sufficient to ground Claimants’ expectations. 727                        According to
         Claimants, “[i]t is now well-established that the legal framework surrounding an
         investment may contribute to the creation of legitimate expectations for investors.” 728

420.     In any event, Claimants argue, their expectations were “reinforced” by specific
         assurances given by the Spanish Government that induced them to invest, and in
         particular, to proceed with construction of the Termosol Plants in December 2010.729
         According to Claimants, those assurances were provided in:

         "      Meetings held in the summer of 2009 with Spanish officials. 730

         "      A 3 September 2009 letter from the Secretary of State for Energy. 731

         "      Meetings held in November 2009 with the Minister for Industry, Tourism and
                Trade memorialized in a letter subsequently written by NextEra officials. 732

         "      A 13 November 2009 Agreement of the Spain Council of Ministers. 733

         "      The 11 December 2009 admission of the Termosol Plants in the Pre-Assignment
                Registry, 734 which “gave plants the right to the RD 661/2007 economic regime if
                they had submitted their application for Pre-Assignment registration before a
                certain date [6 June 2009] and went on to complete construction and obtain final
                RAIPRE registration within 36 months.” 735 According to Claimants, this is similar
                to a license and amounts to a stabilization guarantee. 736


727
    Cl. Reply Merits, ¶ 444. Claimants have argued elsewhere that Respondent has ultimately conceded that
investors can derive legitimate expectations from the framework surrounding their investment. Cl. Skeleton, ¶ 36.
728
    Cl. Reply Merits, ¶ 449. Claimants distinguish the present case from Charanne arguing, inter alia, that that PV
case lacked the critical stabilization commitments given to the CSP sector in RDL 6/2009 and RD 1614/2010, and
go on to contend that this decision cannot stand as authority for the proposition that regulatory frameworks can
never ground legitimate expectations. Cl. Reply Merits, ¶¶ 452-453.
729
    Cl. Mem. Merits, ¶ 264. See also, Cl. Reply Merits, ¶¶ 125-129, 448, 473-474.
730
    CWS-Davidson First, ¶ 15.
731
    C-006, Letter from Pedro Marín (Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources,
LLC), 3 September 2009.
732
    C-014, Letter from Mitch Davidson (NextEra Energy Resources, LLC) to Miguel Sebastián (Minister for
Industry, Tourism and Trade), 9 December 2009.
733
    C-007, Agreement of the Council of Ministers, 13 November 2009. See also, Cl. Reply Merits, ¶ 473 (3d bullet).
734
     C-049, Pre-Assignment Registration Notice Termosol 1, 11 December 2009; C-050, Pre-Assignment
Registration Notice Termosol 2, 11 December 2009.
735
    Cl. Reply Merits, ¶¶ 70-77, 484.
736
    Cl. Reply Merits, ¶ 484.

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         "      An 11 January 2010 letter from the Secretary of State for Energy. 737

         "      A 4 February 2010 meeting with President Zapatero. 738

         "      Meetings held in 2010 with Spanish officials, including the Minister for Industry,
                Tourism and Trade and the Secretary of State for Energy. 739

         "      A 2 July 2010 “Agreement with the Solar Thermal Industry” sent by the Ministry
                of Industry, Tourism and Trade, and a 2 July 2010 Ministerial press release
                regarding this agreement. 740

         "      Two 28 December 2010 Ministerial Resolutions issued to PTE and PTE2,
                respectively. 741

         "      A 3 April 2012 letter from the Chief of Staff to the Secretary of State for
                Energy. 742

421.     To the above, Claimants add that “[t]he Termosol Plants’ final registration in the
         RAIPRE constituted an additional assurance that the Termosol Plants would benefit from
         the remuneration of RD 661/2007 throughout their operational life.” 743 For Claimants,
         this registration, which took place on 29 May 2013 (Termosol 1) and 7 June 2013
         (Termosol 2), qualified the installations under the Special Regime and made them legally
         entitled to the incentives set out in RD 661/2007, as confirmed by the registration




737
    C-008, Letter from Pedro Marín (Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources,
LLC), 11 January 2010.
738
    CWS-Davidson First, ¶ 36; C-013, Letter from Mitch Davidson (NextEra Energy Resources, LLC) to Miguel
Sebastián (Minister for Industry, Tourism and Trade), 21 April 2010.
739
    CWS-Arechabala First, ¶¶ 47, 53; C-057, Email from Mike Arechabala (NextEra Energy España, S.L.) to
Antonio De Juan Fernandez (Pöyry Consulting), 12 May 2010.
740
    C-065, Agreement with the Solar Thermal Industry (Acuerdo con el Sector Termosolar), 2 July 2010; C-066,
Ministry for Industry, Tourism and Trade, Press Release, Industry Ministry Reaches an Agreement with the Wind
and Solar Thermal Sectors for the Revision of their Payment Framework, 2 July 2010.
741
    C-009, 2010 Resolution Termosol 1, 28 December 2010; and C-010, 2010 Resolution Termosol 2, 28 December
2010.
742
    C-011, Letter from Ignacio Grangel Vicente (Chief of Staff to the Secretary of State for Energy) to John
Ketchum (NextEra Energy Resources, LLC), 3 April 2012.
743
    Cl. Reply Merits, ¶ 82. See also, Cl. Mem. Merits, ¶ 259.

                                                     139
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         resolutions. 744 It is also similar to a license granted by the host-State and amounts to a
         stabilization guarantee. 745

422.     Spain’s commitments, Claimants argue, were also echoed as the Government’s policy
         during “roadshows” by the Ministry of Industry, Tourism and Trade and
         InvestInSpain. 746 According to Claimants, Spain engaged in a “worldwide campaign
         aimed at enticing international investors” conducted by InvestInSpain, including
         presentations which describe the tariffs set in RD 661/2007 as “guaranteed” for the life
         of the asset in an initial period of 25 years and an indefinite period thereafter. 747 In
         addition, between 2007-2010, the CNE, “consistently represented to investors that Spain
         was committed to providing regulatory stability, in the form of economic support
         mechanisms that were […] subject of a ‘warranty by law’, and that the revisions to tariffs
         and premiums foreseen at four-year intervals in Art. 44 of RD 661/2007 would apply only
         to new plants, not to existing ones.” 748

423.     Claimants oppose Respondent’s analysis of these assurances arguing: first, that Spain
         isolates them and omits some of them, contrary to “a well-settled principle […] that the
         existence of legitimate expectations must be assessed in the light of the ‘totality of the
         circumstances’ of a case;” 749 second, that the clear text of the letters and witness
         evidence contradict Spain’s interpretation, 750 and third, that any allegation of ambiguity
         in the assurances fails as a matter of law because “it is the host State, not the investor,
         who bears the consequences of any ambiguity in its representations to foreign
         investors.” 751


744
    Cl. Reply Merits, ¶¶ 78-83 (referring to C-004, 2013 RAIPRE Resolution Termosol 1, 29 May 2013; C-005,
2013 RAIPRE Resolution Termosol 2, 7 June 2013). Claimants contend that these resolutions distinguish the
present case from Charanne. Cl. Reply Merits, n. 101.
745
    Cl. Reply Merits, ¶ 484.
746
    Cl. Mem. Merits, ¶¶ 32, 265.
747
    Cl. Reply Merits, ¶¶ 31-33 (discussing C-023, InvestInSpain: Opportunities in Renewable Energy In Spain,
Manuela García (November 2008); C-172, InvestInSpain, Presentations (January, November 2008; March 2009,
April 2009). See also, Cl. Reply Merits, ¶ 473 (7th bullet).
748
    Cl. Reply Merits, ¶¶ 35, 46. See also, id., ¶¶ 36-45, 473 (8th bullet).
749
    Cl. Reply Merits, ¶ 476.
750
    Cl. Reply Merits, ¶ 478 (referring to CWS-Davidson Second, ¶¶ 6-18).
751
    Cl. Reply Merits, ¶ 479.

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         the 2005-2010 Renewable Energy Plan, RDL 7/2006, and RD 661/2007. 756 Claimants
         argue that, at the time of their initial development contracts in December 2007, the two
         key legal instruments were the 1997 Electricity Law and RD 661/2007. 757

427.     Claimants contend that RD 661/2007 was deliberately intended to stimulate
         investment, 758 “by prescribing specific long-term premiums and tariffs that it committed
         to provide to developers within the Special Regime.” 759                     Referring to Article 36,
         Claimants argue that “Spain committed to deliver these tariffs and premiums throughout
         a plant’s operational life, with no fixed time limit.” 760 In addition, Claimants argue that,
         while Article 44(3) contemplated a review of the tariffs in 2010, it “assure[d] investors
         that future cuts to the remuneration system would affect only new plants, not plants that
         had been constructed within the first 500 MW of CSP capacity” if they had “started
         operations within two years of the changes […].” Claimants add, however, that this “did
         not cure the uncertainty over whether or not any given plant would be among the first
         500 MW of installed capacity […].” 761 Claimants also highlight that RD 667/2007
         provided that tariffs and premiums would be updated for inflation annually by reference
         to the Consumer Price Index, less a reduction of 0.25% until 31 December 2012 and
         0.5% after (Article 44 and Add. Provision 1); allowed the use of a support fuel to produce
         electricity not exceeding 12% of the total annual production (regulated tariff option) and
         15% (pool + premium option) (Article 2); and granted priority of access and dispatch
         (Article 17 and Annex XI). 762

428.     According to Claimants, however, Spain’s assurances of a “reasonable return” were not
         sufficient to attract them, and they “proceeded with their investment” only because Spain

756
    Cl. Mem. Merits, ¶¶ 34, 37-73; Cl. Reply Merits, ¶ 15. According to Claimants, the 2005-2010 Renewable
Energy Plan was enacted to attract foreign investment, and it contradicts Respondent’s case in this arbitration in
many respects. Cl. Reply Merits, ¶¶ 18-21 (discussing R-052, Plan for Renewable Energy in Spain 2005-2010).
757
    Cl. Mem. Merits, ¶ 37.
758
    Cl. Mem. Merits, ¶ 60. See also, Cl. Reply Merits, ¶¶ 16, 22.
759
    Cl. Mem. Merits, ¶ 61. See also, id. ¶ 62.
760
    Cl. Mem. Merits, ¶¶ 64-66.
761
    Cl. Mem. Merits, ¶¶ 70-71. Elsewhere, Claimants state that “Art. 44(3) stated that a review of the feed-in tariffs
would take place in 2010 but went on to state that adjustments to the regulated tariffs and the lower and upper
thresholds would not affect pre-registered plants.” Cl. Reply Merits, ¶ 467 (5th bullet).
762
    Cl. Mem. Merits, ¶¶ 67-68.

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         went further in 2009 and 2010 offering a system which guaranteed an express and pre-
         defined long-term tariff and premium, i.e. a “commitment to a specific revenue level.”763
         In other words, Claimants say that “[b]y itself […] RD 661/2007 was not enough to entice
         [them] to take their investment beyond the exploratory stage,” and “Spain had to provide
         (and did subsequently provide) an express commitment to adhere to the tariffs and
         premiums being offered thereunder for plants constructed in reliance on RD
         661/2007.” 764 Claimants argue nonetheless that “RD 661/2007 (as further stabilised
         through laws enacted in 2009 and 2010) was a key factor in the […] decision to invest in
         Spain.” 765

429.     RDL 6/2009 led Claimants to “further increase[] their initial investments in Spain,”766
         they argue, because: (i) the Pre-Assignment Registry established therein provided
         certainty, given that Article 4(2) established that pre-registered plants would receive “the
         right to the economic regime established by Royal Decree 661/2007;” 767 (ii) it “expressly
         stabilised the existing economic regime for qualifying plants whose applications for entry
         in the Pre-Assignment Registry were filed within a defined deadline [6 June 2009],”
         which the Termosol Plants did on 14 May 2009; 768 (iii) it reassured investors that, if the
         targets for CSP electricity were oversubscribed, Spain would address that matter before
         investors commenced construction not after; 769 and (iv) through RDL 6/2009, Spain also
         committed to gradually reduce its tariff deficit levels and eliminate any further increase in
         the deficit by 2013. 770

430.     Claimants add, however, that despite the assurances in RDL 6/2009, they required more
         certainty to proceed with construction, because the decree “arguably left open a question
         whether the four-yearly reviews under RD 661/2007 were indirectly imported into RDL


763
    Cl. Mem. Merits, ¶ 36.
764
    Cl. Mem. Merits, ¶ 77. See also, Cl. Reply Merits, ¶ 131.
765
    Cl. Mem. Merits, ¶ 73.
766
    Cl. Mem. Merits, ¶ 95. See also, Cl. Reply Merits, ¶ 131.
767
    Cl. Mem. Merits, ¶ 89.
768
    Cl. Mem. Merits, ¶¶ 90-91, 98 (referring to C-044, RDL 6/2009, Transitory Provisions 4th and 5th).
769
    Cl. Mem. Merits, ¶ 93 (referring to C-044, RLD 6/2009, Transitory Provision 5th).
770
    Cl. Mem. Merits, ¶ 94 (referring to C-044, RLD 6/2009, Art. 1).

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         6/2009.” 771 Thus, according to Claimants: (i) from “July to November 2009, Spanish
         officials [gave] NextEra specific assurances that Spain [would] not change the regulatory
         regime applicable to the Termosol Plants;” 772 (ii) the Spain Council of Ministers
         provided further reassurances and support for the expansion of renewable energy in the
         agreement dated 13 November 2009, 773 which “reaffirmed Spain’s commitment to
         providing the economic benefits promised under RD 661/2007 and RDL 6/2009, even
         though uptake on the Special Regime under RDL 6/2009 greatly exceeded Spain’s initial
         target of 500 MW of installed power for CSP facilities;” 774 and (iii) between December
         2009-February 2010 Spain accepted the Termosol Plants into the Pre-Assignment
         Registry and provided further assurances of regulatory stability. 775

431.     Claimants say that they put their investments on hold in April 2010 amid rumours that
         Spain may cut the applicable tariffs and premiums, 776 and that the PTEs only commenced
         construction in December 2010 after Spain provided further assurances of regulatory
         stability. 777 In this regard, Claimants refer to:

         "      An “Agreement with the Solar Thermal Industry” sent by the Ministry of Industry,
                Tourism and Trade to the Spanish Association of the Thermoelectric Solar
                Industry (“Protermosolar”) on 2 July 2010, which is said to be the result of a
                compromise reached with the industry. 778 This agreement, Claimants argue,

771
    Cl. Mem. Merits, ¶ 99.
772
    Cl. Mem. Merits, § II(3)(G)(a), ¶¶ 99-106 (referring to C-048, Letter from Mitch Davidson (NextEra Energy
Resources, LLC), to Pedro Marín (Secretary of State for Energy), 8 July 2009; C-006, Letter from Pedro Marín
(Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources, LLC), 3 September 2009; an
October 2009 conference described at CWS-Davidson First, ¶¶ 22-23; C-014, Letter from Mitch Davidson (NextEra
Energy Resources, LLC) to Miguel Sebastián (Minister for Industry, Tourism and Trade), 9 December 2009).
773
    Cl. Mem. Merits, § II(3)(G)(b), ¶¶ 107-115 (referring to C-007, Agreement of the Council of Ministers, 13
November 2009).
774
    Cl. Mem. Merits, ¶ 109.
775
    Cl. Mem. Merits, § II(3)(G)(c), ¶¶ 116-125 (referring to C-049, Pre-Assignment Registration Notice Termosol 1,
11 December 2009; C-050, Pre-Assignment Registration Notice Termosol 2, 11 December 2009; C-008, Letter
from Pedro Marín (Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources, LLC), 11 January
2010; a meeting with President Zapatero, described at CWS-Davidson First, ¶ 35 and C-013, Letter from Mitch
Davidson (NextEra Energy Resources, LLC) to Miguel Sebastián (Minister for Industry, Tourism and Trade), 21
April 2010; C-057, Email from Mike Arechabala (NextEra Energy España, S.L.) to Antonio De Juan Fernandez
(Pöyry Consulting), 12 May 2010).
776
    Cl. Mem. Merits, § II(3)(H), ¶¶ 126-132. See also, Cl. Reply Merits, ¶ 131.
777
    Cl. Mem. Merits, ¶ 132. See also, id., ¶¶ 7, 154, 163; Cl. Reply Merits, ¶ 131.
778
    Cl. Mem. Merits, ¶¶ 142-144 (referring to C-065, Agreement with the Solar Thermal Industry, July 2010); Cl.
Reply Merits, ¶ 84.

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                “reaffirmed Spain’s commitment that pre-assigned plants could proceed with
                construction knowing that they would receive the remuneration promised under
                RD 661/2007” and allowed a 4,000 hour operating hour limit for plants of 9 hours
                of storage capacity. 779 According to Claimants, this was an agreement that went
                beyond normal consultations by the Spanish legislature; 780 but even if it was not an
                agreement, it was in any event implemented in Spain’s law. 781

        "       RD 1614/2010 of 7 December 2010. According to Claimants, this decree was a
                compromise that reduced the projected returns of the Claimants’ investment but
                provided even greater assurances of regulatory certainty, negotiated both through
                the 2 July 2010 Agreement and specific exchanges between Spain and Claimants’
                representatives. 782 In Claimants’ view, RD 1614/2010 “stabilize[d] the key
                elements of the remuneration regime applicable to the Termosol Plants,” 783 and in
                particular, provided two safeguards upon which Claimants relied to commence
                construction: (i) a promise that the feed-in-tariffs and premiums would not change
                other than for inflation, 784 set forth in Article 4 which “established that any future
                revision of tariffs, premiums, and the lower and upper limits set out in Article 44.3
                of RD 661/2007 would not apply to plants registered with the Pre-Assignment
                Registry in accordance with the 4th Transitory Provision of RDL 6/2009 (i.e.,
                those that had submitted their applications for pre-assignment registration before
                6 June 2009 and went on to complete construction and obtain final RAIPRE
                registration within the relevant time limits);” 785 and (ii) a promise set forth in
                Article 2(3) that Spain would not further reduce the annual operating hours eligible
                for remuneration under the Special Regime (capped through RD 1614/2010)
                throughout the operational life of the plants which met the same conditions
                identified above. 786 The Termosol Plants, Claimants argue, were given definitive
                RAIPRE registration within the relevant deadlines. 787

        "       The Ministry of Industry, Tourism and Trade Resolutions of 28 December 2010.
                According to Claimants, these “expressly confirmed that the Termosol Plants
                would be subject to the remuneration system then in force,” and “amounted to
                specific undertakings by Spain, addressed to the PTEs, confirming that Spain
                would remunerate the Termosol Plants in accordance with RD 661/2007 and RDL


779
    Cl. Mem. Merits, ¶ 146 (referring to C-066, Ministry for Industry, Tourism and Trade, Press Release, Industry
Ministry Reaches an Agreement with The Wind and Solar Thermal Sectors for the Revision of Their Payment
Framework, 2 July 2010).
780
    Cl. Reply Merits, ¶¶ 84-117, 480.
781
    Cl. Reply Merits, ¶ 480.
782
    Cl. Mem. Merits, ¶ 154. See also, id., ¶¶ 147-150.
783
    Cl. Mem. Merits, § II(3)(I)(a).
784
    Cl. Mem. Merits, ¶ 158.
785
    Cl. Mem. Merits, ¶ 159 (referring to C-016, RD 1614/2010, Art. 4).
786
    Cl. Mem. Merits, ¶¶ 158, 159 (referring to C-016, RD 1614, Art. 2.3).
787
    Cl. Mem. Merits, ¶ 172 (referring to C-004, 2013 RAIPRE Resolution Termosol 1, 29 May 2013; C-005, 2013
RAIPRE Resolution Termosol 2, 7 June 2013).

                                                      145
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                6/2009.” 788 Claimants reject Respondent’s contention that these resolutions only
                informed of the remuneration applicable to the plants “at the present time” but did
                not ensure that it would be constant throughout the Termosol Plants operating life,
                and argue that Respondent’s position is contradicted by the text of the resolutions,
                and the context in which they were issued. 789 Moreover, Claimants argue that
                whether or not the Directorate that issued them had power to bind the Government
                under domestic law is not material because “[i]nternational law recognises the
                competence of State officials and agencies to bind their State by unilateral
                statements without regard to any internal authorisation process under municipal
                law.” 790

432.     Claimants go on to argue that Spain’s reassurances continued while construction was on-
         going, referring to the 2011-2020 Renewable Energy Plan, which “confirmed the existing
         legislative framework to promote the use of energy from renewable sources, including
         RD 661/2007, RDL 6/2009 and RD 1614/2010.” 791

433.     Claimants lastly contend that the history of Claimants’ capital contributions to NEE
         España illustrate the reliance placed on Spain’s assurances, as shown by a table of their
         contributions starting in 2008 until December 2013. 792                According to Claimants, the
         table shows “comparatively modest contributions in 2009, followed by increased
         contributions in March 2010, one further contribution in July 2010 as Spain began to put
         flesh on the proposals that became RD 1614/2010” with “the most significant
         expenditures coming from April 2011 onwards […].” 793

434.     In response to Respondent’s allegations, Claimants deny that there are any contradictions
         in their case resulting from the above timeline. Thus, Claimants explain that:



788
    Cl. Mem. Merits, ¶¶ 165-167 (referring to C-009, 2010 Resolution Termosol 1, 28 December 2010; and C-010,
2010 Resolution Termosol 2, 28 December 2010).
789
    Cl. Reply Merits, ¶¶ 118-124, 481. Claimants argue that Spain had conditioned enactment of RD 1614/2010 on
CSP developers providing formal deeds of renunciation waiving the right to commence commercial operations prior
to certain dates, which were provided by the PTEs on 2 December 2010. And in those deeds, the PTEs had asked
the Ministry for express confirmation of the remuneration that the Termosol Plants would receive for their operating
life, a confirmation that, Claimants say, was negotiated as part of the agreed compromise, and that was given in the
28 December 2010 resolutions. Cl. Mem. Merits, ¶¶ 151-153; Cl. Reply Merits, ¶ 123; C-070, Deed of
Renunciation PTE, 2 December 2010; C-071, Deed of Renunciation PTE2, 2 December 2010.
790
    Cl. Reply Merits, ¶ 482.
791
    Cl. Mem. Merits, ¶ 171.
792
    Cl. Mem. Merits, ¶ 175 (Table of Equity Contributions from NextEra Spain to NEE España).
793
    Cl. Mem. Merits, ¶ 175.

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         commitments provided to the Claimants were likely to be honoured.” 807 Claimants add
         that their legal due diligence included meetings with and letters with senior Spanish
         officials, to confirm their understanding of the regulatory regime in place. 808

441.     Claimants also argue that Respondent’s allegations about insufficient due diligence are
         both unfair and misguided as a matter of international law. According to Claimants,
         “[i]nsufficient due diligence by investors (which was not the case here) does not relieve
         the host States of their obligations, including their positive duty ‘to ensure investors are
         not misled and are made to realise where the ‘true’ directions of government policy for
         the issue at stake.’” 809

442.     Claimants also deny that they knew that Spain would alter the remuneration system
         applicable to the Termosol Plants.810 In particular, Claimants argue that (i) they were not
         put on notice that “reasonable return” was an overriding concept and the only guarantee
         – a notion that is an objective for the Spanish legislator and not a mandated form of
         return that overrides other commitments, and which was superseded by the specific tariffs
         and premiums set forth in RD 661/2007;811 (ii) the prior regulatory interventions in the
         PV sector did not foreshadow the changes to the remuneration system applicable to the
         Termosol Plants – the dynamics of the PV and CSP sectors were very different, and
         “[w]hen the PV sector was hit with cuts, the Government specifically promised to the


806
    Cl. Reply Merits, § III(2)(B), ¶¶ 135-144 (referring to CLEX-009, Alatec, Technical Evaluation of the
Thermoelectric Plant with Parabolic Trough Collectors “Termosol 1” Sited in Navalvillar de Pela (Cáceres), 26
April 2011; CLEX-062, RWB, Independent Engineer’s Report. NextEra Energy Resources, LLC. Termosol I Solar
Power Project, 27 April 2011; CLEX-63, RWB, Independent Engineer’s Report. NextEra Energy Resources, LLC
Termosol II Solar Power Project, 27 April 2011; CLEX-106, Alatec, Technical Evaluation of the Thermoelectric
Plant with Parabolic Trough Collectors “Termosol 2” Sited in Navalvillar de Pela (Cáceres), 26 April 2011; C-
202, Pöyry, Current and Future Trends in the Spanish Solar Industry, An ILEX Energy Report to FPL, November
2008 (hereinafter “2008 Pöyry Report”); C-203, Pöyry, Spanish Energy Markets: A Presentation to NextEra
Energy Resources, November 2010).
807
    Cl. Reply Merits, ¶ 144.
808
    Cl. Reply Merits, ¶ 142 (referring to C-048, Letter from Mitch Davidson (NextEra Energy Resources, LLC), to
Pedro Marín (Secretary of State for Energy), 8 July 2009; C-014, Letter from Mitch Davidson (NextEra Energy
Resources, LLC) to Miguel Sebastián (Minister for Industry, Tourism and Trade), 9 December 2009; C-090, Letter
from John Ketchum (NextEra Energy Resources, LLC) to José Maria Soria López (Minister for Industry, Tourism
and Trade) and Fernando Martí Scharfhausen (Secretary of State for Energy), 15 March 2012).
809
    Cl. Reply Merits, ¶ 486.
810
    Cl. Reply Merits, § III(2)(C), ¶¶ 145-171.
811
    Cl. Reply Merits, ¶¶ 147-148; Cl. Skeleton, ¶ 36.

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         CSP sector that it would not be similarly affected;” 812 (iii) their letters provide no
         evidence of Claimants’ knowledge and acceptance of future change; 813 and (iv) they put
         in place normal risk mitigation measures in their contracts with commercial partners,
         which do not mean that Claimants believed that the risk would materialize. 814

443.     Claimants go on to argue that “even if it could be established that the Claimants knew
         about a possible regulatory risk, they did not accept it.” 815 Moreover, “[e]ven if the
         Claimants had assumed the risk of regulatory change (they did not), that risk would have
         been taken on the assumption that any deprivation would be accomplished in a fair
         manner and with compensation.” 816

444.     Claimants further oppose Spain’s reliance on the jurisprudence of the Spanish Supreme
         Court to demonstrate that the Court has allowed certain changes to the renewable energy
         regime (in other situations). In particular, Claimants argue that: (i) the question of breach
         of the FET is to be resolved under the ECT (not Spanish law); and (ii) even taking
         Spanish law as a fact, the decisions of the Supreme Court do not diminish Claimants’
         legitimate expectations. 817

445.     More specifically, Claimants contend that: (i) “[n]one of the Supreme Court decisions
         interpreting deviations from the remuneration system in RD 661/2007 had been rendered
         by the time that the Claimants committed to build the Termosol Plants (December
         2010),” so Claimants could not have been aware of them; 818 (ii) the “Supreme Court
         decisions rendered during the construction of the Termosol Plants (in 2011 and 2012)
         considered only the 2010 cuts to PV remuneration (cuts that the CSP sector had agreed
         to through the July 2010 Agreement);” 819 (iii) none of the Supreme Court decisions
         questioned the validity of the stabilization commitments given to the CSP sector,

812
    Cl. Reply Merits, ¶¶ 149-151.
813
    Cl. Reply Merits, ¶¶ 152-157.
814
    Cl. Reply Merits, ¶¶ 158-171, 487.
815
    Cl. Reply Merits, ¶ 487.
816
    Cl. Reply Merits, ¶ 488.
817
    Cl. Reply Merits, ¶¶ 172, 463.
818
    Cl. Reply Merits, ¶ 173.
819
    Cl. Reply Merits, ¶ 174.

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                 Special Regime was confirmed by various administrative organs of the Spanish
                 State in full knowledge of the actual capacity of the generators at the Termosol
                 Plants,” and (ii) inspections carried out in September 2014 by the CNMC for the
                 express purpose of checking compliance with the Special Regime presupposed that
                 a net output of 49.9MW was compliant. 834

         "       In any event, Claimants argue, “[g]iven that the Termosol Plants were duly
                 approved by the Junta de Extremadura, the current proceedings are not the right
                 forum to second guess the approval granted by Spain’s own organs.” According
                 to Claimants, “[t]he central Government of Spain has no power to revoke
                 authorisations issued by a competent regional authority to a CSP plant or to
                 revoke its inscription in the RAIPRE.” 835

448.     Claimants have also submitted that Respondent’s installed capacity argument has already
         been denied by another tribunal ruling on the Spanish measures. 836

449.     As a result of allegations made at the Hearing, Claimants further opposed the contention
         that the Termosol Plants should not be compensated for all the electricity they deliver to
         the grid, but instead, some should be reclassified as internal consumption.837                For
         Claimants, that contention is logically flawed, 838 inconsistent with Spanish law, 839 and
         procedurally improper giving its timing. 840 In addition, Claimants also deny that they
         have always been aware that Termosol Plants were only permitted to export 44.9 MW to
         the grid under the Special Regime, and have deliberately sought to receive an
         overpayment. 841 According to Claimants, this submission ignores that Spanish officials
         were made aware of the capacity of the Termosol Plants. 842 Claimants contend that they
         legitimately expected that the Termosol Plants would be able to deliver 49.9 MW under
         the Special Regime for their lifetime. 843




834
    Cl. Reply Merits, ¶¶ 254, 272-278. See also, id., ¶¶ 394-398.
835
    Cl. Reply Merits, ¶ 397.
836
    Cl. Obs. Eiser, ¶ 3.12 (referring to Eiser).
837
    See, Cl. PH Mem., ¶¶ 9-11, 16-17.
838
    Cl. PH Mem., ¶¶ 12-17.
839
    Cl. PH Mem., ¶¶ 18-22.
840
    Cl. PH Mem., ¶¶ 23-27.
841
    Cl. PH Reply, ¶ 2.
842
    Cl. PH Reply, ¶¶ 7-11.
843
    Cl. PH Reply, ¶ 10.

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         Framework III does not violate the EU State Aid regime, but declines to assess
         Regulatory Framework I given that such framework has been replaced. 856

457.     In addition, in Claimants’ view, the EC generic remarks about legitimate expectations of
         investors under EU Law are obiter, out of context of the facts of this case, and without
         reference to principles of international law. 857 Claimants deny that EU Law trumps the
         ECT in the event of inconsistency, and instead argue that the Tribunal is mandated to
         apply the ECT over EU Law in the event of inconsistency. 858 Claimants deny that under
         EU Law, Spain’s failure to notify the EC of Regulatory Framework I in 2007 forecloses
         any claim of legitimate expectations. 859 According to Claimants, Spain’s alleged failure
         to notify State Aid cannot affect liability under Article 10(1) of the ECT, because (i) a
         State cannot invoke its own breach of domestic law as an excuse for violating
         international law (ILC Articles on State Responsibility, Articles 7 and 32); and (ii)
         investors protected by a treaty are entitled to assume that an EU Member State is acting
         lawfully when it enacts legislation intending to attract investment. 860

458.     In any event, Claimants argue, it is also wrong to assume that State Aid principles are
         engaged with respect to Regulatory Framework I, for reasons of: (i) timing – neither
         Spain, nor investors considered Regulatory Framework I a source of notifiable State Aid
         until 2014; and (ii) substance – in Regulatory Framework I the funds were paid by the
         private consumers, not the State. 861 For Claimants, this is significant because the Parties
         are in agreement that the legitimate expectations are to be assessed at the time of the
         investment, 862 and as of December 2010 no reasonable investor could have been aware
         that Spain might have acted unlawfully. 863 And, since Claimants’ case on legitimate
         expectations under the ECT is not substantively inconsistent with State Aid rules, the

856
    Cl. Obs. EC Decision, ¶ 1.2.
857
    Cl. Obs. EC Decision, ¶ 1.2.
858
    Cl. Obs. EC Decision, ¶¶ 1.4-1.5.
859
    Cl. Obs. EC Decision, ¶ 1.4.
860
    Cl. Obs. EC Decision, ¶ 1.7.
861
    Cl. Obs. EC Decision, ¶ 1.8.
862
    Cl. Obs. EC Decision, ¶ 1.9. Claimants contend elsewhere that Spain has admitted that 2011 is the correct year
for judging the expectations. Cl. Reply Merits, ¶¶ 50, 134.
863
    Cl. Obs. Decision, ¶ 1.9.

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         Tribunal need not address the issue of priority between the ECT and EU Law in this
         respect. 864

459.     Second, Claimants contend that, even if Claimants’ expectations were to be determined
         under EU Law rather than the ECT (which they don’t accept), the EC Decision shows no
         inconsistency between EU Law and Claimants’ case under the ECT. 865

460.     Claimants argue that no diligent businessman would have foreseen that Regulatory
         Framework I was notifiable State Aid, given that between 2007-2014 the EC never
         directed Spain to notify Regulatory Framework I as State Aid, and the notification was
         only made in December 2014. 866 Claimants acted diligently in 2010 believing that Spain
         had acted lawfully in enacting Regulatory Framework I, and their legitimate expectations
         at the time of their investment are not affected by the CJEU Elcogas ruling of October
         2014 which obliged the notification of the support measures for renewable energy, or by
         Spain’s failure to notify. 867

461.     Furthermore, the EC Decision does not conclude that Regulatory Framework I was
         incompatible with the levels of aid permitted under State Aid law guidelines at the
         relevant time, and indeed EU Law permits and indeed encourages State aid to facilitate
         renewable energy. 868 Even if there was a formal defect due to Spain’s failure to notify
         Regulatory Framework I, Claimants argue, “substantively there is nothing unlawful in the
         type of remuneration which the Claimants seek in this proceeding” vis-à-vis State Aid
         rules. 869 Far from ordering Spain to terminate Regulatory Framework I, the EC criticized
         Spain for dismantling it, and Spain never asserted at the time that the 2013-2014 changes
         were necessary to comply with State Aid rules. 870




864
    Cl. Obs. Decision, ¶ 1.9.
865
    Cl. Obs. EC Decision, § 2, ¶¶ 2.1-2.5.
866
    Cl. Obs. EC Decision, ¶ 2.1.
867
    Cl. Obs. EC Decision, ¶ 2.2. See also, id., ¶ 1.8.
868
    Cl. Obs. EC Decision, ¶ 2.3.
869
    Cl. Obs. EC Decision, ¶ 2.4.
870
    Cl. Obs. EC Decision, ¶ 2.4.

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         making an investment and assume them. 877 Moreover, legitimate expectations must be
         “objective” and “derived from the specific circumstances at the time of investing in the
         host state.” 878

467.     For Respondent, the ECT is not an insurance policy against regulatory changes: (i) it is
         necessary to establish “specific commitments” made to an investor that a regulation will
         remain unchanged; (ii) expectations must be reasonable and justified in connection with
         changes in the host-State laws; (iii) an investor is required to conduct a preliminary and
         comprehensive analysis of the legal framework applicable to its investment, taking into
         account the due diligence it has conducted, anticipating that circumstances can change,
         and structuring its investment to be able to adapt to potential changes in the legal
         framework. 879

468.     Respondent further submits that Claimants’ expectations should be assessed as of 28
         April 2011, namely, the date on which the financing contracts for the projects were
         signed. 880

469.     Regulatory Framework. Respondent argues that Claimants’ depiction of the regulatory
         framework in Spain at the time of investment is partial, biased and decontextualized. 881

470.     According to Spain, the framework was established on the basis of certain essential
         principles that would form the “objective legitimate expectations of any investor,”
         namely: (i) the principle of hierarchy of rules; (ii) the notion that the 1997 Electricity
         Law was the basis of the system, with regulations being subject to that law and to the
         case law of the Supreme Court; (iii) the fundamental principle that the subsidies of the
         Special Regime are a cost to the electricity system, subordinated to the principle of
         economic sustainability of that system; (iv) the principle that the remuneration system for
         the Special Regime seeks to provide renewable energy producers a “reasonable return”

877
    Resp. C-Mem. Merits, ¶ 648.
878
    Resp. C-Mem. Merits, ¶ 657.
879
    Resp. C-Mem. Merits, ¶ 649. See also, id., ¶¶ 723-729 (discussing case law); Resp. Rej. Merits, ¶ 1063.
880
    Resp. Rej. Merits, ¶¶ 60, 1044 (referring to Cl. Reply Merits, ¶¶ 50, 134). See also, Resp. Skeleton, ¶ 23; Tr.
Day 2 (ENG), 299:2-13 (Ms. Moraleda).
881
    Resp. C-Mem. Merits, ¶ 641(a).

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         according to the capital market and considering the investment costs for the type of
         facility; (v) the principle of “reasonable return,” and the resulting dynamic character of
         the remuneration system under the Special Regime; (vi) the notion that premiums were
         calculated based on changes in demand and other economic data; (vii) the notion that
         regulatory changes in the Special Regime system – including some prior to Claimants’
         investment – were motivated by the need to correct overcompensation, or to correct
         strong alteration of the economic data that served as basis for the initial configuration of
         the system. 882

471.     In light of these principles, Respondent says, Claimants could not have legitimately
         expected that the State would refrain from adopting measures to resolve an economic
         imbalance impacting the sustainability of the system, or to resolve situations of over-
         remuneration. 883

472.     Respondent emphasizes that the renewable energy system in Spain has always been built
         around the principle of “reasonable return,” set forth in Article 30(4) of the 1997
         Electricity Law, and which remains in Article 14(7) of Law 24/2013. 884                            And this
         principle, Respondent contends, is characterized by (i) balancing the costs of the
         premiums with the return to the investor; (ii) being dynamic, meaning that it can be
         adapted to the circumstances; (iii) providing a guarantee to the investor; (iv) being
         referenced, meaning that it may not be arbitrarily set by the Government but rather, it
         must be referenced to the “cost of money in capital markets;” and (v) imposing on the
         regulator an obligation of concrete result, while not requiring a particular set
         mechanism. 885 According to Respondent, the various regulations that have developed the
         1997 Electricity Law (referring to, RD 2818/1998, RD 436/2004, RD 661/2007, and RD
         1614/2010) “have had the objective of setting at each historical moment the ‘reasonable




882
    Resp. C-Mem. Merits, ¶ 655 (referring to id., § III(A)-(D)). See also, id., ¶ 7; Resp. Rej. Merits, ¶¶ 1086-1087.
883
    Resp. Rej. Merits, ¶¶ 1087-1088.
884
    Resp. C-Mem. Merits, ¶ 11. See also, id. ¶¶ 50, 106-112, 150, 159.
885
    Resp. C-Mem. Merits, ¶¶ 160-176.

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         return’ in function of the forecasted costs and revenues in specific macroeconomic
         situations.” 886

473.     Spain further contends that “the existing regulatory framework, at the time when the
         Claimant made its investment, allowed regulatory changes to existing facilities, while
         maintaining the principle of reasonable return.” 887 The Spanish regulatory framework,
         Spain says, contained no specific commitment to the immutability of the regime in RD
         661/2007, RDL 6/2009 and RD 1614/2010. 888 The only commitment assumed by Spain
         was to maintain a “reasonable return.” 889 And, as reasonable return is an end that can be
         achieved through various means, no investor could have a legitimate expectation to a
         specific formula. 890 The Spanish regulation for the Special Regime was never enacted to
         attract foreign investment. 891

474.     Respondent thus denies that any of the rules relied upon by Claimants “contain any
         reference to or guarantee of the freezing of a particular subsidy scheme.” 892                 In
         particular, Respondent argues the following with respect to the various instruments:

         "      1997 Electricity Law. Respondent denies that the entire electricity system was
                based on market liberalization (abandoning the principle of compensation for
                costs). 893

         "      RD 2818/1998 and RD 1432/2002. Respondent argues that neither of these
                decrees froze the remuneration conditions, and it contends that both demonstrate
                that since the 1997 Electricity Law the only guarantee was “reasonable return,”
                not a specific formula for its calculation. 894




886
    Resp. C-Mem. Merits, ¶ 177. See also, id., ¶¶ 178-184; Resp. Rej. Merits, ¶ 17.
887
    Resp. C-Mem. Merits, ¶ 668.
888
    Resp. Rej. Merits, ¶¶ 1065-1074.
889
    Resp. Rej. Merits, ¶ 42.
890
    Resp. Rej. Merits, ¶¶ 245-249.
891
    Resp. Rej. Merits, ¶ 64.
892
    Resp. C-Mem. Merits, ¶¶ 671-672.
893
    Resp. C-Mem. Merits, ¶ 671.
894
    Resp. C-Mem. Merits, ¶ 671.

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         "      RD 436/2004. Respondent points out that this decree contained a provision
                identical to Article 44 of RD 661/2007, which did not prevent modification of the
                remuneration regime contained in it. 895

         "      RD 661/2007. Respondent argues that this decree develops the 1997 Electricity
                Law and the principle of “reasonable return” as the basis of the system, and denies
                that Article 44(3) operated a stabilization clause to prevent any regulatory change
                or any revision of the regulated tariff. According to Respondent, Article 44(3)
                only deals with the compulsory adjustments due every four years. 896 Moreover,
                Respondent argues, Claimants’ case is contradictory in arguing both that RD
                661/2007 was a determining factor in their decision to invest, but also that this
                decree was not enough to entice them to take the investment beyond the
                preliminary phase. 897 Respondent further denies that this decree (or the 2005-2010
                Renewable Energy Plan) was enacted to attract foreign investment. 898

         "      RDL 6/2009. According to Respondent, the object of this decree was to address
                the tariff deficit, and Claimants knew that it was not unalterable and recognized the
                risk that it be repealed together with RD 661/2007. 899 Respondent denies that the
                fourth and fifth transitory provisions froze the rates and premiums established in
                RD 661/2007. 900 It further contends that the inscription in the Pre-Assignment
                Registry created by this decree was a necessary condition but not the only one to
                receive the right to the regime in RD 661/2007. 901

         "      RD 1614/2010. For Respondent, “far from guaranteeing the unmodifiability of the
                remuneration system,” this decree “was limited to saving the staggering of the
                rollout implied by RD-L 6/2009 and the Council of Ministers Agreement of 13th
                November 2009.” Article 4 was intended to prevent that plants affected by the
                staggering were impacted by the tariff review scheduled for 2010, but provided no
                stabilization clause against subsequent revisions or amendments. The decree also
                emphasized the need to ensure a “reasonable return” as the cornerstone of the
                system. 902

475.     Moreover, Respondent says, other regulatory instruments not mentioned by Claimants
         also serve to support Respondent’s case:




895
    Resp. C-Mem. Merits, ¶ 671. See also, id., ¶ 14.
896
    Resp. C-Mem. Merits, ¶¶ 671, 248-254; Resp. Rej. Merits, ¶¶ 162-163, 588-597, 1065, 1067.
897
    Resp. C-Mem. Merits, ¶ 671.
898
    Resp. C-Mem. Merits, ¶ 246; Resp. Rej. Merits, ¶ 18.
899
    Resp. C-Mem. Merits, ¶ 671 (citing CWS-Davidson First, ¶¶ 41, 43). See also, id., ¶¶ 276-281.
900
    Resp. C-Mem. Merits, ¶ 267.
901
    Resp. C-Mem. Merits, ¶ 263.
902
    Resp. C-Mem. Merits, ¶ 671. See also, id., ¶¶ 299-301, 317; Resp. Rej. Merits, ¶¶ 156, 627-633, 1070.

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         "      RDL 14/2010. According to Respondent, this provision enacted a few days after
                RD 1614/2010 introduced an access fee to all producers, and decreased the
                remuneration of the Termosol Plants. 903

         "      Law 2/2011. This law, passed in March 2011 (which, according to Respondent,
                pre-dates the investment), announced the necessary reform to the sector, thus
                giving notice that the new standards would be approved. 904

476.     According to Respondent, Claimants’ case ignores that a diligent investor should have
         been aware that rights and duties are imposed by different regulations, which are
         structured hierarchically. As a result, regulations cannot contradict the provisions of a
         higher-ranking norm, such as a Law. 905 As RD 661/2007 and RD 1614/2010 were
         subordinate to the 1997 Electricity Law, they could not contradict its provisions. 906 And
         given that the 1997 Electricity Law pivots on the principle of sustainability of the Spanish
         Electricity System, a diligent investor should have known that RD 661/2007 could not
         freeze the remuneration regime as this would infringe that principle; 907 nor could a
         diligent investor expect stability of a regime generating levels of profitability that were
         not reasonable, as that would be contrary to the principle of “reasonable return”
         enshrined in the 1997 Electricity Law. 908

477.     Respondent rejects Claimants’ contention that the principle of reasonable return was
         superseded by the system in RD 661/2007, and instead argues that such principle “sets
         out any rights or expectations of investors in the Spanish regulatory framework.” 909

478.     Respondent also takes the view that the regulatory evolution in fact demonstrates that
         there was no commitment to stability. Thus, Spain observes that prior to Article 44(3) of
         RD 661/2007, RD 436/2004 contained a similar provision in Article 40(3), which did not
         prevent the modification of the regime through RD 661/2007. In addition, after RD
         661/2007, other amendments were made through RD 1578/2008, RDL 6/2009, RD


903
    Resp. C-Mem. Merits, ¶ 331; Resp. Rej. Merits, ¶ 1071.
904
    Resp. Rej. Merits, ¶¶ 509-510, 1073.
905
    Resp. Rej. Merits, ¶¶ 94-95. See also, Resp. C-Mem. Merits, ¶¶ 35-41.
906
    Resp. Rej. Merits, ¶¶ 97, 106.
907
    Resp. Rej. Merits, ¶¶ 100, 106.
908
    Resp. Rej. Merits, ¶¶ 101, 106. See also, id., ¶¶ 598-599.
909
    Resp. Rej. Merits, § III(A)(1.4), ¶¶ 190-193, 197-198, 214.

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         1614/2010, RD 1565/2010 and RDL 14/2010, affecting the remuneration of the already
         existing facilities despite the wording of Article 44 (3) of RD 661/2007. 910

479.     Moreover, Respondent argues, Claimants did not believe that RD 661/2007, RDL 6/2009
         or RD 1614/2010 contained a stabilization clause, nor could they have legitimately done
         so.   Respondent observes that (i) 2007 and 2008 reports by the CNE and the Attorney
         General’s Office reflect Claimants’ awareness that regulatory changes could impact
         existing plants; (ii) no due diligence has been provided confirming the existence of these
         stabilization clauses; (iii) the enactment of RD 1614/2010 and RDL 14/2010 showed that
         the Government would not hesitate to introduce modifications to the regime to ensure the
         sustainability of the system; (iv) after the alleged commitments in RD 1614/2010,
         Claimants entered into several contracts that included change in law protections; (v)
         Claimants and Protermosolar pushed for the introduction in RD 1614/2010 of language
         incorporating an obligation of the Secretary of State to issue individual decisions
         determining the compensation regime for the life of the facility, which was ultimately not
         accepted; 911 and (vi) in March 2011, before the financing agreements were entered into,
         the Government enacted Law 2/2011, which announced necessary and desired reforms to
         the Spanish Electricity System. 912

480.     Domestic Case Law. Respondent contends that the Supreme Court case law is significant
         to determine the extension and limits of Claimants’ rights and expectations at the time of
         their investments. 913 Thus, Respondent submits that the principle of “reasonable return”
         has been the subject of numerous cases in Spanish courts, which have “established that
         this principle does not imply that the remuneration set a certain point cannot be
         changed” and instead hold that “the characteristic of this principle is its dynamism
         […].”914 Put differently, according to Respondent, “[t]he Supreme Court has […]

910
    Resp. Rej. Merits, ¶¶ 601-604.
911
    Resp. Rej. Merits, ¶¶ 638-650, 656-659, 661.
912
    Resp. Rej. Merits, ¶ 660.
913
    Resp. Rej. Merits, ¶¶ 12, 145.
914
    Resp. C-Mem. Merits, ¶¶ 154-155 (citing R-054, Supreme Court, Third Chamber, Judgement, 25 September
2012; R-055, Supreme Court, Third Chamber, Judgement, 19 June 2012), ¶ 157 (citing R-056, Constitutional Court,
Judgement, 17 December 2015). According to Respondent, the principle was also known and invoked by
Protermosolar and the producers in the Spanish thermosolar sector. Resp. C-Mem. Merits, ¶ 158.

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         enshrined that the content of this right does not grant producers an unchangeable
         acquired right of always receiving the same remuneration amount for its generation
         activity.” 915

481.     Respondent emphasizes that when ruling on the validity of amendments to the regime in
         RD 436/2004 in a judgment in 2006, the Supreme Court “expressly denied the investors
         the right to the payment of an unchangeable tariff,” it only acknowledged the right to a
         reasonable return, 916 and it also confirmed that amendments to the remuneration system
         did not contradict the principles of legal certainty or legitimate expectations.917
         According to Respondent, the Supreme Court subsequently confirmed that there was no
         acquired right to a premium in two judgments in 2007; 918 and later, in a series of three
         judgements in 2009, it also confirmed that there was no right to the economic
         immutability of the system in RD 436/2004, despite the provisions in Article 40(3) of that
         decree, 919 and reiterated the same principle in the context of appeals against the
         remuneration framework in RD 661/2007. 920

482.     It follows, Respondent argues, that “[e]very diligent investor was aware and should be
         aware that the remuneration for electricity generation under the [Special Regime], from
         renewable sources in Spain, is based on an essential principle […] of ‘reasonable
         return’.” 921    Moreover, “[n]o diligent investor could ignore either the principle of
         ‘reasonable return’ or its interpretation made by the Supreme Court Case Law;” 922 and
         in light of the judgments that pre-date the alleged investment, “[a] diligent investor […]


915
    Resp. C-Mem. Merits, ¶ 190. See also, id., ¶¶ 191-195 (referring to R-147, Supreme Court, Third Chamber,
Judgement, 15 December 2005; R-057, Supreme Court, Third Chamber, Judgement, 25 October 2006; R-062,
Supreme Court, Third Chamber, Judgement, 20 March 2007; R-063, Supreme Court, Third Chamber, Judgement,
October 2007). See also, Resp. C-Mem. Merits, ¶ 175 (citing R-057).
916
    Resp. C-Mem. Merits, ¶ 192 (referring to R-057, Supreme Court, Third Chamber, Judgement, 25 October 2006).
917
    Resp. C-Mem. Merits, ¶ 194.
918
    Resp. C-Mem. Merits, ¶ 195 (referring to R-062, Supreme Court, Third Chamber, Judgment, 20 March 2007; R-
063, Supreme Court, Third Chamber, Judgment, October 2007).
919
    Resp. C-Mem. Merits, ¶¶ 198-199, 201-202 (referring to R-064, Supreme Court, Third Chamber, Judgement, 3
December 2009).
920
    Resp. C-Mem. Merits, ¶¶ 203-204 (referring to R-002, Supreme Court, Third Chamber, Judgement, 9 December
2009).
921
    Resp. C-Mem. Merits, ¶ 157.
922
    Resp. C-Mem. Merits, ¶ 187.

                                                    165
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         could not base a claim relating to the right or legitimate expectations to which the
         premium regime remains indefinitely unchanged in any economic circumstances.” 923

483.     Respondent goes on to add that the case law on the limits of the principle of reasonable
         return was further reiterated by the Supreme Court in a long series of judgements
         rendered from April to November 2012, in the context of challenges to the amendments
         to RD 661/2007 via RD 1565/2010 and RDL 14/2010. 924 Spain highlights that, in those
         judgments, the Court ruled that the principle of reasonable return did not guarantee a
         right to a regulated tariff for a given period of time, or to receive a certain remuneration
         throughout the entire operational lifetime of a facility, 925 and also denied the notion that a
         certain rate of return could remain unaltered. 926 Those rulings, Spain says, have also
         been reiterated in 2013 and 2016 judgements dealing with challenges related to RD
         1565/2010 and RDL 14/2010, 927 and in judgments of the Constitutional Court in 2015
         and 2016 in connection with RDL 9/2013, which confirm that the amendments to the
         system conformed to the principles of legal certainty and legitimate expectations,
         regulatory hierarchy and non-retroactivity. 928 Respondent explains that the judgements
         that post-date the investment are still relevant in that they confirm the principles
         previously established in the earlier cases. 929

484.     Responding to Claimants’ contention that the judgements of the Supreme Court are not
         applicable here because Article 4 of RD 1614/2010 introduced grandfathering
         commitments that prior regulations did not include, Spain contends that Article 4


923
    Resp. C-Mem. Merits, ¶ 196.
924
    Resp. C-Mem. Merits, ¶ 206 (citing R-074, Supreme Court, Third Chamber, Judgement, 12 April 2012; R-162,
Supreme Court, Third Chamber, Judgement, 20 December 2011; R-163, Supreme Court, Third Chamber,
Judgement, 24 September 2012; R-164, Supreme Court, Third Chamber, Judgement, 12 April 2012; R-066,
Supreme Court, Judgements, 2011-2012; R-067, Supreme Court, Judgement, 12 April 2012; R-069, Supreme Court,
Judgement, 19 June 2012).
925
    Resp. C-Mem. Merits, ¶¶ 209-210.
926
    Resp. C-Mem. Merits, ¶ 211.
927
    Resp. C-Mem. Merits, ¶¶ 212-213 (citing R-070, Supreme Court, Judgement, 25 June 2013; R-071, Supreme
Court, Judgement, 21 January 2016).
928
    Resp. C-Mem. Merits, ¶¶ 215-225 (citing R-056, Judgement of the Constitutional Court, 17 December 2015,
num. 5347/2013; R-072, Judgement of the Constitutional Court, 18 February 2016, num. 5582-2013 and R-075,
Judgement of the Constitutional Court, 18 February 2016, num. 6031-2013).
929
    Resp. Rej. Merits, ¶ 148.

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         contains no such commitment. 930 Respondent further contends that several key players,
         including the Supreme Court itself, the CNE, and Protermosolar recognize the
         importance of the Supreme Court case law, contradicting Claimants’ contentions. 931

485.     Lastly, Respondent observes that, in Charanne, the tribunal concluded that RD 661/2007
         did not contain a specific commitment towards claimants’ investments; absent a specific
         commitment, an investor could not have legitimate expectations that RD 661/2007 would
         remain unchanged throughout the life of the plant; and the decisions of the Supreme
         Court were relevant facts to reach these conclusions. 932 In addition, relying on AES,
         Respondent further submits that in the ECT context, a stability clause cannot be deduced
         from a general regulatory framework. 933

486.     Economic Circumstances. Respondent further maintains that Spain was facing a difficult
         economic situation well known to the solar thermal sector, which required safeguarding
         the sustainability of the Spanish Electricity System. The remuneration system for the
         Special Regime was not reflecting the standard of “reasonable return.” These elements,
         Respondent argues, were the driving force behind the measures taken, and were
         recognized in the rules immediately preceding Claimants’ investment, i.e. RDL 6/2009
         and RDL 14/2010. 934 Respondent adds that the memoranda for RDL 6/2009 and RDL
         14/2010 “demonstrate that the Claimant was fully aware that (i) the system of incentives
         for renewable energies under no circumstances could allow for over remuneration
         against the principle of reasonable return, (ii) the overall costs of the Special Regime had
         contributed significantly to the deficit, (iii) the difficulties of [the Spanish Electricity
         System] should be resolved internally and (iv) Spain had taken and would continue to
         take measures to ensure the sustainability of [the Spanish Electricity System].”935
         According to Respondent, Claimants were also aware that these same motives lay behind


930
    Resp. Rej. Merits, ¶ 156.
931
    Resp. Rej. Merits, ¶¶ 152(iv), 165-184.
932
    Resp. C-Mem. Merits, ¶¶ 673-675 (citing RL-088, Charanne, ¶¶ 491-499; 504-508). See also, Resp. C-Mem.
Merits, ¶¶ 227-228; Resp. Rej. Merits, ¶¶ 185-186, 1066-1067.
933
    Resp. C-Mem. Merits, ¶ 685 (citing RL-024, AES, ¶¶ 9.3.29, 9.3.31).
934
    Resp. C-Mem. Merits, ¶¶ 658-662.
935
    Resp. C-Mem. Merits, ¶ 665.

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         and discharge capacity), but contained no promise of stability of RD 661/2007; 942 (ii)
         were issued by the Director General of Energy Policy and Mines who had no power to
         bind the State on regulatory matters, and as such could not form the basis of legitimate
         expectations; 943 and (iii) were merely communications, not an administrative
         resolution. 944 Moreover, Spain adds, these resolutions in fact demonstrate that Claimants
         did not believe that RD 1614/2010 contained any commitment to stability, because
         otherwise, the Termosol Plants would have never sought the additional commitment they
         hoped to get with these resolutions. 945

491.     Alleged Assurances by High Government Officials. Respondent argues that (i) none of
         the communications relied upon by Claimants in this proceeding were authored by
         Claimants or addressed to them; (ii) the communications authored by Spain answered to
         NextEra U.S letters, but were not sent on Spain’s initiative; (iii) the communications
         cannot be interpreted outside of their context, and some are authored by NextEra U.S.
         officials attributing statements to the Government of Spain that have not been verified;
         (iv) the letters of 21 and 22 April 2010 to the Minister for Industry and to the Prime
         Minister were not answered by Spain, and accordingly, Spain has not confirmed the
         interpretation of the legal regime embodied in those letters; (v) the number of letters sent
         contradicts the notion that the letters generated any expectations of stability; (vi)
         Claimants’ actions subsequent to these letters also confirm that the communications did
         not generate such expectations; (vii) the letter sent on 15 March 2012 by a high ranking
         NextEra Energy Resources official reveals the true expectations generated by these
         letters, referring to “regulatory uncertainty.” 946 According to Respondent, this last letter




942
    Resp. C-Mem. Merits, ¶¶ 681-682. See also, id., § III(C)(7), ¶¶ 335-359; Resp. Rej. Merits, ¶¶ 73, 664-694.
943
     Resp. C- Mem. Merits, ¶ 683 (citing RL-089, ECE Projektmanagement International GmbH and
Kommanditgesellschaft PANTA Achtundsechzigste Grundstücksgesellschaft mbH & Co v. Czech Republic, PCA
Case No. 2010-5, Award, 19 September 2013, ¶ 4.771).
944
    Resp. Rej. Merits, ¶ 671.
945
    Resp. Rej. Merits, ¶ 73.
946
    Resp. C-Mem. Merits, ¶ 688. See also, Resp. Rej. Merits, ¶¶ 70-71.

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         evidences that Claimants did not believe in the existence of any commitments to stability,
         and they knew in March 2012 that a new reform was forthcoming. 947

492.     Discussing the communications individually, Respondent denies that each did or could
         have validly generated any expectation of stability. 948 Among others, Respondent argues
         that (i) the Engineering, Procurement and Construction Contract, signed in December
         2009 after one of the letters was sent, expressly foresees that the rates in Article 36 of RD
         661/2007 might be modified; 949 (ii) an amendment to the Development Agreement,
         signed in December 2010 after another of the letters was sent and even after RD
         1614/2010 was enacted included a clause for regulatory risk; and the credit agreement
         with the bank syndicate signed in April 2011 contemplates “regulatory changes” and
         “changes in law;” 950 (iii) one of the communications is of 3 April 2012, after the bank
         financing contract had been entered into in April 2011, and as such could not have had
         much impact on the decision to invest. 951 Respondent further contends that: (i) all the
         letters pre-date the approval of RD 1614/2010, RDL 14/2010 and Law 2/2011, and
         therefore, Claimants could hardly believe in view of the enactment of those norms that no
         measures to protect the sustainability of the system would be adopted;952 and (ii) in May

947
    Resp. Rej. Merits, ¶ 1112 (referring to C-090, Letter from John Ketchum (NextEra Energy Resources, LLC) to
José Maria Soria López (Minister for Industry, Tourism and Trade) and Fernando Martí Scharfhausen (Secretary of
State for Energy), 15 March 2012).
948
    Resp. C-Mem. Merits, ¶¶ 690-709 (referring to C-006, Letter from Pedro Marín (Secretary of State for Energy)
to Mitch Davidson (NextEra Energy Resources, LLC), 3 September 2009; C-008, Letter from Pedro Marín
(Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources, LLC), 11 January 2010; C-013,
Letter from Mitch Davidson (NextEra Energy Resources, LLC) to Miguel Sebastián (Minister for Industry, Tourism
and Trade), 21 April 2010; C-058, Letter from Mitch Davidson (NextEra Energy Resources, LLC) to José Luis
Rodriguez Zapatero (President of the Government of Spain), 22 April 2010; C-011, Letter from Ignacio Grangel
Vicente (Chief of Staff to the Secretary of State for Energy) to John Ketchum (NextEra Energy Resources, LLC), 3
April 2012). See also, id., ¶ 282-283 (discussing C-008); Resp. Rej. Merits, ¶ 1084 (referring to C-008, C-013 and
C-014, Letter from Mitch Davidson (NextEra Energy Resources, LLC) to Miguel Sebastián (Minister for Industry,
Tourism and Trade), 9 December 2009).
949
    Resp. C-Mem. Merits, ¶¶ 690-694 (discussing C-006, Letter from Pedro Marín (Secretary of State for Energy) to
Mitch Davidson (NextEra Energy Resources, LLC), 3 September 2009; and C-051, Engineering, Procurement
Support and Construction Support Services Agreement between PTE and Sener Ingeniería y Sistemas, S.A., 16
December 2009; and C-052, Engineering, Procurement Support and Construction Support Services Agreement
between PTE2 and Sener Ingeniería y Sistemas, S.A., 16 December 2009). See also, Resp. C-Mem. Merits, ¶ 285.
950
    Resp. C-Mem. Merits, ¶¶ 700-706 (discussing C-013, Letter from Mitch Davidson (NextEra Energy Resources,
LLC) to Miguel Sebastián (Minister for Industry, Tourism and Trade), 21 April 2010; CLEX-034, CdH Amendment
to Project Development Agreement, 10 December 2010). See also, Resp. C-Mem. Merits, ¶¶ 321-327; 360-366.
951
    Resp. C-Mem. Merits, ¶¶ 708-709 (discussing C-011, Letter from Ignacio Grangel Vicente (Chief of Staff to the
Secretary of State for Energy) to John Ketchum (NextEra Energy Resources, LLC), 3 April 2012).
952
    Resp. Rej. Merits, ¶ 72. See also, id., ¶ 641.

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         2010, before this dispute arose and before RD 1614/2010 was enacted, Claimants were
         indeed aware that a reform of the system was imminent and did not believe that there was
         a commitment to the petrification of RD 661/2007. 953

493.     RAIPRE Registration. Relying on Charanne, Respondent argues that no diligent investor
         could have legitimately expected that registration into the RAIPRE entitled it to the
         freezing of the RD 661/2007 regime, as the RAIPRE was merely an administrative
         requirement to sell energy. 954 Respondent also contends that Claimants’ argument as to
         the RAIPRE is based only on Article 4 of RD 1614/2010, overseeing that the regulatory
         regime included also the 1997 Electricity Law, other regulations and the case law of the
         Supreme Court, which make it clear that the only guarantee was of a return on the
         investment, but not of a specific system. 955

494.     Agreement with the Thermosolar Sector. Respondent denies that this alleged agreement
         of 2 July 2010 could have been source of expectations, arguing that Protermosolar’s
         actions thereafter in 2012 did not refer to any such agreement, nor did the PTEs do so
         during the consultation process for RD 1614/2010. 956 Respondent further denies that the
         enactment of RD 1614/2010 was the result of a negotiation with the sector, or that there
         was ever an agreement with the sector, arguing that the alleged negotiation process on
         which Claimants rely was simply the normal consultation procedure for the enactment of
         the decree, and that the 2 July 2010 “agreement” was simply a part of that process. 957

495.     Foreign Investment Campaign. Respondent denies that a worldwide campaign to attract
         foreign investment was launched by Spain. 958 Spain (i) maintains that Claimants have
         never demonstrated that the presentations of InvestinSpain or the CNE on which they rely
         were ever known and relied upon by Claimants to invest; (ii) argues that the presentations
         pre-date the alleged investment by several years; and (iii) disputes Claimants’


953
    Resp. C-Mem. Merits, ¶¶ 293-294.
954
    Resp. C-Mem. Merits, ¶ 680 (citing RL-088, Charanne); Resp. Rej. Merits, ¶¶ 696-700; 1080-1082.
955
    Resp. C-Mem. Merits, ¶¶ 710-711.
956
    Resp. C-Mem. Merits, ¶ 714.
957
    Resp. C-Mem. Merits, ¶¶ 309-313. See also, Resp. Rej. Merits, ¶¶ 64, 487-489.
958
    Resp. Rej. Merits, ¶¶ 65, 1085.

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         interpretation of the content of the presentations. 959 Respondent further submits that
         InvestinSpain was a private law entity without public prerogatives, and that the CNE
         presentations were merely educational and not for advertising or investment
         development. 960

496.     Change of Law Provisions. According to Respondent, Claimants “never believed” in the
         alleged commitments that they now invoke, as shown by contracts signed after the
         enactments of RD 661/2007, RDL 6/2009 and RD 1614/2010. 961 Respondent refers to
         (i) the Project Development Agreement with Casas de Hitos, which Respondent says
         contemplates the possibility that RD 661/2007 might be repealed or replaced; 962 (ii) the
         Engineering, Procurement and Construction Contract, signed in December 2009,
         foreseeing that the rates in Article 36 of RD 661/2007 might be modified; 963 (iii) an
         amendment to the Development Agreement, signed in December 2010 including a clause
         for regulatory risk; 964 and (iv) the credit agreement with the bank syndicate signed in
         April 2011, which contemplates “regulatory risk” and “changes in law.” 965

497.     Respondent further submits that other evidence submitted by Claimants serves to refute
         the allegations of legitimate expectations, including a proposal submitted by
         Protermosolar to the Ministry in June 2010 concerning measures to address the tariff
         deficit, containing a proposal for amendment of Article 44(3) of RD 661/2007 and
         recognizing State liability in the event of change, which was ultimately not accepted –




959
    Resp. Rej. Merits, ¶¶ 65, 711-713.
960
    Resp. Rej. Merits, ¶¶ 714-715.
961
    Resp. Rej. Merits, ¶¶ 44, 1095; Resp. Rej. Merits, ¶¶ 74-77; Resp. Skeleton, ¶ 36.
962
    Resp. Rej. Merits, ¶¶ 1096-1098 (discussing CLEX-019, CdH Project Development Agreement, 10 December
2007).
963
    Resp. Rej. Merits, ¶¶ 1099-1101 (discussing C-051, Engineering, Procurement Support and Construction Support
Services Agreement between PTE and Sener Ingeniería y Sistemas, S.A., 16 December 2009; and C-052,
Engineering, Procurement Support and Construction Support Services Agreement between PTE2 and Sener
Ingeniería y Sistemas, S.A., 16 December 2009).
964
    Resp. Rej. Merits, ¶¶ 1102-1104 (discussing CLEX-034, CdH Amendment to Project Development Agreement,
10 December 2010).
965
    Resp. Rej. Merits, ¶¶ 1105-1107 (discussing C-074, Credit Agreement, 28 April 2011).

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         reference to Article 3 of RD 661/2007 referring to the specifications in the name plate of
         the motor or alternator, observing that the CNE contradicts this contention. 988

508.     According to Respondent, the technical due diligence attached to Claimants’ own expert
         reports shows that Claimants were not in compliance with the requirement, as they have
         installed power greater than 50MW. 989 In addition, Respondent argues, the data for
         electricity production discharged to the network also confirms it; 990 and Claimants
         themselves have admitted that the plants are over the power limits. 991 The expert opinion
         of Mr. Jesús Casanova further supports the argument. 992                This said, Respondent
         emphasizes that it has never verified or calculated empirically the installed power of the
         Termosol Plants, because Claimants have not allowed it. 993

509.     Spain also opposes the contention that the principle of estoppel prevents Spain from
         raising this argument.      According to Respondent, Spain has never stated that the
         Termosol Plants were not overpowered (and in fact, it has never verified the installed
         capacity empirically). 994 Moreover, Respondent contends, (i) estoppel is not a principle
         recognized in Spain, and is also not applicable here as it is already embodied in the FET
         standard; (ii) the registration in the RAIPRE was based on compliance with
         administrative requirements (not technical ones); (iii) the CNE verified only that the
         plants had the documents and permits necessary to operate, but did not conduct an
         empirical power test; (iv) the “Electricity System” is a technical operator and not an
         administrative control body, and as such, it does not do verifications of the economic




988
    Resp. Rej. Merits, ¶¶ 968-971.
989
    Resp. C-Mem. Merits, ¶ 123 (citing CLEX-062, RWB, Independent Engineer’s Report. NextEra Energy
Resources, LLC. Termosol I Solar Power Project, 27 April 2011; CLEX-063, RWB, Independent Engineer’s
Report. NextEra Energy Resources, LLC, Termosol II Solar Power Project, 27 April 2011); Resp. Rej. Merits, ¶
967.
990
    Resp. Rej. Merits, ¶ 967.
991
    Resp. Rej. Merits, ¶ 968.
992
    Resp. Rej. Merits, ¶ 977.
993
    Resp. Rej. Merits, ¶ 974.
994
    Resp. Skeleton, ¶ 55; Resp. Rej. Merits, ¶¶ 29, 974.

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         generators, and to adapt the remuneration regime to ensure both objectives.1002
         Accordingly, renewable generators “could not seek to obtain, sine die, the tariffs and
         premiums of RD 661/2007.” 1003

514.     Spain further points out that the EC Decision concludes that the subsidies granted by
         Spain constitute State Aid within the meaning of Article 107(1) of the TFEU, and that
         there is no right to State Aid. It follows, Respondent says, that the rights Claimants
         allege to have are inexistent both under international law or domestic law. 1004 Relying on
         the EC Decision, Respondent emphasizes that “a recipient of State aid cannot, in
         principle, have legitimate expectations in the lawfulness of aid that has not been notified
         to the Commission” and, goes on to argue that, a diligent business man should have been
         able to determine whether the State Aid procedure had been followed. 1005

515.     Respondent further submits that: (i) the EC Decision ratified the proportionality and
         rationality of the challenged measures; 1006 (ii) confirmed that the regulatory lifetime set
         forth in the current regime is correct; 1007 and (iii) welcomed the transparency of the new
         regime and Spain’s commitment to periodic assessments to guarantee proportionality. 1008

516.     Finally, Respondent observes that the EC Decision dismisses the contention that there has
         been an infringement of the FET standard under the ECT; and argues that this Tribunal’s
         decision must be “compatible” with the EC’s Decision, given its role as applicable
         international law, domestic law, paramount fact and relevant interpretation criterion. 1009




1002
     Resp. Obs. EC Decision, ¶ 14.
1003
     Resp. Obs. EC Decision, ¶ 14.
1004
     Resp. Obs. EC Decision, ¶ 16-19.
1005
     Resp. Obs. EC Decision, ¶¶ 19-20.
1006
     Resp. Obs. EC Decision, ¶ 23.
1007
     Resp. Obs. EC Decision, ¶ 27.
1008
     Resp. Obs. EC Decision, ¶ 29.
1009
     Resp. Obs. EC Decision, ¶ 32.

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         “guaranteed specific revenues;” (ii) it is not true that under the new regime Claimants
         continue to receive a “reasonable return” on their investment, in fact their return is
         negative and their equity has been eviscerated; (iii) a State’s sovereign right to enact
         legislation must be exercised in accordance with any commitments undertaken towards
         investors, including those in the ECT; (iv) it is factually incorrect that Regulatory
         Framework III was needed to preserve sustainability of the system and eliminate
         overcompensation. 1028

523.     Retroactivity. Claimants contend that Regulatory Framework III is retroactive in
         character. 1029 Claimants argue that: (i) Article 1 of RDL 2/2013 reduced the inflation
         indexing substituting the Consumer Price Index with a new index, applying the change
         retroactively to 1 January 2013; 1030 (ii) RDL 9/2013 entered into effect on 14 July 2013,
         but it only put in place a basic framework that left undefined key concepts (standard
         reference plants, the Investment Payment and the OPEX) which were only defined in
         June 2014, which meant that the regulated tariff option continued to apply for almost a
         year but subject to a claw-back that operated retroactively from 9 July 2013; 1031 (iii)
         Regulatory Framework III applies to plants already designed, optimized and built in
         reliance on Regulatory Framework I, which makes it especially unfair; 1032 or put another
         way, (iv) RD 413/2014 and Ministerial Order IET/1045/2014 apply to plants already
         installed and pre-registered, not only to plants commissioned in the future. 1033 According
         to Claimants:

                  “This retroactivity is apparent from the text of RD 413/2014 and
                  Ministerial Order IET/1045/2014, which provides that they apply
                  retroactively to 13 July 2013, when RD 9/2013 first abolished the feed-in-
                  tariff and feed-in-premium based renewable remuneration schemes that
                  had been in place since RD 661/2007, although they were passed in June
                  2014. In practice, for generators that had started producing before 13
                  July 2013, the retroactivity of Regulatory Framework III goes even further

1028
     Cl. Skeleton, ¶ 43.
1029
     Cl. Reply Merits, § VII(3)(C)(c), ¶¶ 500-504.
1030
     Cl. Mem. Merits, ¶ 187, n. 213; Cl. Reply Merits, ¶ 503 (3d bullet).
1031
     Cl. Mem. Merits, ¶¶ 193-194; Cl. Reply Merits, ¶ 503 (3d bullet).
1032
     Cl. Mem. Merits, ¶ 209(iii); Cl. Reply Merits, ¶ 503 (2d bullet).
1033
     Cl. Reply Merits, ¶ 354; Cl. Reply Merits, ¶ 503 (1st bullet).

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527.     In Claimants’ view, Regulatory Framework III violates the ECT requirement of
         transparency for a number of reasons, including: 1041

         "     That “[t]he NVA, OPEX Payment, Investment Payment, operating hour limits,
               regulatory useful life and ‘reasonable return’ were determined in secret.” 1042

         "     That “neither RD 413/2014 nor [Ministerial] Order [IET/1045/2014] explains how
               Spain arrived at the new CSP plant categories, nor how Spain determined the
               permitted investment and OPEX costs of the ‘standard’ plant against which Spain
               measures the Termosol Plants […]” and “Spain produced no reasoning or
               justification for the 3,060 hour cap on annual operating hours that it imposed.” 1043

         "     That “Regulatory Framework III does not expressly state what cost items Spain
               has allowed (or disallowed) in arriving at the permitted NVA (and thus the
               resulting Investment Payment).” 1044

528.     Claimants also argue, in particular, that Respondent (i) did not hold proper consultations
         in the lead to RDL 9/2013, and that to the extent it held formal consultations with respect
         to RD 413/2014 and Ministerial Order IET/1045/2014 it did not meaningfully engage
         with the industry participants; 1045 (ii) left investors in the dark for almost a year while it
         determined several concepts (standard plant categories, capital investment values and
         OPEX payments); 1046 (iii) set several criteria behind closed doors (operating hour limits
         and criteria for a “well-managed” operator). 1047 The industry and the Spanish regulator
         itself criticized the lack of transparency in certain parameters of the new regime; 1048 and
         Respondent refused to disclose documents and technical studies upon which it intended
         to base the parameters in Regulatory Framework III (including the BCG and Roland
         Berger Reports). 1049




1040
     Cl. Reply Merits, ¶¶ 506-508 (citing CL-018, Tecmed; RL-091, Electrabel; CL-028, Plama Award).
1041
     Cl. Mem. Merits, ¶¶ 209, 275. See also, Cl. Reply Merits, ¶ 286.
1042
     Cl. Mem. Merits, ¶ 209(iv).
1043
     Cl. Mem. Merits, ¶ 209(v).
1044
     Cl. Mem. Merits, ¶ 209(vi).
1045
     Cl. Reply Merits, ¶¶ 291, 295, 510; Cl. Skeleton, ¶ 45.
1046
     Cl. Reply Merits, ¶ 510; Cl. Skeleton, ¶ 45.
1047
     Cl. Reply Merits, ¶ 510; Cl. Skeleton, ¶ 45.
1048
     Cl. Reply Merits, ¶ 510 (referring to criticism by the CNE); Cl. Skeleton, ¶ 45.
1049
     Cl. Reply Merits, ¶¶ 286, 302-316, 512; Cl. Skeleton, ¶ 45.

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         a reasonable return (the return being better that the discount rate of the sector and of
         Claimants themselves). 1056

532.     Respondent contends that the ECT does not grant investors a right to freezing the
         regulatory framework. 1057 Relying on Plama, Respondent alleges that a “regulatory
         framework in itself does not constitute a specific commitment.” 1058 And relying on AES,
         Respondent argues that the provision of the ECT referring to stable conditions is not a
         stability clause, as a legal framework is subject to change by definition. 1059         Thus,
         Respondent contends that “although investors can reasonably and legitimately expect a
         host State to provide them with stable conditions for investment,” that “cannot prevent a
         host State […] [from] undertaking regulatory, legitimate and reasonable reforms
         imposed by justified circumstances.” 1060

533.     Respondent denies Claimants’ characterizations of Regulatory Framework III presented
         in support of their allegations of lack of stability. 1061 In particular, Respondent contends
         that:

         "       The investment costs in Regulatory Framework III were based on type of facilities,
                 as “reasonable return should be based on an analysis of the actual average costs
                 in the sector adapted to cost-effective and well-managed facilities” given that the
                 “return must also be reasonable for the consumer” who has a right to an electricity
                 supply at the “lowest possible cost.” 1062

         "       No reasonable costs are excluded. Since the 2005-2010 Renewable Energy Plan
                 and RD 661/2007, the concept of “reasonable return” has referred to a “project
                 financed with independent sources,” and the financial structure of each investor is
                 an individual and free business decision. 1063




1056
     Resp. Rej. Merits, ¶ 22 (h-i).
1057
     Resp. C-Mem. Merits, ¶ 747.
1058
     Resp. C-Mem. Merits, ¶ 740 (citing RL-092, Plama Award).
1059
     Resp. C-Mem. Merits, ¶ 741 (citing RL-024, AES, ¶ 9.3.29).
1060
     Resp. C-Mem. Merits, ¶ 744. See also, id. ¶ 747; Resp. Rej. Merits, ¶ 1126.
1061
     Resp. C-Mem. Merits, ¶ 750 (discussing Cl. Mem. Merits, ¶ 268).
1062
     Resp. C-Mem. Merits, ¶ 750(i).
1063
     Resp. C-Mem. Merits, ¶ 750(ii)

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         "      Investment costs do not refer to the specific costs of each plant, and the alleged
                uniqueness of the Termosol Plants relates only to their storage capacity and their
                larger solar field, which have been taken into account in the new legislation. 1064

         "      It is erroneous to assert that Regulatory Framework III establishes arbitrary limits
                for operational hours and lives of the plants, because the operating hours limits
                only concern subsidized hours, but Claimants may continue to produce above the
                limit and sell at market price; and the limit on hours had already been outlined
                since RD 1614/2010. 1065

         "      Claimants are wrong in equating the return of 7.398% to a 5.2% after-tax return,
                which in truth amounts to 6% after-tax. 1066

         "      Because the 2005-2010 Renewable Energy Plan and RD 661/2007 refer to the
                “reasonable return” of a project funded with independent sources, “the sufficiency
                or insufficiency of income received by Plants to meet their credit obligations” is “a
                matter removed from the disputed measures.” 1067

         "      Claimants have not substantiated the allegation that their large capital investments
                are virtually worthless; and the PTEs receive between 30-34 million EUR annually
                in subsidies. 1068

534.     According to Respondent, the ECT standard of stability allows the “adoption of
         reasonable and proportionate macroeconomic control measures, provided that they are
         motivated by a reasonable cause.” 1069 No instability has occurred here, as “the changes
         made have been aimed precisely (1) to apply the principle of reasonable return; (2) to
         correct situations of over-compensation not covered by this principle; (3) to solve
         imbalanced situations with [the Spanish Electricity System], which endangered the
         economic sustainability of the same institution and (4) strengthen the stability of the
         regulatory framework by raising through a legal rule some aspects previously governed
         by a regulation.” 1070 According to Spain, after the disputed measures, investors still
         receive the value of their investment, long-term costs and a reasonable rate of return. 1071


1064
     Resp. C-Mem. Merits, ¶ 750(iii).
1065
     Resp. C-Mem. Merits, ¶ 750(iv).
1066
     Resp. C-Mem. Merits, ¶ 750(v).
1067
     Resp. C-Mem. Merits, ¶ 750(vi).
1068
     Resp. C-Mem. Merits, ¶ 750(vii).
1069
     Resp. C-Mem. Merits, ¶ 752. See also, Resp. Rej. Merits, ¶ 1115; Resp. Skeleton, ¶ 42.
1070
     Resp. C-Mem. Merits, ¶ 764 (emphasis omitted). See also, Resp. Rej. Merits, ¶ 1130; Resp. Skeleton, ¶ 43.
1071
     Resp. Rej. Merits, ¶ 1117.

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535.     Respondent distinguishes the case law relied upon by Claimants, arguing that it refers to
         cases involving concession agreements or licenses expressly limiting reforms in the
         agreement. 1072 Moreover, Respondent contends that, even if measured under the standard
         of stability in the arbitral doctrine invoked by Claimants, no breach has occurred as: (i)
         the legislation was adopted in the exercise of legislative power, with full respect for
         established procedures and with the aim of preserving the balance and sustainability of
         the system; (ii) no legitimate expectations have been breached since investors should
         have known the regulatory framework and how it had been applied in case law; 1073 (iii)
         there has been no complete transformation or significant change of the legal
         framework. 1074

536.     Non-Retroactivity. Respondent denies that the new regime is retroactive, both under
         international law, and under Spanish law. 1075 It contends that the effects of the disputed
         measures “only unfold towards the future, as they have to respect the payments made
         prior to the[ir] entry into force.” 1076

537.     As to international law, relying on Nations Energy, Respondent contends that a norm
         would be retroactive only if it affects “acquired rights,” but not when the rules apply to
         future events without affecting existing rights. 1077 And Claimants, Spain argues, have
         never had an “acquired right” to a fixed remuneration feed-in-tariff system. 1078              Put
         another way, according to Respondent, international law allows a rule to apply to
         situations originated before the rule came into effect, but only with regard to future
         effects. 1079 Respondent also submits that the Charanne tribunal has already ruled that the
         measures taken by Spain were not retroactive, holding that “unless there are specific
         commitments in place such as those stemming from a contract, there is no principle of

1072
     Resp. C-Mem. Merits, ¶ 753.
1073
     Resp. C-Mem. Merits, ¶ 758.
1074
     Resp. C-Mem. Merits, ¶ 762.
1075
     Resp. C-Mem. Merits, ¶ 766; Resp. Rej. Merits, ¶¶ 87, 547-567.
1076
     Resp. C-Mem. Merits, ¶ 771. See also, Resp. Skeleton, ¶ 44.
1077
     Resp. C-Mem. Merits, ¶¶ 767-768 (citing RL-069, Nations Energy Inc. et al. v. Republic of Panama, ICSID
Case No. ARB/06/19, 24 November 2010, ¶¶ 642, 644, 646).
1078
     Resp. Rej. Merits, ¶¶ 542, 558, 1134.
1079
     Resp. Rej. Merits, ¶¶ 556-557.

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         international law preventing a State from adopting regulatory measures with immediate
         effect on ongoing situations.” 1080

538.     As to domestic law, Spain argues that its Constitutional Court has already ruled that RDL
         9/2013 was not retroactive, in judgements of 17 December 2015 and 18 February
         2016; 1081 and its Council of State (Consejo de Estado) has also ratified that the legality of
         the measures, which apply to the future without affecting acquired rights. 1082

539.     Respondent argues that Regulatory Framework III applies only to the future and does not
         impact subsidies previously paid; and there is no retroactivity in the notion that granted
         subsidies are offset with future profit. 1083 According to Spain, what the regulator has
         done is to establish “a reasonable rate of return in the useful activity of the facility as a
         whole,” which “makes it possible to take into consideration the remunerations already
         received from the facility commissioning date, for the purpose of calculating the future
         subsidies to be received outside of the market, without incurring in retroactivity.”1084
         Moreover, according to Respondent “if the subsidies already received in the past were
         not taken into account in the calculation of future subsidies, excess remuneration for the
         plants could occur, thus distorting the market rules comprising illegal State Aid, with an
         infraction of EU Law.” 1085

540.     And according to Respondent, Claimants were aware that the measures were not
         retroactive, as they were advised since 2007, 2008 and 2010 that reforms could be
         introduced affecting the remuneration for existing installations. 1086




1080
     Resp. C-Mem. Merits, ¶ 769 (citing RL-088, Charanne, ¶¶ 546, 548).
1081
     Resp. C-Mem. Merits, ¶ 772 (citing R-056, Judgement of the Constitutional Court, 17 December 2015, num.
5347/2013; R-075, Judgment of the Constitutional Court, 18 February 2016, num. 6031/2013; R-072, Judgement of
the Constitutional Court, 18 February 2016, num. 5582/2013).
1082
     Resp. C-Mem. Merits, ¶ 774 (citing R-144, Opinion 937/2013, Permanent Commission of the State Council, 12
September 2013); Resp. Rej. Merits, ¶¶ 560-567.
1083
     Resp. Rej. Merits, ¶ 1139.
1084
     Resp. Rej. Merits, ¶ 1139 (emphasis omitted).
1085
     Resp. Rej. Merits, ¶ 565.
1086
     Resp. Rej. Merits, ¶ 87 (referring to C-202, 2008 Pöyry Report; R-396, Email from Joana Sánchez, 21 April
2010).

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         actively via Protermosolar. 1094          In fact, Respondent argues, some parameters of
         Ministerial Order IET/1045/2014 were modified in response to allegations made by the
         Termosol Plants during the consultation process. 1095 Respondent further explains that
         Claimants’ complaint that there was no consultation process during the enactment of
         RDL 9/2013 overlooks that RDLs are measures of extraordinary and urgent need that do
         not allow for a consultation process, and in any event, it was a transitory measure
         superseded by Law 24/2013, RD 413/2014 and Ministerial Order IET/1045/2014. 1096

545.     Third, Respondent contends that there was “[a]bsolute transparency” regarding all
         relevant information. 1097       Referring to Claimants’ specific allegations of lack of
         transparency with regard to certain reports commissioned by the Government to
         determine the parameters of the new regulation by Boston Consulting and Roland Berger,
         Spain argues that neither report was crucial in the development of the regulations, nor did
         Claimants request them during the process of enactment of the norms. 1098 Respondent
         explains that the Boston Consulting contract was terminated before a report had been
         delivered to Spain, and the Roland Berger report was received after the enactment of RD
         413/2014 and the Ministerial Order IET/1045/2014. It was not a prerequisite for the
         regulation, but rather technical support to IDEA in the analysis of costs of the plants, and
         Claimants have had access to it. 1099 For Respondent, failure to deliver documents that
         were not taken into account during the drafting process of the regulation cannot entail a
         breach of the ECT. 1100

546.     Fifth, Respondent takes issue with Claimants’ allegation that they were in the dark with
         respect to certain concepts of the new framework. In particular, Respondent contends
         that (i) the new rate of return of 7,398 was indeed proposed by the renewable energy
         sector in 2009; (ii) the 10-year bond was considered a good index since the 2007 CNE


1094
     Resp. C-Mem. Merits, ¶¶ 784-790. See also, Resp. Rej. Merits, ¶¶ 37, 84, 1153-1154.
1095
     Resp. Rej. Merits, ¶ 83.
1096
     Resp. Rej. Merits, ¶ 1152.
1097
     Resp. C-Mem. Merits, §III(F)(4)(3).
1098
     Resp. C-Mem. Merits, ¶ 794.
1099
     Resp. C-Mem. Merits, ¶¶ 792-793. See also, Resp. Rej. Merits, ¶ 1159.
1100
     Resp. Rej. Merits, ¶ 1158.

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         cannot justify Spain’s actions because there were many other ways open to Spain to
         address it; 1107 (ii) the drop in electricity demand cannot assist Spain because it was
         Respondent itself who decided how much electricity capacity it wanted, Spain was on
         notice of the drop in electricity demand before it affirmed the timetable for CSP roll out
         in RD 1614/2010, and Spain had other means to deal with over-capacity; 1108 and (iii) the
         allegation that Claimants were overcompensated is unsubstantiated – the IRR expected
         by Claimants did not change materially before December 2012 when Law 15/2012 was
         introduced, and therefore is not credible to assert that a 36% cut in revenues is
         reasonable. 1109

551.     Disproportionate. In addition, Claimants argue that, even if Spain had not committed to
         stable revenues for the Termosol Plants and regardless of tariff deficit or capacity
         difficulties, Regulatory Framework III breached Article 10(1) of the ECT “because it
         inflicts a disproportionate level of harm to the Claimants’ investments by virtually wiping
         out the value of the Claimants’ equity as a means to extract Spain from a budgetary
         shortfall of Spain’s own making.” 1110 In Claimants’ view, there were less restrictive
         alternatives that Respondent could have deployed in pursue of its policies, while still
         meeting the ECT. 1111

552.     Claimants contend that Spain’s measures “have reduced the value of the Claimants’
         equity in NEE España from €397.4 million to €15.5 million and imposed other losses on
         NEE España’s loans to the PTEs and the Claimants’ indirect equity interest in NEEOS
         (further losses of €4.4 million) as well as lost historical cash flows of €7.3 million
         producing a total loss of €393.6 million.” 1112 These amounts were later updated by


1107
     Cl. Reply Merits, ¶ 521. Claimants also argue that Spain is estopped from using the tariff deficit as an excuse.
Cl. Reply Merits, ¶ 407.
1108
     Cl. Reply Merits, ¶¶ 519-520.
1109
     Cl. Reply Merits, ¶ 522. See also, id. ¶ 523. Claimants also maintain that Spain is estopped from arguing that
Claimants were being overcompensated. Cl. Reply Merits, ¶ 412.
1110
     Cl. Mem. Merits, ¶ 271. See also, Cl. Skeleton, ¶ 46.
1111
     Cl. Skeleton, ¶ 46.
1112
     Cl. Mem. Merits, ¶ 274 (emphasis in original). Claimants note that, while the severity of the impact is sufficient
to be considered a “substantial deprivation” of their investment within the expropriation test under customary
international law, in their view the measure of damages should be the same as Claimants’ case on FET, and
therefore they are not presenting a claim for breach of Article 13 of the ECT. Cl. Mem. Merits, ¶ 279.

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         Claimants. Thus, in their last expert report, Claimants argued that the reduction in value
         of the Claimants’ equity in NEE España was from EUR 450.6 to EU 41.7 million; and
         that their total loss was of EUR 521.4 million.1113 They also observe that there has been
         a 36% cut to the Termosol Plants revenues, which cannot be considered proportionate.1114
         Claimants also add that “the return presently given to the Project by the Regulatory
         Framework III is insufficient to allow the recovery of the Claimants’ investment” and
         they “are now facing a near total loss of their equity investment of €209.6 million.”1115
         In addition, the PTEs and NEE España have also suffered severe financial consequences
         as a result of Regulatory Framework III, and while the PTEs difficulties have been
         alleviated to a certain extent after agreements with the project lenders in August 2016,
         Claimants are still facing a “near total loss of their equity.” 1116

553.     For Claimants, severity of effect is a good indication of whether there is an FET
         violation, since the FET standard requires States to act proportionately in their dealings
         with foreign investors. 1117 Tribunals have recognized the need for a reasonable relation
         of proportionality between the alleged regulatory aim, the means taken to achieve it and
         the burden on the investor. 1118

554.     Spain fails to meet this test, Claimants argue, because there is no rational connection
         between the measures and the public purpose that Spain invokes: (i) Spain, not
         Claimants, was responsible for accumulating the tariff deficit and the alleged over-
         capacity; and (ii) Spain has not demonstrated the rational connection between the
         measures and the alleged overcompensation to CSP investors. 1119                     In addition, the




1113
     CER-Compass Lexecon Third, ¶ 4, Table I.
1114
     Cl. Reply Merits, ¶ 533.
1115
     Cl. Skeleton, ¶ 48.
1116
     Cl. Skeleton, ¶ 49.
1117
     Cl. Mem. Merits, ¶ 272. See also, Cl. Reply Merits, ¶ 524.
1118
     Cl. Reply Merits, ¶¶ 526, 528.
1119
     Cl. Reply Merits, ¶ 529. See also, Cl. Reply Merits, ¶¶ 407, 412 (arguing that Spain is estopped from arguing
the tariff deficit or overcompensation as an excuse).

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         measures taken are not the least restrictive measure Spain could have deployed to achieve
         its stated goals, in Claimants’ view. 1120

555.     Discriminatory.       Claimants argue that the new regime is discriminatory because it
         penalizes high quality and productive plants built in reliance on Regulatory Framework I,
         in breach of Article 10(1) of the ECT. 1121 Claimants make clear that this particular one is
         not a standalone claim of discrimination under Article 10(7) of the ECT, as it is not based
         on MFN treatment or national treatment. 1122

556.     Claimants argue that: (i) “[t]he capacity-based payment system, compounded by Spain’s
         application of its ‘standard’ NVA and the new cap on operating hours, discriminates
         against the Termosol Plants,” because they were designed to maximize electricity output
         on the basis of Regulatory Framework I, and under the new system only a small portion
         of the remuneration is based on electricity production; 1123 (ii) “[t]he new ‘regulatory
         useful life’ [of 25 years] further discriminates against the Claimants,” as they built their
         plants with the intention that they would last 30 years or longer; 1124 and (iii) “Regulatory
         Framework III also discriminates against the Termosol Plants by failing to differentiate
         among CSP plants that have very different investment costs and operating expenditures
         on the basis of the size of thermal storage.” 1125

557.     Claimants observe that Respondent’s reliance on Article 10(8) of the ECT to argue that
         Claimants have not been guaranteed the maximum standard of non-discrimination is
         irrelevant, because this claim is being asserted under Article 10(1) of the ECT.1126
         Claimants also argue that Spain’s response that the measures are of general application
         has no merit in law, because it is well established that de facto discrimination entails a
         breach of the standard. 1127 Finally, Claimants argue that Spain cannot defend arguing

1120
     Cl. Reply Merits, ¶ 530 (referring to id., § V(2) and V(3)).
1121
     Cl. Mem. Merits, ¶ 270. See also, e.g., Cl. Mem. Merits, ¶ 209 (x-xi).
1122
     Cl. Reply Merits, ¶ 535.
1123
     Cl. Mem. Merits, ¶ 209 (x); Cl. Reply Merits, ¶ 536 (1st bullet).
1124
     Cl. Mem. Merits, ¶ 209 (xi); Cl. Reply Merits, ¶ 536 (2d bullet).
1125
     Cl. Reply Merits, ¶ 536 (3d bullet).
1126
     Cl. Reply Merits, ¶ 515.
1127
     Cl. Reply Merits, ¶ 537.

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         to macro-economic conditions allegedly threatening the sustainability of the system,
         Claimants contend that: (i) Spain has not sought to bring its action under the security
         interests provision in Article 24 of the ECT, nor has Spain raised a necessity defence
         under customary international law, thereby acknowledging that the measures were not the
         only way to preserve an essential interest of the State from a grave or imminent peril;1135
         (ii) even if Spain had raised a necessity defence, it could have never been successful as
         the elements in Article 25 of the ILC Articles on State Responsibility have not been
         demonstrated; and (iii) even if it had been demonstrated as of 2013, a state of necessity
         would only provide temporary absolution while it lasted, which would no longer be the
         case as Spain has experienced three years of growth. 1136

                 b. Respondent’s Position

562.     Spain denies that the measures it has adopted were disproportional, excessive, irrational
         or discriminatory. 1137 It highlights that Article 10(8) of the ECT does not guarantee
         Claimants the maximum standard of non-discrimination. 1138

563.     Reasonability. Respondent argues that the measures were reasonable in light of the
         circumstances at the time of their adoption. In particular, Respondent refers to (i) the
         drop in the demand for electricity; (ii) the existence of an excess remuneration in the
         renewable energy sector; and (iii) the tariff deficit; all of which, according to Respondent,
         contributed to making the system unsustainable. 1139                 According to Respondent, these
         reasons were foreseeable to a diligent investor, and indeed, Claimants were so informed
         in a due diligence report in 2008. 1140

564.     Respondent takes issue with Claimants’ contention that the CSP sector did not contribute
         to the tariff deficit, arguing that the Claimants’ theory is deceitful, and based on 2012
         figures which are not significant in light of the staggered commissioning of CSP


1135
     Cl. Reply Merits, ¶ 518. See also, Cl. Skeleton, ¶ 52.
1136
     Cl. Skeleton, ¶ 52.
1137
     Resp. C-Mem. Merits, ¶ 803; Resp. Rej. Merits, ¶ 1194.
1138
     Resp. C-Mem. Merits, ¶ 804.
1139
     Resp. C-Mem. Merits, ¶ 805. See also, Resp. Rej. Merits, ¶¶ 1174-1177.
1140
     Resp. Rej. Merits, ¶ 36.

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         plants. 1141 Moreover, Respondent contends, while Claimants argue that there were other
         alternatives to resolve the tariff deficit, they have not established the viability of those
         other alternatives. 1142

565.     Respondent further opposes Claimants’ contention that estoppel prevents raising the
         deficit as a defence, arguing that there was never a promise to Claimants that the deficit
         would not affect their remuneration conditions. 1143

566.     Spain further maintains that the disputed measures have been considered reasonable and
         attractive by domestic and foreign investors, as shown by the “massive influx of new
         investors,” as well as by international authorities such as the European Commission, the
         International Monetary Fund and the International Energy Agency. 1144

567.     According to Respondent, the measures were reasonable with the aim of ensuring
         investors a “reasonable return.” 1145 The reasonableness is shown, Respondent says, by
         (i) reference to certain generally accepted criteria, including the opportunity cost, which
         was calculated among 6.38% and 6.86% (below the 7.398% granted by the new regime);
         (ii) comparison with the profitability of other activities of the same risk level; and (iii)
         comparison with the profitability levels given by banks. 1146 Moreover, Respondent says,
         that 7.398% profitability was that requested by the sector from the Government in
         2009. 1147

568.     Respondent opposes Claimants’ reliance on the principle of estoppel with respect to the
         rate of return, arguing that there is no evidence that Spain promised or guaranteed a
         return of 11.6% for thirty years. 1148




1141
     Resp. Rej. Merits, ¶ 1173(1).
1142
     Resp. Rej. Merits, ¶ 1173(3).
1143
     Resp. Rej. Merits, ¶¶ 29, 998.
1144
     Resp. C-Mem. Merits, ¶¶ 808-813.
1145
     Resp. Rej. Merits, ¶¶ 1178-1186.
1146
     Resp. Rej. Merits, ¶¶ 1180-1182, 1186.
1147
     Resp. Rej. Merits, ¶ 1184.
1148
     Resp. Rej. Merits, ¶¶ 349, 999-1002.

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569.     Proportionality.     Respondent also rejects Claimants’ reliance on the test of
         proportionality endorsed by the tribunal in Occidental, arguing that the cases are
         distinguishable. In particular, Spain argues that the disputed measures in this case are a
         clear exercise of the State’s regulatory power, not comparable to those at issue in
         Occidental. 1149

570.     Respondent contends that Claimants’ allegations of lack of proportionality overlook that
         (i) proportionality is measured by the relation between the need for the measures and the
         sacrifice of the investor; (ii) the measures impacted all agents in proportion to their
         contribution to the deficit; (iii) the impact is measured with regard to typical plants, not
         specific ones; (iv) the IRR of 11% included in the Financial Report for RD 661/2007 was
         a maximum return. 1150

571.     Non-Discrimination. Respondent contends that Claimants have not shown how the new
         regime penalizes and discriminates against plants built under Regulatory Framework I.
         Ministerial Order IET/1045/2014 does consider the special characteristics of Claimants’
         plants, including their larger solar park and their greater storage capacity, and are
         afforded greater investment costs. 1151

572.     Referring to the test for discriminatory conduct endorsed by the tribunal in EDF,
         Respondent contends that none of those criteria are met in this case. In particular,
         Respondent argues that (i) the purpose of the measures was legitimate, aimed at
         redressing an imbalance in the system; (ii) the measures fully respected existing
         regulations and the case law of the Supreme Court, and they are general in scope; (iii) the
         reasons put forward for the adoption of the measures, namely, to guarantee sustainability
         of the system, were the reasons behind the measures; (iv) the measures were not taken in
         wilful disregard of due process, and indeed followed the legally established procedures




1149
     Resp. C-Mem. Merits, ¶¶ 814-816 (referring to CL-039, Occidental Petroleum Corporation, Occidental
Exploration and Production Company v. Republic of Ecuador, ICSID, Case no. ARB/06/11, Award (5 October
2012)).
1150
     Resp. Rej. Merits, ¶ 1168.
1151
     Resp. C-Mem. Merits, ¶¶ 817-818.

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         for the enactment of the regulations on the standard of remuneration in the electricity
         sector. 1152

573.     In addition, Respondent argues that the disputed measures also meet the standard for
         reasonable and non-discriminatory conduct set forth in AES. 1153 Specifically, Respondent
         contends that (i) the measures respond to a rational policy and a public economic
         objective – restoring the balance in the system reducing excessive profits by investors
         and lessening the burden on Spanish consumers that was playing a key role in the tariff
         deficit; 1154 (ii) the measures were reasonable in light of the objective of the public policy
         sought – they impacted all the actors in the system (consumers, producers,
         distributors), 1155 and were proportionate as they allow producers to reach a reasonable
         return of 7.398% over its investment costs, while restoring the equilibrium vis-à-vis
         consumers and the sustainability of the system. 1156        In short, for Respondent, the
         measures responded to rational policy implemented via a reasonable action. 1157

574.     Respondent further observes that Claimants’ contention is one for discrimination against
         the Termosol Plants, rather than the investor or its investment, and as such it does not fall
         under the protection of the ECT. 1158 But, in any event, Spain contends, the alleged
         discrimination does not exist because (i) there is no evidence of extraordinary
         characteristics of the Termosol Plants (with storage capacity and larger solar field being
         the only distinguishing factors that resulted in the creation of a specific category for them
         in Ministerial Order IET/1045/2014); 1159 (ii) there is no evidence that the Termosol
         Plants will have an life beyond 25 years; 1160 and (iii) financing costs have never been




1152
     Resp. C-Mem. Merits, ¶ 824 (referring to RL-062, EDF (Services) Limited v. Romania, ICSID Case No.
ARB/05/13, Award (8 October 2009)).
1153
     Resp. C-Mem. Merits, ¶¶ 826-839 (referring to RL-024, AES).
1154
     Resp. C-Mem. Merits, ¶¶ 828, 830.
1155
     Resp. C-Mem. Merits, ¶ 833.
1156
     Resp. C-Mem. Merits, ¶¶ 834, 836.
1157
     Resp. C-Mem. Merits, ¶ 838.
1158
     Resp. Rej. Merits, ¶ 1188.
1159
     Resp. Rej. Merits, ¶¶ 1190-1191.
1160
     Resp. Rej. Merits, ¶ 1192.

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           its own, Regulatory Framework I could not reasonably have been the basis for an
           expectation by Claimants that they would be entitled to receive precisely the benefits that
           such Regulatory Framework prescribed.

585.       Equally, the Tribunal does not consider that registration in the Pre-Assignment Registry
           or in the RAIPRE, while a necessary part of the process for obtaining the benefits of the
           regulatory regime, did of itself grant any right to the economic regime set out in RD
           661/2007. 1172 As the Charanne tribunal said, “registration with the RAIPRE was a mere
           administrative requirement in order to be able to sell energy, and by no means implied
           that registered facilities had a vested right to a certain remuneration.” 1173

586.       Nor is the Tribunal persuaded that the Ministerial Resolutions of December 2010
           themselves provide a reasonable basis for a legitimate expectation that there was a
           guarantee of the terms of Regulatory Framework I.             The resolutions reiterate the
           applicable terms of Regulatory Framework I. If Regulatory Framework I was not a
           guarantee of its terms, then the Ministerial Resolutions could not do what the legislation
           to which they applied had not done.

587.       While none of these claims individually constitute a basis for Claimants’ legitimate
           expectations claim, they do provide context for that claim. The primary basis for the
           claim, however, is that statements and assurances were made directly to NextEra by
           Spanish authorities and that these created expectations about the economic regime that
           would apply to Claimants in respect of their investment. In other words, the terms of
           Regulatory Framework I, and the circumstances surrounding the registration of NextEra’s
           investment, provide a context in which the representations and assurances of the Spanish
           authorities could be the basis for a legitimate expectations claim.

588.       The statements and assurances on which Claimants rely fall into five categories:




1172
       Resp. C-Mem. Merits, ¶¶ 678, 680.
1173
       RL-088, Charanne, ¶ 510.

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         (1)   Statements made in writing to NextEra by Spanish officials. 1174

         (2)   Statements made in writing by NextEra representatives to Spanish officials that
               were not contradicted or disagreed with by Spanish officials (although not
               responded to or agreed to). 1175

         (3)   NextEra’s internal memoranda reporting on meetings with the Spanish officials. 1176

         (4)   Witness statements indicating NextEra’s understanding of the Spanish position.1177

         (5)   Statements made to industry, 1178 and statements made to the PTEs. 1179

589.     The Tribunal notes that the statements relied on have various levels of probity. Indeed,
         Spain argued that the statements evidenced no commitments on behalf of the Spanish
         government and, in many instances they constituted a unilateral understanding of
         Claimants that had never been confirmed by the Spanish authorities. Letters written by
         Spain were often not initiated by it but were responses to letters from NextEra.

590.     In the view of the Tribunal, statements made in writing by Spanish officials constitute the
         best evidence of Spanish assurances that could be the basis for legitimate expectations.
         The rest are unilateral statements by NextEra officials of their understanding of Spain’s
         position. However, although Respondent attempted to cast doubt on the weight that
         could be attached to those statements, it never denied that the statements were made even
         when the statements were recorded only in NextEra’s own documents or in the witness
         statements of Mr. Davidson and Mr. Arechabala. Respondent did not cross-examine

1174
     C-006, Letter from Pedro Marín (Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources,
LLC), 3 September 2009; C-008, Letter from Pedro Marín (Secretary of State for Energy) to Mitch Davidson
(NextEra Energy Resources, LLC), 11 January 2010.
1175
     C-014, Letter from Mitch Davidson (NextEra Energy Resources, LLC) to Miguel Sebastián (Minister for
Industry, Tourism and Trade), 9 December 2009.
1176
     C-057, Email from Mike Arechabala (NextEra Energy España, S.L.) to Antonio De Juan Fernandez (Pöyry
Consulting), 12 May 2010.
1177
     CWS-Davidson First, ¶¶ 15, 36; CWS-Arechabala First, ¶¶ 47, 53.
1178
     C-065, Agreement with the Solar Thermal Industry, July 2010; C-066, Ministry for Industry, Tourism and
Trade, Press Release, Industry Ministry Reaches an Agreement with the Wind and Solar Thermal Sectors for the
Revision of their Payment Framework, 2 July 2010.
1179
     C-009, 2010 Resolution Termosol 1, 28 December 2010; C-010, 2010 Resolution Termosol 2, 28 December
2010.

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         those witnesses on what they said had been told to them by Spanish officials. 1180 As a
         result, what NextEra claims to be assurances of Spanish officials was not contradicted by
         Respondent and thus can be relied upon by the Tribunal.

591.     What, then, was being assured and what was the scope of the legitimate expectations that
         could have been reasonably held by Claimants? As mentioned above, Claimants could
         not have had the expectation that the RD 661/2007 regime was frozen and could not be
         changed. But the broader question is whether, in light of the assurances that they were
         given by Spain, Claimants had a legitimate expectation that the regime would not be
         changed in a way that would undermine the security that Claimants had in respect of the
         economic regime set out in RD 661/2007.

592.     The assurances on which such an expectation can be based include the letter from
         Secretary Marin to Mr. Davidson, which said, “the absolute vocation of said legislation is
         to preserve the legal security of all investments currently underway, thereby
         guaranteeing the forecasts under which said investments are to be made;” 1181 and the
         subsequent letter from Secretary Marin to Mr. Davidson, which said, “the new framework
         for the promotion of renewable energies is governed by the principles of judicial and
         regulatory stability and visibility, and that the actual pre-assignment in the registry
         guarantees the promoter the benefits of the economic regime under which it made its
         investment decision.” 1182 The Tribunal does not see these as “commitments” by Spain,
         but “legitimate expectations” can exist in the absence of actual formal commitments.

593.     The question is whether what was said could reasonably give rise to expectations about
         the future conduct of the government. In the present context, the use of terms such as
         “guaranteeing” and “preserv[ing] legal security,” in letters from a Spanish minister can
         reasonably be taken as statements that the Spanish government had no intention of
         making significant changes to the investment regime set out in RD 661/2007 and that this
         could be relied on by an investor.           That NextEra took these statements, and other
1180
     Tr. Day 7 (ENG), 1375:3-12 (Ms. Nairn).
1181
     C-006, Letter from Pedro Marín (Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources,
LLC), 3 September 2009.
1182
     C-008, Letter from Pedro Marín (Secretary of State for Energy) to Mitch Davidson (NextEra Energy Resources,
LLC), 11 January 2010.

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         statements reportedly made by Spanish officials, as assurances of the “long-term tariff
         and premium stability” they were looking for is evidenced in the witness statements of
         Mr. Davidson and Mr. Arechabala. 1183

594.     The process by which RD 1614/2010 came into effect would also have engendered the
         expectation that Spain would not unilaterally make changes to the regime without
         consultation with the solar energy sector. This process had involved extensive
         consultations with industry with amendments being proposed by NextEra among others
         and accepted by the Spanish government. 1184 This process also would have reinforced
         the expectation that Claimants could expect that there would be no radical changes made
         to the economic regime based on RD 661/2007 as modified in RD 1614/2010.

595.     Respondent argues that “lack of due diligence prevents the expectations […] from being
         considered to be real and objective” and that Claimants did not do proper due
         diligence. 1185 However, the Tribunal is not convinced that a lack of due diligence has
         been established. Claimants had the Poyry consultant reports and Claimants refer to legal
         opinions they received on Spanish law. The fact that Claimants refused to waive their
         privilege in respect those legal opinions should not lead to any adverse inferences. Non-
         disclosure means that Respondent and the Tribunal have not had access to the content of
         those opinions, but the fact that Claimants received legal advice is not really contested.
         In short, the Tribunal does not consider that the assertion that there was a lack of due
         diligence on the part of Claimants has been established.

596.     The Tribunal concludes that on the basis of the assurances given to them by the Spanish
         authorities, in the broader context of the specific terms of Regulatory Framework I,
         registration in the Pre-assignment Registry and the Ministerial Resolutions of 28
         December 2010, Claimants had a legitimate expectation that the regulatory regime in RD
         661/2007 would not be changed in a way that would undermine the security and viability
         of their investment.


1183
     CWS-Davidson First, ¶¶ 16-20; CWS-Arechabala First, ¶ 36.
1184
     CWS-Arechabala First, ¶ 68.
1185
     Resp. Rej. Merits, ¶ 1061.

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597.       The changes made to the economic regime under Regulatory Framework III were
           substantial. They included that, the Termosol Plants were now to be paid on the basis of
           capacity, not on the basis of the amount of electricity produced; the regulated FiT and the
           pool + premium options were abolished; remuneration was no longer payable for the life
           of the plants but was limited to a 25-year “regulatory useful life”; indexation of tariffs to
           the CPI was abolished; electricity generated through natural gas as a support fuel now
           received no payment other than the prevailing market price whereas under RD 661/2007
           (confirmed by RD 1614/2010), plants had been entitled to use natural gas as a support
           fuel for up to 12% or 15% of their annual production (depending on whether they sold at
           a feed-in option or they sold through the pool + premium option); and the market price
           remuneration was subject to a new 7% levy on gross revenues.

598.       While individually these changes might not have constituted a denial of fair and equitable
           treatment, collectively the economic regime under Regulatory Framework III is
           substantially different from that under Regulatory Framework I. As the CNE put it,
           Regulatory Framework III “completely changes the remuneration mechanism applicable
           to date.” 1186

599.       In short, the regime was fundamentally and radically changed. Claimants were deprived
           of the security and certainty that, in light of the assurances they had received from
           Spanish authorities about guaranteeing the legal security of investments underway as well
           as the forecasts under which the investments were made and affirming legal and
           regulatory stability, they could have expected. The changes went beyond anything that
           might have been reasonably expected by Claimants when they undertook their
           investment.

600.       Respondent argues, however, that all that could have been expected by Claimants was a
           reasonable return on their investment. In other words, the change from Regulatory
           Framework I to Regulatory Framework III was a change on the form of delivery of
           benefits, but under both regimes the objective was to deliver a reasonable return and that
           is all Claimants could have expected. However, the assurances made by the Spanish

1186
       Cl. Reply Merits, ¶ 282 (quoting C-238, CNE Report 18/2013, 4 September 2013).

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         impossible or imposes a disproportionate burden on the State, the payment of
         compensation; 1188 and compensation should cover all financially assessable damages
         caused by the wrongful act, including lost profits according to Article 36 of the ILC
         Articles on State Responsibility. 1189 Furthermore, full reparation requires comparing the
         situation of the injured party in a scenario absent the wrongful act and the actual situation
         of that party as a result of the wrongful act. 1190 Claimants submit that, as Article 10(1) of
         the ECT does not prescribe a treaty standard for reparation, customary international law
         applies to the quantification of damages. 1191

                  b. Method of Valuation

604.     Arguing that Spain has “not made reparation by reapplying Regulatory Framework I to
         the Claimants’ investments and compensating the Claimants for any damages not
         covered through restitution,” Claimants plead their case as one for compensation.1192
         The requested compensation has been calculated, Claimants argue, by “compar[ing] the
         current value of the Claimants’ investment under Regulatory Framework III against the
         but-for value of those investments under Regulatory Framework I, together with
         historical losses prior to the valuation date (taken as the date of the Tribunal’s
         award).” 1193 Claimants initially chose a valuation date of 30 June 2014, this being the
         date of the last audited accounts of the PTEs. 1194 The calculations were later updated as
         of 30 June 2016. 1195 In the alternative, Claimants have also argued that, should the
         Tribunal decide to assess damages as of the date of injury, 30 June 2014 would be the
         appropriate date, as the last of the “cumulative measures” giving rise to Spain’s liability
         (Ministerial Order IET/1045/2014) was enacted on 20 June 2014. 1196




1188
     Cl. Mem. Merits, ¶ 285; Cl. Reply Merits, ¶ 543.
1189
     Cl. Mem. Merits, ¶ 286.
1190
     Cl. Mem. Merits, ¶ 286; Cl. Reply Merits, ¶ 543.
1191
     Cl. Mem. Merits, ¶ 287.
1192
     Cl. Mem. Merits, ¶ 288.
1193
     Cl. Mem. Merits, ¶ 288. See also, Cl. Reply Merits, ¶¶ 540, 548.
1194
     Cl. Mem. Merits, ¶ 289.
1195
     Cl. Reply Merits, ¶ 540.
1196
     Cl. Mem. Merits, ¶ 289.

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605.     Claimants’ view, however, is that the date of award is the more reliable touchstone
         because it takes into account the latest information on PTEs revenues, free cash flows to
         NEE España and the impact of debt restructuring. 1197

606.     Claimants contend that international tribunals have regularly adopted the fair market
         value (“FMV”) standard for breaches of FET and, in this case, the most appropriate way
         to determine the FMV is through the Discounted Cash Flow (“DCF”) method. 1198 This
         requires, Claimants argue, “project[ing] the future cash flows that an asset would have
         generated for equity-holders in the absence of the alleged wrongful government conduct,
         and then discount[ing] them back to the valuation date at a rate that accounts for the risk
         associated with those cash flows.” 1199 Claimants’ experts applied the free cash flows to
         equity approach which allows the Tribunal to assess the equity value of a company
         directly, and thus argue that the discount rate applicable is the cost of equity. 1200

607.     Claimants submit that the DCF method has been widely endorsed by arbitral tribunals in
         determining compensation both for expropriation and other international law
         breaches. 1201 It is also “the most appropriate method in this case” because: (i) “[…] a
         forward looking valuation is more appropriate to investments which stem from the
         anticipated future cash flows;” (ii) “is based on fundamental principles of economics and
         finance;” (iii) “is one of the most generally accepted and used techniques […];” and (iv)
         “is particularly suited to valuing companies whose projected revenues are defined by law
         or regulation, because their future cash flows are less volatile and more predictable than
         those of an unregulated business.” 1202

608.     Claimants further submit that DCF is appropriate here because: (i) the CSP technology
         used in the Termosol Plants has been successfully in operation for decades, the Termosol
         Plants are the most mature of the four categories of CSP plants, and their technology is


1197
     Cl. Obs. Eiser, ¶ 4.14. See also, Cl. Reply Eiser, ¶ 6.12.
1198
     Cl. Mem. Merits, ¶¶ 290-291, 294; Cl. Reply Merits, ¶ 549.
1199
     Cl. Mem. Merits, ¶ 291.
1200
     Cl. Mem. Merits, ¶ 293.
1201
     Cl. Mem. Merits, ¶ 292.
1202
     Cl. Mem. Merits, ¶ 294; Cl. Reply Merits, ¶ 549.

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         commercially proven; 1203 (ii) there is a track record of experience in operating and
         maintaining plants similar to the Termosol Plants, as the technology used in the Termosol
         Plants had already been used in 9 projects in Spain, and a number of projects with that
         technology have been in operation for 8 years and more are being built and
         developed; 1204 (iii) there is no uncertainty in the revenue and cost projection calculations,
         as shown by the fact that the projections were assessed and regarded as credible in the
         financial model agreed between Claimants and their project lenders (the “Bank
         Model”); 1205 and there is little risk in the revenue projections given that RD 661/2007
         provided “a predictable tariff adjusted by an inflation factor.” 1206       In addition, the
         projected costs are predictable, Claimants argue, as the historic costs are sunk and known,
         and many of the operational costs are the subject of long-term agreements, and the
         financing costs are known. 1207

609.     Claimants further contend that it is no answer to state that the Termosol Plants had been
         operational for only one year as of 30 June 2014, given that the task is to perform a
         valuation as of the date of the award, and as of 30 June 2016 there were already two
         further years of actual operation data, which is closely in line with the Bank Model and
         underscores the reliability of those projections. 1208

                  c. Damages Valuation

610.     Claimants explain that their expert’s valuation (i) assumes a 30-year operational life for
         the Termosol Plants; 1209 (ii) calculates but-for-revenues based on the pool + premium
         option under Regulatory Framework I, as this would have been the logical operating
         choice for the PTEs; 1210 (iii) forecasts the electricity generation of the Termosol Plants
         and sale levels based on the Bank Model; 1211 (iv) calculates the debt costs based on the

1203
     Cl. Reply Merits, ¶¶ 552-553.
1204
     Cl. Reply Merits, ¶ 554.
1205
     Cl. Reply Merits, ¶ 555.
1206
     Cl. Reply Merits, ¶ 556.
1207
     Cl. Reply Merits, ¶ 556.
1208
     Cl. Reply Merits, ¶ 557.
1209
     Cl. Mem. Merits, ¶ 295.
1210
     Cl. Mem. Merits, ¶ 296.
1211
     Cl. Mem. Merits, ¶ 296.

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         actual loans made to the PTEs; 1212 (v) determines operating expenses based on the Bank
         Model. 1213

611.     As to the discount rate, Claimants use the Capital Asset Pricing Model (“CAPM”), which
         in their view is a standard method in the industry. 1214 Based on this method, Claimants’
         experts “assess a cost of equity for the Claimants’ investments in Spain of 7.62% and a
         cost of debt of 5.79% pre-tax (which translates to a rate of 4.05% post-tax).” 1215

612.     On this basis, the Memorial on the Merits asserted total losses of EUR 393.6 million as
         Claimants’ primary case, composed as follows: 1216

         "      “The value of the Claimants’ equity in NEE España (reflecting their indirect 100%
                ownership of the PTEs and the PTEs’ shareholding in the EVC grid connection
                joint venture), has fallen from €397.4 million to €15.5 million (a loss of €381.9
                million).”

         "      “The value of the Claimants’ interest in the loans from NEE España to the PTEs
                has fallen from €19.6 million to €15.7 million (a loss of €3.9 million).”

         "      “The Claimants’ indirect 100% equity stake in NEEOS has fallen from €6.3 million
                to €5.8 million (a loss of €0.5 million).”

         "      “Lost historical cash flows to 30 June 2014 of €7.3 million.”

613.     In their updated calculation as of 30 June 2016, presented with Claimants’ Reply on the
         Merits, Claimants’ experts “assess damages […] at €503.5 million as of 30 June 2016,
         comprised of €60.4 million in historical cash flow damages from the implementation of
         the Measures up to 30 June 2016 and a loss of €443.1 million in the fair market value of
         the Claimants’ equity investments on that date.” 1217

614.     In a further updated calculation presented on 19 August 2016 after the Reply on the
         Merits to reflect the impact on damages resulting from the PTE’s agreed restructuring of


1212
     Cl. Mem. Merits, ¶ 297.
1213
     Cl. Mem. Merits, ¶ 297.
1214
     Cl. Mem. Merits, ¶ 298.
1215
     Cl. Mem. Merits, ¶ 298.
1216
     Cl. Mem. Merits, ¶ 299.
1217
     Cl. Reply Merits, ¶ 540 (emphasis added).

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         their debt with the project lenders, 1218 Claimants submitted that, using the DCF
         methodology their damages would be EUR 521.4 million: 1219




615.     While reiterating that its primary case is based on a present day (“date of award”)
         valuation, because the date of award is a more reliable date, Claimants also submit that if
         the Tribunal were to be minded to adopt the approach of other tribunals “by excluding
         historical losses during the period up to 30 June 2014, this would reduce the Claimants’
         €521.4 million damages figure by €7.3 million” with “[t]otal damages […] then be[ing]
         €514.1 million, excluding interest from 30 June 2016.” 1220

616.     Claimants have also presented an “alternative but-for-scenario” for the event that the
         Tribunal were to conclude that Claimants could only have a legitimate expectation of a
         “reasonable return” on their investment, rather than the FiT and pool + premium options
         in Regulatory Framework I. 1221 Claimants have emphasized, however, that their main
         position is that their legitimate expectations were of the specific tariffs and premiums in
         RD 661/2007, and not just rooted on a “reasonable return.” 1222 Claimants assert that the


1218
     See Cl. Reply Merits, ¶ 605; CER-Compass Lexecon Third, ¶ 1.
1219
     CER-Compass Lexecon Third, Table I, p.5; Cl. Skeleton, ¶ 54.
1220
     Cl. Obs. Eiser, ¶ 4.17.
1221
     Cl. Mem. Merits, ¶ 301; Cl. Reply Merits, ¶ 573; Cl. Skeleton, ¶ 58.
1222
     Cl. Mem. Merits, ¶ 300.

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         alternative but-for scenario would apply “in the event that the Tribunal were to conclude
         that Spain was lawfully entitled to terminate Regulatory Framework I and to replace it
         with a tariff regime as set up by Regulatory Framework III.” 1223 Claimants have further
         explained that in this scenario, their experts have assumed that Regulatory Framework III
         applies, but “they correct two components of that framework which are unfair and depart
         from standard regulatory conduct,” 1224 namely, the allowable project costs and the
         allowed rate of return. 1225

617.     The alternative scenario is “based on an investment allowance equal to the Claimants’
         independently-audited capitalized costs of the project (€720.6 million)” to which they
         “apply a return based on the WACC of the Termosol Plants plus 300 (bps),” finally
         grossed up to take account of taxation. 1226            Under this scenario, Claimants initially
         claimed in the Memorial total losses of EUR 357.6 million, as follows:1227

         "      “The value of the Claimants’ equity in NEE España (reflecting their indirect 100%
                ownership of the PTEs, and the PTEs’ shareholding in the EVC grid connection
                joint venture), has fallen from €357.6 million to €15.5 million (a loss of €342.1
                million).”

         "      “The value of the Claimants’ interest in the loans from NEE España to the PTEs
                has fallen from €19.6 million to €15.7 million (a loss of €3.9 million).”

         "      “The value of the Claimants’ indirect 100% equity stake in NEEOS is unchanged.”

         "      “Lost historical cash flows to 30 June 2014 of €11.5 million.”

618.     With the Reply on the Merits, Claimants “updated the alternative damages case as of 30
         June 2016,” and argued that “damages payable to the Claimants are €398.4 million,
         comprised of €63.8 million in historical cash flow damages from the implementation of
         the Measures up to 30 June 2016 and a loss of €334.6 million in the fair market value of
         the Claimants’ equity investments on that date.” 1228


1223
     Cl. Reply Merits, ¶ 541.
1224
     Cl. Reply Merits, ¶ 573.
1225
     See, Cl. Reply Merits, ¶ 575.
1226
     Cl. Mem. Merits, ¶ 301; Cl. Reply Merits, ¶¶ 541, 574; Cl. Skeleton, ¶ 60.
1227
     Cl. Mem. Merits, ¶ 302 (emphasis in original); CER-Compass Lexecon First, ¶ 109, Table V.
1228
     Cl. Reply Merits, ¶ 541; CER-Compass Lexecon Second, ¶ 20, Table IV. See also, Cl. Reply Merits, ¶ 574.

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619.     And in the further updated calculation presented on 19 August 2016 after the Reply on
         the Merits to reflect the impact on damages resulting from the PTE’s agreed restructuring
         of their debt with the project lenders, 1229 Claimants submitted that their damages under
         the alternative but-for scenario would be EUR 416.3 million. 1230




620.     Claimants submit that other than an inappropriate dismissal of Claimants’ method of
         valuation, Respondent has not challenged a number of valuation parameters. Thus,
         Claimants argue that (i) Spain “does not dispute that the net effect of the regulatory
         changes at issue in this case is a 36% reduction in the annual revenues that the PTEs
         expected;” (ii) there is no substantial dispute over the fact that “the Claimants injected
         €210 million in equity into NEE España and this is worth significantly less now,” with
         Claimants’ experts valuing that equity stake as of 30 June 2016 at EUR 44 million, and
         Spain’s experts implicitly conceding that, as of 30 June 2016, the value of Claimants’
         equity stake under the new framework has at least fallen between EUR 64.2 and 80.1
         million.1231


1229
     See Cl. Reply Merits, ¶ 605; CER-Compass Lexecon Third, ¶ 1.
1230
     CER-Compass Lexecon Third, Table II, p. 6; Cl. Skeleton, ¶ 58.
1231
     Cl. Reply Merits, ¶ 544.

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621.     Claimants further submit that Spain’s objections to the specifics of Claimants’ DCF
         calculations are unavailing. 1232 In particular, Claimants submit that:

         "       It is incorrect to calculate the “but for” FMV of the Termosol Plants based on what
                 Regulatory Framework III deems to be Claimants’ investment costs. 1233 The
                 valuation of an asset derives from its capacity to generate cash flow, not from
                 historic cost. 1234

         "       Spain’s assertion that Claimants’ DCF calculations imply a disproportionate IRR
                 of 36.6% as compared to the 16.6% equity IRR expected at the time of investment
                 is misleading. 1235 The 16.6% IRR in the Bank Model is the return from “building
                 and operating the Plants for their entire useful life – in other words, from 2008-
                 2043,” 1236 while the 36.6% IRR covers a much shorter time span (2009 to
                 2014). 1237

         "       It is incorrect to assert that the claim is speculative because the implicit IRR in
                 Claimants’ DCF model exceeds the industry Weighted Average Cost of Capital
                 (“WACC”). 1238 The comparison is not appropriate, and in any event, the IRR can
                 exceed the WACC, 1239 because RD 661/2007 “was specifically designed to
                 provide an investment return higher than the industry WACC in order to induce
                 large scale investments in solar energy projects on an accelerated basis.”1240
                 Furthermore, a fundamental thesis of prudent investments is to choose projects in
                 which the investor expects a profit, i.e. a rate of return higher than the cost of
                 capital. 1241

622.     Similarly, Claimants dismiss Spain’s objections to the calculation of the alternative but-
         for scenario, arguing that:

         "       Claimants’ actual sunken costs (EUR 720.6 million), not Spain’s hypothetical
                 “efficient and standard” project costs (EUR 644.0 million), are the proper
                 foundation for calculating a reasonable return. 1242 Claimants argue that (i)
                 virtually all European regulatory regimes for electricity or gas distribution use

1232
     Cl. Reply Merits, § VIII(3).
1233
     Cl. Reply Merits, ¶¶ 560-561.
1234
     Cl. Reply Merits, ¶ 561.
1235
     Cl. Reply Merits, ¶ 564.
1236
     Cl. Reply Merits, ¶ 565.
1237
     Cl. Reply Merits, ¶ 566.
1238
     Cl. Reply Merits, ¶ 568.
1239
     Cl. Reply Merits, ¶¶ 568-569.
1240
     Cl. Reply Merits, ¶ 569.
1241
     Cl. Reply Merits, ¶ 571.
1242
     Cl. Reply Merits, § VIII(4)(A), ¶¶ 577-582.

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                 actual historical costs; 1243 (ii) this is apposite when the “rate of return” regime is
                 applied retroactively after an investor has already incurred costs; 1244 (iii) Spain’s
                 selection of EUR 644 million as investment costs is flawed because it disallows
                 several elements, in particular, EUR 72.3 million in financing costs incurred
                 during construction. 1245

         "       The WACC plus 300 bps is the uniform method of determining a reasonable return
                 (not the sovereign bond yield plus 300 bps argued by Spain). 1246 Claimants
                 contend that (i) their approach is endorsed by common regulatory practice in 20
                 European countries; 1247 (ii) 300 basis point premium over WACC is appropriate,
                 and Spain’s argument that an investor would have invested only receiving a return
                 of the WACC is contrary to academic theory, the historical context of the solar
                 energy initiative to attract investment, business common sense and witness
                 evidence. 1248 Claimants contend that the CNE analyzed the FiT and pool +
                 premium tariffs at the WACC plus 300 bps as the appropriate IRR to incentivize
                 deployment of funds, plus 160 bps to compensate exposure to wholesale spot
                 prices. 1249

         "       The rate of return proposed by Spain is unreasonable because (i) it is lower than
                 the cost of capital for similar solar thermal projects as of the time of Regulatory
                 Framework III; (ii) it is lower than the investor’s expectations at the time of
                 closing of Claimants’ investment (11.6% post-tax); and (iii) it is lower than the
                 rate of return the CNE was expecting (10% for FiT, and 11.6% for the premium
                 tariff). 1250

623.     Claimants also argue that Spain’s application of the DCF method in its subsidiary
         calculations for assessing damages is flawed. For Claimants, Spain’s calculations applied
         a wrong discount rate, made incorrect adjustments to the projection parameters and
         applied a liquidity discount without basis. 1251




1243
     Cl. Reply Merits, ¶ 578.
1244
     Cl. Reply Merits, ¶ 579.
1245
     Cl. Reply Merits, ¶¶ 580-581.
1246
     Cl. Reply Merits, § VIII(4)(B), ¶¶ 583-596.
1247
     Cl. Reply Merits, ¶¶ 584-586.
1248
     Cl. Reply Merits, ¶¶ 588-592.
1249
     Cl. Reply Merits, ¶ 592.
1250
     Cl. Reply Merits, ¶ 595.
1251
     Cl. Reply Merits, ¶ 599.

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                   d. Impact of the TVPEE

624.     Claimants contend that “neither side’s quantum experts attributed any specific loss in
         future revenues to the TVPEE.” 1252 According to Claimants, “the effect of declining
         jurisdiction over the TVPEE” is that “it would reduce their historical damages by €1.1
         million (which is the loss resulting from the application of the levy from the dates that the
         Termosol Plants started operation (19 May 2013 and 7 June 2013) until 9 July 2013,
         when Regulatory Framework III took effect).” 1253 Claimants argue that this quantification
         has not been challenged. 1254 Therefore, Claimants submit that, since they have quantified
         damages applying the DCF methodology at EUR 521.4 million as of 30 June 2016, which
         includes lost historical cash flows as of that date (EUR 60.4 million), if the Tribunal rules
         that it has no jurisdiction over the TVPEE “the historical loss component for the period
         up to 20 June 2014 during the temporary application of Regulatory Framework II would
         be reduced by €1.1 million, resulting in total damages of €520.3 million as of 30 June
         2016.” 1255

625.     Claimants add, however, that if the Tribunal were to conclude “that the Claimants could
         only expect a ‘reasonable return,’ there would be no need to make any adjustments for
         the TVPEE,” because this “alternative applies Regulatory Framework III but uses the
         independently-audited capitalised investment costs of the Termosol Plants and the return
         of WACC + 300 bps identified as reasonable by Spain under Regulatory Framework
         I.” 1256 Thus, “in that alternative but-for, the TVPEE is reimbursed on all electricity
         revenues in accordance with the principle enshrined in Ministerial Order
         IET/1045/2014.” 1257




1252
     Cl. Obs. Eiser, ¶ 4.8.
1253
     Cl. Obs. Eiser, ¶ 4.8.
1254
     Cl. Obs. Eiser, ¶ 4.8.
1255
     Cl. Obs. Eiser, ¶ 4.15.
1256
     Cl. Obs. Eiser, ¶ 4.10.
1257
     Cl. Obs. Eiser, ¶ 4.10.

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                 e. Interest

626.     Claimants assert interest is an integral component of full compensation under customary
         international law. 1258 According to Claimants, if the Tribunal applies the principle of full
         reparation as of the date of the award, including historical losses, pre-award interest
         would not be necessary. However, if the Tribunal decides to apply a valuation date prior
         to the date of the award, pre-award interest would be owed from that date onwards until
         the date of the award. 1259 In addition, Claimants submit, they are entitled to post-award
         interest from the date of the award until the date of payment, “at a commercial rate
         established on a market basis.” 1260 According to Claimants, while this is mentioned in
         the ECT in the context of expropriation, “there is no logical reason for applying a
         different approach to interest in respect of a breach of Art. 10(1) of the ECT.” 1261

627.     Claimants submit that it would be appropriate to award a “rate reflecting the cost of
         equity applicable to the underlying investment,” on the ground that this compensates the
         cost of raising the equity funds of which they have been deprived. 1262 In particular,
         Claimants initially requested an interest rate of 7.62% in the Memorial on the Merits,1263
         and later in the Reply on the Merits requested a rate of 6.84% as of 30 June 2016. 1264 In
         the alternative, Claimants request interest at “commercial interest rate prevailing in Spain
         for credit risk similar to the Termosol projects,” such as the interest rate of EURIBOR +
         3.5% prescribed in the credit agreement negotiated between the PTEs and their project
         lenders. 1265 Claimants further submit that interest should be compounded. 1266




1258
     Cl. Mem. Merits, ¶ 303.
1259
     Cl. Mem. Merits, ¶ 304.
1260
     Cl. Mem. Merits, ¶ 305.
1261
     Cl. Mem. Merits, n. 386.
1262
     Cl. Mem. Merits, ¶ 306.
1263
     Cl. Mem. Merits, ¶ 310.
1264
     Cl. Reply Merits, ¶ 602.
1265
     Cl. Mem. Merits, ¶ 311; Cl. Reply Merits, ¶ 602.
1266
     Cl. Mem. Merits, ¶¶ 312-313; Cl. Reply Merits, ¶ 543.

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         arbitrary valuation date of 30 June 2014, ignores the basic concepts of the regulatory life
         cycles, and overlooks the “joint consideration of past and potential cash flows to
         guarantee a reasonable return of the investments made.” 1274               Furthermore, the
         comparison between the real and counterfactual scenarios is simplistic, hypothetical and
         unrealistic, as it “presume[s] that the ‘real’ scenario will be maintained over forthcoming
         decades and overlook[s] the fact that the governing principle of the system is formed by
         the guaranteed reasonable return.” 1275           The calculation is speculative, Respondent
         argues, due to its long time horizon and the fact that there is no guarantee that the
         remuneration will remain petrified in the current form. 1276

633.     Respondent further submits that the but-for valuation is exaggerated if compared to the
         book value; 1277 and the implicit IRR in Claimants’ valuation is an unjustifiable 36.6%,
         when compared to the 16.6% foreseen at the time of investment, and the 7.62% discount
         rate calculated by Claimants’ expert. 1278

634.     Respondent further criticizes Claimants’ valuation, arguing that “[t]here is a large
         disparity (+84.7%) between the Plant’s value in Lexecon’s But For (€1.1625 billion) and
         the value of investment (€629.3 million)” which given the “barely 3 years of operations
         cannot be justified by economic motives that are intrinsic to the business.” 1279 Moreover,
         for Respondent, the shareholder’s exit IRR of 30.4%, and the project’s exit IRR of 16.5%
         “are extraordinarily high and therefore unimaginable in a regulated market that provides
         protection to the players.” 1280         In addition, Respondent argues that Claimants’
         calculations include a series of payments as “investment or operating costs when they are




1273
     Resp. C-Mem. Merits, ¶ 845; Resp. Rej. Merits, ¶ 1199.
1274
     Resp. C-Mem. Merits, ¶ 847; Resp. Rej. Merits, ¶ 1210.
1275
     Resp. C-Mem. Merits, ¶ 849; Resp. Rej. Merits, ¶ 1201.
1276
     Resp. Rej. Merits, ¶ 1202.
1277
     Resp. C-Mem. Merits, ¶ 871.
1278
     Resp. C-Mem. Merits, ¶¶ 873-876.
1279
     Resp. Rej. Merits, ¶ 1217 (quoting RER-Accuracy Second Economic, § 1.4).
1280
     Resp. Rej. Merits, ¶ 1217 (quoting RER-Accuracy Second Economic, § 1.4).

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         actually, […] either dividends disguised as management fees paid to the NextEra group
         or ‘promote or success fees’ outside the market paid to linked entities.” 1281

635.     Respondent also contends that Claimants’ alternative but-for scenario errs in various
         ways: (i) it replaces the appropriate investment basis (standard investment costs of
         standard facilities) with the costs declared by Claimants; (ii) it fixes a rate of return ad
         eternum, overlooking the dynamic nature of the notion of “reasonable return;” (iii) it
         calculates reasonable return unjustifiably adding 300 bps to the WACC; and (iv) it errs in
         calculating the post-tax WACC, as it applies the nominal tax rate to its pre-tax
         WACC. 1282 According to Respondent, the applicable effective rate of return of 7.398%
         (pre-tax) guaranteed by the current regime, leads to a reasonable return of 6.5% to 6.9%
         post-tax.1283

636.     Lastly, while objecting to the use of the DCF, Spain presents its own DCF calculation as
         a “subsidiary contention.”         In the initial calculations presented with the Counter-
         Memorial on the Merits, Respondent argued that the results ranged from an increase of
         EUR 19.3 million in Claimants’ investment (a positive impact on Claimants) to a
         negative impact on Claimants’ investment of EUR 34.5 million. 1284 In the updated
         calculation filed with the Rejoinder on the Merits, Respondent reiterated that the current
         regime is more beneficial in purely financial terms, arguing that the impact of the dispute
         measures is a positive impact of EUR 32.5 million. 1285

637.     Respondent further submits that Claimants have erroneously applied the premium of
         Article 36 of RD 661/2007, which only “applies to facilities of no more than 50 MW,”
         while the Termosol Plants “have more than 50 MW” and are thus under the “lower
         premium of Article 45 […].” 1286 But according to Spain, even applying the regime in

1281
     Resp. Rej. Merits, ¶ 1218.
1282
     Resp. C-Mem. Merits, ¶ 888. See also, id., ¶¶ 883-886; Resp. Rej. Merits, ¶¶ 1223-1225.
1283
     Resp. C-Mem. Merits, ¶ 887.
1284
     Resp. C-Mem. Merits, ¶ 892.
1285
     Resp. Rej. Merits, ¶ 1231.
1286
     Resp. Rej. Merits, ¶ 1232. At the Hearing and in Post-Hearing submissions, Respondent further argued that,
“[b]y having an installed capacity over 50 MWs, the Termosol Plants are receiving the payments of Article 36 of RD
661/2007 for the MWs that should be destined to their self-consumption.” Resp. PH Mem., ¶ 16. This is because, if
the installed capacity of the Termosol Plants were actually 50 MW, their output would be 44.9MW after deducting

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         Article 36 of RD 661/2007, the results would remain significantly below Claimants’
         calculations. Respondent’s expert calculated the impact in this scenario as a negative
         impact of EUR 23.1 million. 1287

638.     Respondent also takes issue with other parameters in Claimants’ valuation, arguing that:
         (i) the appropriate life cycle of the plants is 25 years and not 30 years; 1288 and (ii) the
         but-for-scenario would involve a higher risk than the actual scenario. 1289          It goes on to
         submit that, “in purely financial terms, the current scheme might be more beneficial to
         the Claimants than RD 661/2007, depending on the parameters and hypothesis
         considered.” 1290

639.     Finally, referring to the issue of the impact of the date of valuation, Respondent submits
         that the question has a great effect on quantum, and argues that it cannot accept a date of
         award valuation. 1291     Respondent further opposes Claimants’ allegation that if the
         Tribunal were to adopt the approach of other tribunals “by excluding historical losses
         during the period up to 30 June 2014” the effect would be a reduction in Claimants’
         claim of EUR 7.3 million. 1292 Respondent contends that the expert reports simply do not
         address the separate impact of the individual disputed measures. 1293

                c. Impact of the TVPEE

640.     With regard to the effect of the TVPEE on damages calculations, Respondent submits
         that to eliminate the TVPEE’s impact is not enough to eliminate the “historical
         damages.” 1294 Moreover, for Respondent, “even though in the Actual world the TVPEE
         tax is neutralized (as recognized by both parties), […] for damages calculation, it must


MWs for self-consumption. Resp. PH Mem., ¶ 5. But Respondent has also explained that the effect of this on
quantum is not to subtract the payment from those excess MWs, but rather, to apply to the Termosol Plants the
economic regime in Article 45 of RD 661/2007 in the but-for-scenario. Resp. PH Mem., ¶¶ 16-17.
1287
     Resp. Rej. Merits, ¶ 1234.
1288
     Resp. C-Mem. Merits, ¶ 893; Resp. Rej. Merits, ¶ 1236.
1289
     Resp. C-Mem. Merits, ¶ 894; Resp. Rej. Merits, ¶ 1237.
1290
     Resp. C-Mem. Merits, ¶ 890.
1291
     Resp. Reply Eiser, ¶ 63.
1292
     Resp. Obs. Eiser, ¶¶ 67-70.
1293
     Resp. Obs. Eiser, ¶ 71.
1294
     Resp. Obs. Eiser, ¶ 45.

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         application of the DCF method is finding an appropriate base for the forecast of future
         earnings. The difficulty in this case is that the Termosol Plants had been in operation for
         less than one year when the breach occurred. As Respondent points out, Claimants were
         relying on less than a year of profits in order to project long-term earnings for the next 30
         years.

644.     Claimants argue that this is not a problem in this case, because Regulatory Framework I
         provides the basis for calculating future profits. The report of Dr. Abdala and Professor
         Spiller calculate the “but for” revenues on the basis of the “pool + premium” option set
         out in Regulatory Framework I. 1301

645.     However, the Tribunal is not convinced that Regulatory Framework I provides an
         appropriate basis for what might have happened in the absence of Regulatory Framework
         III. The assumption that in the absence of Regulatory Framework III Claimants would be
         entitled to Regulatory Framework I is based on the view that there was an entitlement to
         the terms of Regulatory Framework I. But, as pointed out earlier (supra, ¶¶ 591, 596)
         Claimants could not have had a legitimate expectation of an entitlement to Regulatory
         Framework I; they just had a legitimate expectation that there would not be a substantial
         or fundamental change to Regulatory Framework I.

646.     Other changes to Regulatory Framework I might have occurred.                     For example, if
         Respondent had changed the options and abolished the pool + premium approach and
         provided only the FiT option leaving everything else intact, that might have been a
         legitimate exercise of regulatory authority involving no denial of FET. If that was
         possible then why should the pool + premium option be the appropriate basis for the “but
         for” analysis in determining loss? 1302

647.     In the absence of Regulatory Framework I as the touchstone, there is no obvious starting
         point for the “but for” analysis under a DCF approach. What is left is less than one year



1301
    Cl. Mem. Merits, ¶¶ 295-296.
1302
    There is a similar problem with relying on the 2011 Bank Model (the financial model agreed with Claimants’
lenders, which was equally based on Regulatory Framework I).

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         it did not raise any objection to the 30 June 2016 valuation date. Accordingly, the
         Tribunal will use that date for its analysis.

653.     Claimants derive the value of the assets from their actual value relying on Claimants’
         “independently-audited capitalized costs of the project.” 1307 Respondent disagrees with
         basing the asset value on costs actually incurred, arguing, “a model of a reasonable
         return must in all cases take into account the standard costs of cost effective standard
         facilities.”    They object to the inclusion of capitalized intercompany costs and
         investments in related companies, arguing that there was insufficient information to
         justify either. 1308

654.     In the Tribunal’s view, Respondent’s argument that the standardized costs of efficient
         cost-effective facilities should be the basis for any calculation might be relevant for
         devising a regulatory regime based on a reasonable return. The regulatory regime would
         then set out what return is being offered and investors could decide whether or not to
         invest on the basis of the return they could receive for their investment. But that is not
         the situation here.

655.     The task for the Tribunal is to determine what loss Claimants suffered as a result of
         Respondent’s breach of its obligation to provide fair and equitable treatment. Claimants
         did not suffer a notional loss based on the “standard costs of cost effective standard
         facilities.” They had actual sunk costs and those costs have to be the basis for assessing
         their loss.

656.     The principal difference between the Parties in the valuation of assets is whether
         financing costs should be included. 1309        Respondent’s expert, Accuracy, argues that
         financing costs are not really part of the investment. They are the personal decision of
         the investor on its financing scheme and have no implications for the generation of
         power. 1310    Claimants see the financing of an investment as an integral part of the


1307
     Cl. Mem. Merits, ¶ 301.
1308
     RER-Accuracy First Economic, ¶ 417.
1309
     Cl. Reply Merits, ¶ 581.
1310
     RER-Accuracy First Economic, ¶ 417.

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         investment. Long-term investments like the Termosol Plants could not occur without
         financing arrangements. 1311 Moreover, Claimants argue that Spain was well aware that
         projects would be funded from third party funding. Its own energy plan for 2005-2010
         had a line for financing from external sources. 1312

657.     The Tribunal considers that Respondent once again is conflating what might be devised
         in a regime established to provide a reasonable return with the losses suffered by an
         investor in the event of breach of its obligations under the ECT. An investment regime
         might be based on the exclusion of financing costs in calculating a reasonable return
         under that regime.     Indeed Respondent’s expert Accuracy, in criticizing the use by
         Claimants’ expert Lexecon of financing costs in its alternative but-for model, says “the
         profitability model of a regulated activity must, in any case, be based on efficient,
         standardized cost and be independent of financing costs.” 1313 That is a reference to
         devising a model for a reasonable return, not in assessing loss resulting from
         Respondent’s breach of its obligations towards the investor.

658.     The question before the Tribunal is not how a regulated activity should determine what
         constitutes a reasonable return, but what loss the Claimants suffered. On undertaking an
         investment an investor would reasonably expect that the returns from the investment
         would cover all the costs of making that investment. The examples given by Claimants
         where regulatory regimes do include financing costs in determining a reasonable rate of
         return reinforce the reasonableness of this expectation. 1314 No rational investor would
         sink money into a project that did not offer a return that would cover its costs. And, the
         financing of projects of this size and duration inevitably involves a regime with third
         party financing.

659.     In its first report Respondent’s expert, Accuracy, also objected to the inclusion in the
         Claimants’ valuation of assets capitalized intercompany costs and investment in related



1311
     Cl. Reply Merits, ¶ 581.
1312
     Tr. Day 1 (ENG), 132:19–133:16 (Mr. Zimmerman).
1313
     RER-Accuracy First Economic, ¶ 418.
1314
     Cl. Reply Merits, ¶¶ 578, 581.

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         companies. 1315   In its second report, Accuracy changed its position and included
         investment in related companies 1316 following Claimants’ expert Compass Lexecon’s
         explanation that the company in question EVC, had been developed by Claimants and the
         PTEs “to deliver their electricity production to the Spanish national grid.”1317

660.     As far as intercompany costs are concerned, as Compass Lexecon pointed out, these costs
         relate to technical, legal and financial services related to the construction of the plants. If
         these services were not provided by companies of the NextEra group they would have
         had contracted for from outside. 1318 In the Tribunal’s view, these were therefore costs
         incurred in the construction of the Termosol Plants and should be included in the
         calculation of Claimants’ losses.

661.     Accordingly, the Tribunal concludes that financing costs, intercompany costs and
         investments in related companies should be included in determining the valuation of
         Claimants’ assets. Thus, the Tribunal accepts Claimants’ figure of EUR 720.6 million for
         the capitalized costs of the project for the purpose of calculating a reasonable rate of
         return.

                   b. What Constitutes a Reasonable Rate of Return?

662.     The Tribunal notes that the Parties agree that the WACC of the Termosol plants provides
         the appropriate basis for determining a reasonable rate of return in an assessment not
         based on the DCF method. The difference between them is whether the WACC should
         be supplemented by 300bps. Spain had chosen to provide a return under Regulatory
         Framework I that was significantly higher than the WACC in order to attract
         “accelerated investment in renewables.” 1319 Claimants’ expert, Compass Lexecon, also
         points out that a premium above WACC is common in regulatory regimes in European




1315
     RER-Accuracy First Economic, ¶ 417.
1316
     RER-Accuracy Second Economic, ¶ 340.
1317
     CER-Compass Lexecon Second, ¶ 102.
1318
     CER-Compass Lexecon Second, ¶ 101.
1319
     Cl. Reply Merits, ¶ 590.

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           jurisdictions. 1320 CNE supported an IRR of WACC plus 300bps when providing advice
           on the development of the regulatory regime that became Regulatory Framework I. 1321

663.       Taking account of these considerations, the Tribunal considers that a premium in addition
           to the WACC is appropriate in determining the loss that would be suffered under a
           reasonable rate of return approach to measuring damages. The question is whether
           300bps over the WACC is the appropriate rate.

664.       For the reasons given earlier, the Tribunal considers that Regulatory Framework I is not
           the proper basis for determining loss in this case. Thus, the premium that was proposed
           for Regulatory Framework I could not be presumed automatically to be the appropriate
           premium for this damages calculation. On the information provided to the Tribunal,
           there is no consistent practice of fixing the premium at 300bps in European jurisdictions
           that provide for a premium when calculating a return on investment in regulated sectors.

665.       In determining the appropriate bps to be added to the WACC, the Tribunal took into in
           account the desire to encourage entrants into the Spanish solar energy system as well as
           the view expressed by CNE that a premium over WACC was a reasonable expectation of
           return.

666.       Taking all of this into account, the Tribunal concludes that the appropriate return on
           investment for the calculation of loss should be WACC plus 200bps.

                     c. The Taxation Issue

667.       The Tribunal notes the difference between the Parties over whether taxation should be
           taken into account by converting a post-tax rate of return into a pre-tax rate of return on
           the basis of a nominal tax rate of 30%, or whether the rate of conversion should an
           effective rate rather than a nominal rate. In considering this, the Tribunal took account of
           the fact that the statement of Compass Lexecon that the use of the nominal rate is
           “accepted regulatory practice” was not contradicted by Respondent and noted the



1320
       CER-Compass Lexecon Second, ¶ 132, Table XVI; Tr. Day 1 (ENG), 136:24–137:6 (Mr. Zimmerman).
1321
       CER-Compass Lexecon Second, ¶ 108(c).

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           difficulty of calculating an “effective rate” for each year if a nominal rate were not to be
           used.

668.       The Tribunal concludes, therefore, that the use of a nominal tax rate is appropriate for the
           purpose of converting the post-tax rate of return into a pre-tax rate of return in the
           circumstances of this case.

                   d. The Effect of Debt Restructuring

669.       The Tribunal does not consider that the effect of debt restructuring is an appropriate
           consideration to include in the valuation of Claimants’ investment. The decision to
           restructure the debt and to accept the arrangement that was finally concluded was a
           decision of the Claimants. There is no objective way for the Tribunal to determine
           whether that was the best arrangement for restructuring the investment or whether
           another arrangement might have been made to minimize the impact on the value of the
           Claimants’ investment.

670.       Accordingly, the Tribunal has not included the effect of debt restructuring in its
           calculation of damages.

                   e. Interest

671.       The Tribunal accepts that interest is appropriate in this case. However, the ECT makes
           no provision for calculating interest in cases of violation of Article 10. In the case of
           expropriation, the ECT provides in Article 13, that interest is to be provided “at a
           commercial rate established on a market basis.” 1322 This is consistent with the purpose
           of interest, which is to compensate Claimants for their loss of the opportunity to use their
           capital, and is applicable to both pre-judgment and post-judgment periods.

672.       Claimants propose an interest rate of 7.62% based on a calculation of a notional cost of
           capital for the purposes of their DCF approach to the determination of damages. In other
           words, it is a rate based on certain assumptions, including market and country risk




1322
       CL-001 / RL-055, ECT, Art. 13.

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         premiums. 1323 It is not based on empirical evidence of what rate could actually be
         obtained in the market. Their alternative proposal for interest of EURIBOR + 3.5%, is
         based in what the PTEs negotiated with the project lenders. This rate suffers from the
         fact that it is Claimants themselves who are effectively setting the rate.

673.     Respondent argues that interest must be based on the rate that would apply in the case of
         a risk-free asset, Spanish sovereign bonds, on the basis of the rate that would apply
         during the period between date of valuation and the Award. The tribunal in Novenergia
         adopted 10-year Spanish sovereign bonds as the appropriate basis for setting the interest
         rate. 1324 The tribunal in Eiser stated that in the interest of encouraging early payment of
         the award, it set prejudgment interest at 2.07 % and post-judgment interest at 2.50%. 1325

674.     The Tribunal notes that the only evidence before it of a market rate is the rate of Spanish
         sovereign bonds. This may not be a commercial rate, but in the absence of any evidence
         of a commercial rate other than what Claimants managed to negotiate with respect to the
         project lenders, there is nothing for the Tribunal to go on in setting a rate that can be
         described as a market rate.        Thus, the Tribunal accepts the rate on 5-year Spanish
         sovereign bonds at the date of the Award as the appropriate interest rate in this case.

675.     Claimants argue that interest should be compounded; Respondent makes no specific
         submission on this point. The Tribunal accepts that compound interest is commonly
         awarded in investment arbitrations and considers it appropriate in this case.

676.     Accordingly, the Tribunal decides that the interest rate will be based on 5-year Spanish
         sovereign bonds at the date of the Award, compounded monthly. This rate will apply to
         pre-judgment interest calculated from the date of valuation, 30 June 2016, to the date of
         the Award, and to post-judgment interest from the date of the Award until the date of
         payment.




1323
     CER-Compass Lexecon First, pp. 70-71, ¶ 132, Table VI.
1324
     CL-195, Novenergía, ¶ 846.
1325
     Eiser, ¶ 478.

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 (ii)   That Respondent did not comply with its obligation under Article 10(1) of the ECT
        to provide fair and equitable treatment in that it failed to protect Claimants’
        legitimate expectations.

(iii)   That Claimants are entitled to damages based on a return on the capitalized value of
        their assets as of 30 June 2016 on the basis of the WACC of the Termosol Plants
        plus a premium of 200bps, together with pre-judgment interest on the basis of 5-
        year Spanish sovereign bonds as at the date of the Award, compounded monthly.

 (iv)   That Claimants are to recalculate their damages claim of EUR 398.4 million in the
        light of a premium of WACC plus 200 bps and advise the Tribunal and Respondent
        of this recalculated amount within 10 days of the receipt of this Decision.

 (v)    That Claimants are entitled to post-judgment interest from the date of the Award on
        the basis of 5-year Spanish sovereign bonds as at the date of the Award,
        compounded monthly, until payment.




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